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                                Expert Report
                                     of
                        Susan K. Thompson, CPA/CFF



                    In re: Hyundai and Kia Engine Litigation




                         United States District Court
                         Central District of California


                            8:17-cv-00838-JLS-JDE
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 Exhibits
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 Exhibit B: Documents Considered
 Exhibit C: Settlement Agreement
 Exhibit D: Declaration of Adam Gonnelli
 Exhibit E: Plaintiffs’ Notice for Preliminary Approval
 Exhibit F: Declaration of Alan Dow Regarding Knock Sensor Detection System
 Exhibit G: Hyundai Protection Plan
 Exhibit H: Kia Protection Plan
 Exhibit I: Average Replacement Cost (Screen Shots)




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 EXPERT REPORT AND OPINION OF SUSAN K. THOMPSON

 I.       Introduction and Qualifications
      1. My firm, Hemming Morse, LLP, was retained by counsel for the plaintiffs (“Counsel”),
         representing the proposed class (the “Class”) in In re: Hyundai and Kia Engine Litigation,
         Case No. 8:17-cv-00838-JLS-JDE (the “Litigation”), to provide an expert report concerning
         the value to the consumer (economic benefit) that is provided to the class as a result of the
         Settlement Agreement submitted to the Court on March 11, 2020 between the parties to this
         Litigation (Dkt 128-1, “Settlement Agreement”). Specifically, we were engaged to
         determine the value of the various elements of the settlement including the lifetime
         warranty, the installation of the knock sensor software update, the free diagnostic inspection
         and various cash reimbursements and payments. In doing so, we determined a value for the
         lifetime warranty and reviewed the records of Hyundai Motor Co., Hyundai Motor America,
         Inc. (“HMA”), Kia Motors Corp., Kia Motors America, Inc. (“KMA”), collectively
         “Defendants,” concerning inspection, repair, reimbursements and other consideration
         contemplated in Settlement Agreement.

      2. I am a Partner in the Forensic Consulting Services Group of Hemming Morse, LLP. I have
         over 35 years of experience in public accounting with both a national firm and a local firm
         in Fresno prior to joining Hemming Morse, Inc. in 2001 (the company changed from a
         corporation to a limited liability partnership in 2012). My expert qualifications, including
         the testimony I have given during the last 17 years are described in Exhibit A hereto.

      3. My primary background is in auditing, and I have performed extensive litigation and
         forensic accounting and consulting services for over 25 years. My forensic accounting and
         consulting experience includes assistance in various forms of business litigation, fraud
         investigations, professional liability litigation, investigations of property and casualty
         insurance and fraud claims, and investigations of internal controls of for profit and not for
         profit companies. I also have experience in criminal matters, having provided services to
         the United States Attorney, County District Attorneys and the California Attorney General.
         I have testified in several superior courts and participated in arbitration proceedings,
         mediation proceedings and administrative hearings.

      4. I am a Certified Public Accountant and Certified in Financial Forensics by the American
         Institute of Certified Public Accountants. I earned a Bachelor of Science degree from Loma
         Linda University, La Sierra Campus.

      5. My hourly rate for preparing this report is $460 per hour. Others in my firm assisting in
         this Litigation under my supervision and control are compensated their respective hourly
         rates. My compensation for any deposition and trial testimony in this Litigation is billed at
         the rate of $460 per hour. Counsel has also agreed to reimburse my out-of-pocket expenses.
         My compensation is not dependent either on the opinions I express or the outcome of this
         Litigation.




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     6. This report should not be construed as expressing opinions on matters of law, which are
        outside of my expertise. To the extent I have interpreted regulations, contracts, agreements,
        relevant cases, or other evidence, these interpretations necessarily reflect my understanding
        thereof from an accounting and financial reporting perspective.

 II.     Documents Considered

     7. A list of the sources I consulted in preparing this report, as required by Federal Rule of Civil
        Procedure 26(a)(2)(B)(ii) may be found in Exhibit B to this report.

     8. In addition, other evidence may be produced to me that could be relevant to my conclusions,
        including the testimony and reports of other witnesses, and I reserve the right to amend my
        report and supplement my opinions after considering such evidence, if necessary.


 III.    Summary of Opinions
     9. The value of the various benefits provided to the Class under the Settlement Agreement
        through April 12, 2021 totals $1,305,608,7591 based on the following elements:

             a. The value of the Lifetime Warranty Coverage for the Class Vehicles related to the
                engine short block assembly is $932,939,474. Hyundai Class Vehicles represent
                $541,647,464 and Kia Class Vehicles represent $391,292,010 of the total value. 2

             b. The value of the free Diagnostic Inspection for Class Vehicles is $64,597,623.
                Hyundai Class Vehicles represent $31,807,659 and Kia Class Vehicles represent
                $32,789,964 of the total value. 3

             c. The value of the Knock Sensor Detection Software (“KSDS”) update installation
                in the Class Vehicles is $146,247,716. Hyundai Class Vehicles represent
                $86,615,052 and Kia Class Vehicles represent $59,632,644 of the total value. 4

             d. The value of the Repair Reimbursements including the goodwill payment of $140
                for both Hyundai and Kia is $128,316,075.5 Hyundai Class Vehicles represent
                $52,942,9406 and Kia Class Vehicles represent $75,373,1357 of the total value.


 1
   Schedule 1a.
 2
   Schedule 2.
 3
   Schedule 3.
 4
   Schedule 3a.
 5
   See Schedule 4 for Hyundai $52,942,940 and Schedule 5 for Kia $75,373,135 which totals $128,316,075.
 6
   Schedule 4, Hyundai total Repair Reimbursement of $52,942,940 = Repair Reimbursement (Hyundai) of
 $51,069,600 + Inconvenience: Repaired Elsewhere of $1,873,340.
 7
   Schedule 5, Kia total Repair Reimbursements of $75,373,135 = Repair Reimbursement (Kia) of $37,342,004 +
 Repair Reimbursements (3rd Party) of $35,717,631 + Inconvenience: Repaired Elsewhere of $2,313,500.

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                e. The value of Other Repair-Related Reimbursements for both Hyundai and Kia is
                   $28,578,279.8 Hyundai Class Vehicles represent $11,343,2769 and Kia Class
                   Vehicles represent $17,235,00310 of the total value.

                f. The value of the Inconvenience Due to Repair Delays for both Hyundai and Kia is
                   $1,133,913.11 Hyundai Class Vehicles represent $442,35012 and Kia Class Vehicles
                   represent $691,56313 of the total value.

                g. The value of the Loss of Value for Sold or Traded-In vehicles due to a loss event
                   cannot be calculated at this time as it relies, in part, on the Black Book value.
                   Therefore, the loss has been calculated only for the $140 goodwill payment for
                   Hyundai and Kia which is $2,681,560.14 Hyundai Class Vehicles represent
                   $1,111,60015 and Kia Class Vehicles represent $1,569,96016 of the total value.

                h. The value of the Loss of Vehicle by Engine Fire cannot be calculated at this time
                   as it relies, in part, on the Black Book value. Therefore, the loss has been calculated
                   only for the goodwill payment of $140 for Hyundai and Kia which is $1,114,120.17
                   Hyundai Class Vehicles represent $424,06018 and Kia Class Vehicles represent
                   $690,06019 of the total value.

                i. The value of the Rebate Program cannot be calculated at this time as it relies, in
                   part, on the Black Book value.

                j. The value of the Cost of Administration and Notice has not been calculated.

       10. Included in the Summary Table below is the total value of the claims made through
          September 16, 2020 for Hyundai and September 20, 2020 for Kia along with the value to
          the Class projected through April 12, 2021.




 8
    See Schedule 4 for Hyundai Other Repair-Related Reimbursements of $11,343,276 and Schedule 5 for Kia Other
 Repair-Related Reimbursement of $17,235,003 which totals $28,578,279.
 9
   Schedule 4.
 10
    Schedule 5.
 11
      See Schedule 4 for Hyundai $442,350 and Schedule 5 $691,563 for Kia which totals $1,133,913.
 12
   Schedule 4.
 13
   Schedule 5, Inconvenience Due to Repair Delays (Cash) of $601,000 + Inconvenience Due to Repair Delays
 (Service Card) of $90,563.
 14
      See Schedule 4 for Hyundai $1,111,600 and Schedule 5 for Kia $1,569,960 which totals $2,681,560.
 15
      Schedule 4.
 16
      Schedule 5.
 17
      See Schedule 4 for Hyundai 424,060 and Schedule 5 for Kia $690,060 which totals $1,114,120.
 18
      Schedule 4.
 19
      Schedule 5.

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Summary Table:
                                                             [a]                 [b]            [c] = [a]+[b]            [d]              [e]             [f] = [d]+[e]

                                                                                                                                                       Total Class
                                                                                               Total Current                                           Projection
 Value of the Settlement Agreement Benefits:              Hyundai               Kia         September 20, 2020        Hyundai            Kia          April 21, 2020

  a. Value of the Lifetime Warranty Coverage            $ 403,364,866       $ 286,347,493   $        689,712,359    $ 541,647,464    $ 391,292,010    $     932,939,474
  b. Value of the Free Diagnostic Inspection               31,807,659          32,789,964             64,597,623       31,807,659       32,789,964           64,597,623
  c. Value of the KSDS Update Installation                 64,505,448          43,638,050            108,143,498       86,615,052       59,632,664          146,247,716
  d. Value of the Repair Reimbursement and Goodwill        10,295,232          11,224,756             21,519,988       52,942,940       75,373,135          128,316,075
  e. Value of the Other Repair-Related Reimbursements       2,205,775           2,566,661              4,772,436       11,343,276       17,235,003           28,578,279
  f. Value of the Inconvenience Due to Repair Delays           86,025             103,000                189,025          442,350          691,563            1,133,913
  g. Value of the Loss of Value for Sold or Traded-In
  Vehicles (Goodwill payment only)                            216,160             233,800                 449,960        1,111,600        1,569,960            2,681,560
  h. Value of Loss of Vehicle by Engine Fire
  (Goodwill payment only)                                          82,460         102,760                 185,220         424,060          690,060             1,114,120
  i. Value of Rebate Program                                          -               -                       -               -                -                     -
  j. Cost of Administration and Notice                      N/A                 N/A                N/A                  N/A              N/A                 N/A

 Total Value of Settlement Agreement Benefits           $ 512,563,625       $ 377,006,484   $     889,570,109       $ 726,334,401    $ 579,274,358    $ 1,305,608,759




    IV.          Background
         11. The Settlement Agreement with HMA and KMA provides benefits to the following class:
             All owners and lessees of a Class Vehicle who purchased or leased the Class Vehicle in
             the United States, including those that were purchased while the owner was abroad on
             active U.S. military duty, but excluding those purchased in the U.S. territories and/or
             abroad. The Class Vehicles include:20

                             •     HMA model and year
                                     o Hyundai Sonata: 2011 – 2018 and certain 2019
                                     o Hyundai Santa Fe Sport: 2013 – 2018 and certain 2019
                                     o Hyundai Tucson: 2014 – 2015, 2018 and certain 2019
                             •     KMA
                                     o Kia Optima: 2011 – 2018 and certain 2019
                                     o Kia Sorento: 2011 – 2018 and certain 2019
                                     o Kia Sportage: 2011 – 2018 and certain 2019

         12. The benefits to the Class as described in the Settlement Agreement are:

                 A.          Settlement Considerations

                             1.          Lifetime warranty

         13. “Lifetime Warranty” refers to the extension of the existing Powertrain Warranty to cover
             the short block assembly, consisting of the engine block, crankshaft and bearings,
             connecting rods and bearings, and pistons, in those Class Vehicles owned by individual
             consumers that have completed the KSDS update in connection with Defendants’ now-

    20
     Settlement Agreement; Case 8:17-cv-00838-JLS-JDE Document 112-2 Filed 10/10/19 ¶ I.G. Definitions (“Class
    Vehicles”). See Exhibit C.

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        ongoing product improvement campaigns.21 The Lifetime Warranty shall also apply to
        any damage caused to the long block assembly due to connecting rod bearing failure.
        With the exception of cases of Exceptional Neglect and subject to the existing terms,
        limitations, and condition of the Class Vehicles’ original Powertrain Warranty, the
        Lifetime Warranty shall otherwise endure irrespective of the Class Vehicle’s mileage or
        duration of ownership. 22

    14. The Lifetime Warranty shall not apply or be available to commercial entities such as used
        car dealers, franchisees, or automobile auction houses.23 For Class Vehicles that may
        otherwise need a new engine pursuant to this warranty at or above 150,000 miles and
        more than eight (8) years from the original service date, Defendants have the option , in
        lieu of replacing the engine under warranty, to either, at the vehicle owner’s election, (i)
        repurchase the vehicle at Bluebook value (very good/private party) or (ii) pay the owner
        $2,000.00 in lieu of an engine replacement, provided the owner has installed the KSDS,
        and which payment will require that the owner agree in writing to assume all risk going
        forward and to void the vehicle’s remaining Lifetime Warranty.24

    15. Effective on the notice date, HMA and KMA shall extend and sustain into full effect the
        Lifetime Warranty for all eligible Class Vehicles.25

    16. For 90 days following the notice date, all class vehicles that have not received a recall
        inspection under at least one of the previous campaigns will be eligible under the Lifetime
        Warranty for free inspections and, as needed on a vehicle-by-vehicle basis, short block
        assembly repairs, irrespective of the Class Vehicles’ mileage, duration of ownership, or
        prior repairs.26

        The Lifetime Warranty shall cover all costs associated with inspections and repairs
        including, without limitation, the costs associated with replacement parts, labor,
        diagnoses, and mechanical or cosmetic damage to the Class Vehicles caused by the engine
        malfunction (e.g., engine failure or fire).27



 21
    Settlement Agreement; Case 8:17-cv-00838-JLS-JDE Document 112-2 Filed 10/10/19 ¶ I.M. Definitions
 (“Lifetime Warranty”). See Exhibit C.
 22
    Settlement Agreement; Case 8:17-cv-00838-JLS-JDE Document 112-2 Filed 10/10/19 ¶ I.M. Definitions
 (“Lifetime Warranty”). See Exhibit C.
 23
    Settlement Agreement; Case 8:17-cv-00838-JLS-JDE Document 112-2 Filed 10/10/19 ¶ I.M. Definitions
 (“Lifetime Warranty”). See Exhibit C. Our understanding is that these are not included in the Class Vehicle
 information that is used in our calculations.
 24
    Settlement Agreement; Case 8:17-cv-00838-JLS-JDE Document 112-2 Filed 10/10/19 ¶ I.M. Definitions
 (“Lifetime Warranty”). See Exhibit C.
 25
    Settlement Agreement; Case 8:17-cv-00838-JLS-JDE Document 112-2 Filed 10/10/19 ¶ II.A.1. Lifetime
 Warranty Coverage For Engine Short Block. See Exhibit C.
 26
    Settlement Agreement; Case 8:17-cv-00838-JLS-JDE Document 112-2 Filed 10/10/19 ¶ II.A.2. Lifetime
 Warranty Coverage For Engine Short Block. See Exhibit C.
 27
    Settlement Agreement; Case 8:17-cv-00838-JLS-JDE Document 112-2 Filed 10/10/19 ¶ II.A.3. Lifetime
 Warranty Coverage For Engine Short Block. See Exhibit C.

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      17. Notwithstanding any provision(s) to the contrary in any express warranty provided by
          HMA or KMA in conjunction with the sale or lease of Class Vehicles, the Lifetime
          Warranty shall persist in its full duration regardless of any transfer in ownership or lease
          of a Class Vehicle.28

                  2.      Recall and Product Improvements

      18. Past recalls of some Class Vehicles also offered a free inspection. These recalls provided
          a past benefit to owners of vehicles recalled under the various NHTSA Campaigns:
          NHTSA Campaign Numbers 15V-568, 17V-224, 17-V226, 18V934000 or 18V907000.

      19. At the direction of Class Counsel, we discarded 15V-568 from our analysis because the
          recall occurred in 2015 and 17-V224 and 17-V226 because they occurred in 2017 before
          the case was filed.

      20. HMA and KMA acknowledge that by January 2019, they each had initiated product
          improvement campaigns in which knock sensor detection software technology (“KSDS”)
          could be added through a free software update to the Class Vehicles.29

      21. HMA and KMA acknowledge that Class Counsel sought relief for some of the Class
          Vehicles subject to this agreement before any NHTSA inquiry or recall. As a result,
          recalls were issued for more than 227,000 Class Vehicles.30 At the direction of counsel the
          227,000 have been removed from the Class Vehicles when calculating the valuation of the
          free inspection. The 227,000 Class Vehicles are however included in the valuation of the
          Lifetime Warranty and the KSDS update.

                  3.      Repair Reimbursements

      22. To the extent any Claimant, before receiving notice of the Settlement, obtained a
          Qualifying Repair for a Class Vehicle, the Claimant will be entitled to a full
          reimbursement by HMA (for Hyundai Class Vehicles) or KMA (for Kia Class Vehicles)
          of any and all such expenses incurred for the Qualifying Repair, regardless of whether the
          Claimant was an original owner, lessee or subsequent purchaser or whether (for Class
          members with 2013 and 2014 Hyundai Sonata and Santa Fe Sport vehicles and 2011,
          2012, 2013, and 2014 Kia Optima, Sorento, or Sportage vehicles) the Qualifying Repair
          was completed before or after receiving notification of NHTSA Campaign Numbers 17-
          V226 and 17-V224 unless the Claimant was previously reimbursed for any and all such
          expenses incurred.31

 28
    Settlement Agreement; Case 8:17-cv-00838-JLS-JDE Document 112-2 Filed 10/10/19 ¶ II.A.4. Lifetime
 Warranty Coverage For Engine Short Block. See Exhibit C.
 29
    Settlement Agreement; Case 8:17-cv-00838-JLS-JDE Document 112-2 Filed 10/10/19 ¶ II.B.3. Recall and
 Product Improvements. See Exhibit C.
 30
    Settlement Agreement; Case 8:17-cv-00838-JLS-JDE Document 112-2 Filed 10/10/19 ¶ II.B.4. Recall and
 Product Improvements. See Exhibit C. .
 31
    Settlement Agreement; Case 8:17-cv-00838-JLS-JDE Document 112-2 Filed 10/10/19 ¶ II.C.1. Repair
 Reimbursements. See Exhibit C.

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      23. For claims submitted for reimbursement for Qualifying Repairs performed at authorized
          Hyundai or Kia dealerships, Defendants shall take all reasonably available steps to acquire
          from the dealerships the information reasonably necessary to approve the claim.32

      24. Class members who presented their Class Vehicle to an authorized dealership and were
          denied in-warranty repair prior to receiving notice of the Settlement, and then obtained
          their Qualifying Repair elsewhere are entitled to claim an additional $140 goodwill
          payment.33


                  4.      Other Repair-Related Reimbursements

      25. To the extent any Claimant incurs expenses, for a rental car, towing service, or other out-
          of-pocket expenses reasonably related to obtaining a Qualifying Repair for a Class
          Vehicle, The Claimant shall be entitled to full reimbursement of any towing expenses or
          other out-of-pocket expenses reasonably related to obtaining a Qualifying Repair, and up
          to $40 per day for rental car expenses if a loaner vehicle was not originally provided by
          HMA or KMA.34

      26. Claimants shall not be entitled to receive compensation apart from their out-of-pocket
          costs incurred. For example, the Claimants are not entitled to lost wages or other forms of
          consequential damages.35 In addition, Claimants previously reimbursed in full or in part
          for rental car or towing expenses following an engine seizure, engine stall, engine noise,
          engine compartment fire, or illumination of the oil lamp diagnosed as requiring a repair
          shall not be entitled to a reimbursement under this Settlement for that portion of the
          expense they have already been reimbursed.36


                  5.      Inconvenience Due to Repair Delays

      27. If a Class member is or was inconvenienced by prolonged delays exceeding 60 days when
          obtaining any Qualifying Repair from an authorized Hyundai or Kia dealership, the
          Claimant shall be entitled to a goodwill payment based on the length of delay. The



 32
    Settlement Agreement; Case 8:17-cv-00838-JLS-JDE Document 112-2 Filed 10/10/19 ¶ II.C.3. Repair
 Reimbursements. See Exhibit C.
 33
    Settlement Agreement; Case 8:17-cv-00838-JLS-JDE Document 112-2 Filed 10/10/19 ¶ II.C.6. Repair
 Reimbursements. See Exhibit C.
 34
    Settlement Agreement; Case 8:17-cv-00838-JLS-JDE Document 112-2 Filed 10/10/19 ¶ II.D.1. Other Repair-
 Related Reimbursements. See Exhibit C.
 35
    Settlement Agreement; Case 8:17-cv-00838-JLS-JDE Document 112-2 Filed 10/10/19 ¶ II.D.2. Other Repair-
 Related Reimbursements. See Exhibit C.
 36
    Settlement Agreement; Case 8:17-cv-00838-JLS-JDE Document 112-2 Filed 10/10/19 ¶ II.D.3. Other Repair-
 Related Reimbursements. See Exhibit C.

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         goodwill payment is $50 for delays lasting between 61-90 days, and $25 for each
         additional 30-day period of delay or fraction thereof.37

      28. A Class member may elect to receive compensation in the form of a dealer service card
          valued at 150% of the amount that would otherwise be paid under this provision as a cash
          debit card. The dealer service card may only be used at any authorized Hyundai dealer
          (for Hyundai Class Vehicles) or any authorized Kia dealer (for Kia Class Vehicles) for
          payment towards any merchandise, parts, or service.38

      29. Claimants that have already received a goodwill payment by HMA, KMA, or any
          authorized Hyundai or Kia dealerships for any delay due to a Qualifying Repair will be
          ineligible for this inconvenience payment.39


                   6.       Loss of Value for Sold or Traded-In Vehicles due to a Loss Event

      30. Claimants who before notice of this Settlement experienced a Loss Event may recover for
          the loss. Those Claimants who: (i) had a Class Vehicle experience an engine seizure,
          engine stall, engine noise, engine compartment fire, or illumination of the oil lamp
          diagnosed as requiring repair of the engine block, and (ii) sold or traded-in the Class
          Vehicle without procuring the recommended repair , will be entitled to reimbursement by
          HMA (for Hyundai Class Vehicles) or KMA (for Kia Class Vehicles) of the baseline
          Black Book value (i.e., wholesale used vehicle value) of the sold or traded-in Class
          Vehicle plus $140.00 at the time of loss minus actual amount received from the sale or
          trade-in.40

      31. A Claimant’s maintenance history or lack thereof before the repair diagnosis (except
          limited Exceptional Neglect circumstances), shall not be a basis for denying or limiting
          compensation under this section.41 To the extent a Claimant contends that the actual
          damages incurred exceed the reimbursement amount as provided in this section, the




 37
    Settlement Agreement; Case 8:17-cv-00838-JLS-JDE Document 112-2 Filed 10/10/19 ¶ II.E.2. Inconvenience
 Due to Repair Delays. See Exhibit C.
 38
    Settlement Agreement; Case 8:17-cv-00838-JLS-JDE Document 112-2 Filed 10/10/19 ¶ II.E.3. Inconvenience
 Due to Repair Delays. See Exhibit C.
 39
    Settlement Agreement; Case 8:17-cv-00838-JLS-JDE Document 112-2 Filed 10/10/19 ¶ II.E.5. Inconvenience
 Due to Repair Delays. See Exhibit C.
 40
    Settlement Agreement; Case 8:17-cv-00838-JLS-JDE Document 112-2 Filed 10/10/19 ¶ II.F.1. Loss of Value for
 Sold or Traded-In Vehicles due to a Loss Event. Loss Event is defined in the Settlement Agreement ¶ I.O: “Loss
 Event” means any Class Vehicle incident that would have led to a Qualifying Repair (Including, but not limited to,
 an engine fire) but either the cost of the repair was too great or other circumstances led the Class member to dispose
 of the Class Vehicle at a loss. This includes events in which there was insurance coverage, but where the Class
 member was still not made whole by such insurance payments. See Exhibit C.
 41
    Settlement Agreement; Case 8:17-cv-00838-JLS-JDE Document 112-2 Filed 10/10/19 ¶ II.F.2. Loss of Value for
 Sold or Traded-In Vehicles due to a Loss Event. See Exhibit C.

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         Claimant must provide written notice to HMA (for Hyundai Class Vehicles) or KMA (for
         Kia Class Vehicles) requesting an alternative dispute resolution.42


                  7.       Loss of Vehicle by Engine Fire

      32. To the extent any Claimant suffers a loss of vehicle by engine fire directly caused by the
          Class Vehicle’s failure arising from a vehicle condition that would have otherwise been
          addressed by a Qualifying Repair, the Claimant will be entitled to a payment by HMA (for
          Hyundai Class Vehicles) or KMA (for Kia Class Vehicles) of the maximum Black Book
          value (i.e., private party/very good) of the Class Vehicle at the time of loss minus the
          actual value received (if any) plus an additional $140 goodwill payment.43

                  8.       Rebate Program

      33. To the extent any Class member loses faith in their Class Vehicle as a result of this
          Settlement, the Class member may present a claim for a rebate after selling the Class
          Vehicle in an arm’s length transaction if (a) the Class member experienced an engine
          failure or engine component fire and (b) purchased a replacement Hyundai vehicle (for
          Hyundai Class members) or Kia vehicle (for Kia Class members).44


      34. The amount of the rebate shall be calculated as actual loss by comparing sales
          documentation to the maximum Black Book value (i.e., private party/very good) of the
          Class Vehicle at the time of the KSDS campaign launch up to the following amounts:45

                       •   Model year 2011 – 2012: $2,000
                       •   Model year 2013 – 2014: $1,500
                       •   Model year 2015 – 2016: $1,000
                       •   Model year 2017 – 2019: $ 500




 42
    Settlement Agreement; Case 8:17-cv-00838-JLS-JDE Document 112-2 Filed 10/10/19 ¶ II.F.3. Loss of Value for
 Sold or Traded-In Vehicles due to a Loss Event. See Exhibit C.
 43
    Settlement Agreement; Case 8:17-cv-00838-JLS-JDE Document 112-2 Filed 10/10/19 ¶ II.G.1. Loss of Vehicle
 by Engine Fire. See Exhibit C.
 44
    Settlement Agreement; Case 8:17-cv-00838-JLS-JDE Document 112-2 Filed 10/10/19 ¶ II.H.1-1a. Rebate
 Program. See Exhibit C.
 45
    Settlement Agreement; Case 8:17-cv-00838-JLS-JDE Document 112-2 Filed 10/10/19 ¶ II.H.3a-d. “Rebate
 Program” See Exhibit C.

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                    9.     Cost of Administration and Notice

      35. HMA and KMA shall be responsible for all costs of Class notice and settlement
          administration. In no event shall Plaintiff’s Counsel or the Class be responsible for any
          costs associated with Class notice or settlement administration.46


 V.       Analysis

      36. The determination of value for the various elements of the Settlement Agreement
          including the Lifetime Warranty, the installation of the KSDS update, the free diagnostic
          inspection, and various cash reimbursements and payments, is based on information
          supplied by HMA and KMA. The methodology to determine the value already received
          or eligible to be received by the Class is described in detail below.


          A.        Class Vehicles

      37. Information was received from HMA and KMA related to the annual sales figures by
          model and model year for each Class Vehicle from 2011 through 2019 and total 3,956,568
          vehicles (See Schedule 7 for Hyundai Class Vehicles and Schedule 8 for Kia Class
          Vehicles). HMA reported a total of 2,402,230 Class Vehicles with 174,145 that were
          scrapped, salvaged, crushed, or has a registration that had lapsed for three years or more,
          resulting in 2,228,085 eligible Class Vehicles.47 KMA reported a total of 1,868,031 Class
          Vehicles with 138,177 having a branded title and 1,371 that were not sold, resulting in
          1,728,483 eligible Class Vehicles.48 See Table 1.

            Table 1. Class Vehicles
                                                 [a]                    [d]              [e] = [a]-[b]-[c]-[d]
                                                                 Less: Class
                                              Total            Vehicles With
                                              Class           Branded Title and          Eligible Class
                         Make                Vehicles              Unsold                   Vehicles
            Hyundai                            2,402,230                      174,145            2,228,085
            Kia                                1,868,031                      139,548            1,728,483
            Total                            4,270,261                        313,693          3,956,568

            Branded title refers to vehicles that have been scrapped, salvaged, crushed or registration
            that had lapsed for three years or more.

 46
    Settlement Agreement; Case 8:17-cv-00838-JLS-JDE Document 112-2 Filed 10/10/19 ¶ II.I. Cost of
 Administration and Notice. See Exhibit C.
 47
    See Schedule 7. Declaration of Adam Gonnelli In support of Final Approval of Class Settlement ¶ 6 (Exhibit D).
 48
    See Schedule 8. Declaration of Adam Gonnelli In support of Final Approval of Class Settlement ¶ 5 (Exhibit D).

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            B.        Lifetime Warranty Coverage for Engine Short Block

      38. The Settlement Agreement defines the “Lifetime Warranty” as an extension of the existing
          Powertrain Warranty to cover the short block assembly, which consists of the engine
          block, crankshaft and bearings, connecting rods and bearings, and pistons, in those Class
          Vehicles owned by individual consumers that have completed the KSDS update in
          connection with the Defendant’s now-ongoing product improvement campaigns. The
          Lifetime Warranty also covers any damage caused to the long block assembly due to
          connecting rod failure.49

      39. HMA and KMA provided information for the manufacturer’s suggested retail price
          (“MSRP”) to a consumer for the Powertrain coverage. Hyundai stated the average cost in
          2020 for the 10 year 100,000 mile Powertrain Warranty is $2,431 assuming the vehicle
          has 60K miles at the time the extended warranty is added.50 Kia provided a range of
          Powertrain Warranty MSRP’s for used vehicles which averaged $2,321 for the Sorento
          and Optima and $2,039 for the Sportage.51 HMA and KMA represent that the short block
          assembly represents no less than 10 percent of the total value of the Powertrain
          Warranty.52 Multiplying the average MSRP values by 10% estimates the minimum MSRP
          value for the Lifetime Warranty for the short block assembly of $243 for Hyundai and
          $232 for the Sorento and Optima and $204 for the Sportage.53

      40. As shown in Table 2, multiplying the number of Class Vehicles by the estimated MSRP
          value of the Lifetime Warranty for the short block engine assembly by the percentage of
          Class Vehicles that currently have the KSDS software installed results in a Lifetime
          Warranty value to the Class of no less than $689,712,359.54 The value of the Lifetime
          Warranty for all Class Vehicles is calculated by multiplying the Total Class Vehicles by
          the Estimated MSRP of the Lifetime Warranty for the short block engine assembly and
          results in a Lifetime Warranty value for all Class Vehicles of no less than $932,939,474.55




 49
    Settlement Agreement; Case 8:17-cv-00838-JLS-JDE Document 112-2 Filed 10/10/19 ¶ I.M. “Lifetime
 Warranty”. See Exhibit C.
 50
    Declaration of Adam Gonnelli In support of Final Approval of Class Settlement ¶ 7. See Exhibit D.
 51
    Declaration of Adam Gonnelli In support of Final Approval of Class Settlement ¶ 8 Powertrain Coverage Used
 Sorento and Optima: $1,333-$3,309 for an average of $2,321 and Sportage $1,320-$2,758 for an average of $2,039.
 See Exhibit D.
 52
      Declaration of Adam Gonnelli In support of Final Approval of Class Settlement ¶ 9. See Exhibit D. Schedule 6.
 53
    Hyundai MSRP of $243 (average Powertrain Warranty of $2,431 x 10% = $243); Kia MSRP of $232 for the
 Sorento and Optima (average Powertrain Warranty of $2,321 x 10% = $232); Kia MSRP of $204 for the Sportage
 (average Powertrain Warranty of $2,039 x 10% = $204). See Schedule 6.
 54
    Schedule 2.
 55
    Schedule 2.

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         Table 2. Value of Lifetime Warranty Coverage
                                           [a]                 [b]           [c] = [b] x 10%        [d]             [e] = [a] x [c] x [d]         [f] = [a] x [c]
                                                                                Short
                                                                                Block
                                                                              Asse mbly                         Total Value of
                                                        Estimated MSRP         10% of          Pe rcentage of Lifetime Warranty Total Value of Lifetime
                                         Total             Powertrain         Powertain        Class Vehicles for Class Vehicle s Warranty for All Class
          Make         Model         Class Vehicles         Warranty          Warranty           with KSDS        with KSDS            Vehicle s
         Hyundai        All                 2,228,085   $           2,431     $     243                74.47% $      403,364,866 $        541,647,463.50

         Kia        Sorento/Optima          1,377,813   $            2,321    $       232              73.18%   $          234,022,613        $      319,790,397.30
         Kia           Sportage               350,670   $            2,039    $       204              73.18%   $           52,324,880                   71,501,613
         Subtotal Kia                       1,728,483                                                           $          286,347,493        $         391,292,010

         Total                             3,956,568                                                            $       689,712,359           $        932,939,474



      41. To determine the reasonableness that the short block assembly, as a percentage of the
          Powertrain Warranty, is 10% we performed a separate analysis. The powertrain is made
          up of 3 main components, the engine, the transmission and the drive axel.56 Through
          general information obtained from the internet, the average replacement costs for an
          engine is $3,500, a transmission is $2,600, and a drive axle is $484.57 A replacement
          engine represents approximately 53% of the average cost of these three component
          repairs.58 The average Powertrain Warranty MSRP’s provided by HMA and KMA were
          multiplied by 53% to estimate a value for just the engine portion of the Powertrain
          Warranty resulting in an estimated MSRP value of $1,292 for Hyundai and $1,234 for the
          Sorento and Optima and $1,084 for the Sportage.59

      42. The average cost of a short block assembly replacement is $800 which represents 22.86%
          of the average cost of $3,500 for engine replacement.60 The MSRP values for the engine
          portion of the Powertrain Warranty calculated above were each multiplied by 22.86% to
          arrive at an estimated MSRP value for the Lifetime Warranty for the short block assembly
          of $295 for Hyundai Class Vehicles and $282 for the Kia Sorento and Optima and $248
          for the Kia Sportage.61 See Schedule 6.



 56
    Hyundai Protection Plan, Powertrain coverage. See Exhibit G. Kia Protection Plan. See Exhibit H
 57
    See Exhibit I. Screen shots of equipment replacement costs (not specific to Hyundai’s or Kia’s): general engine
 replacement costs range from $3,000 - $4,000 for an average cost of $3,500; general transmission replacement costs
 range from $1,800 - $3,400 for an average cost of $2,600; and general drive axle replacement costs range from
 $168-$799 for an average cost of $484.
 58
    See Schedule 6a. Engine replacement average of 53% calculated by dividing the average cost for a replacement
 engine of $3,500 by average total cost of the engine, transmission and drive axel repairs of $6,584 (total of the
 average engine replacement of $3,500 + transmission replacement of $2,600 + drive axle replacement of $484).
 59
    See Schedule 6a. Hyundai MSRP of $1,292 (average Powertrain Warranty of $2,431 x 53.16% = $1,292); Kia
 MSRP of $1,234 for the Sorento and Optima (average Powertrain Warranty of $2,321 x 53.16% = $1,234); Kia
 MSRP of $1,084 for the Sportage (average Powertrain Warranty of $2,039 x 53.16% = $1,084).
 60
    See Exhibit I. Page 1 for engine cost range from $3,000 - $4,000 for an average cost of $3,500 and page 4 for
 Short Block Assembly cost range from $600 - $1,000 for an average cost of $800.
 61
    Hyundai MSRP of $295 (average Powertrain Warranty for the engine of $1,292 x 22.86% = $295); Kia MSRP of
 $282 for the Sorento and Optima (average Powertrain Warranty for the engine of $1,234 x 22.86% = $282); Kia
 MSRP of $248 for the Sportage (average Powertrain Warranty for the engine of $1,084 x 22.86% = $248). See
 Schedule 6a.

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      43. As shown in Table 2a, multiplying the number of Class Vehicles by the estimated MSRP
          value of the Lifetime Warranty for the short block engine assembly by the percentage of
          Class Vehicles that currently have the KSDS software installed results in a Lifetime
          Warranty value to the Class of $838,046,609.62 The value of the Lifetime Warranty for all
          Class Vehicles is calculated by multiplying the Total Class Vehicles by the Estimated
          MSRP of the Lifetime Warranty for the short block engine assembly and results in a
          Lifetime Warranty value for all Class Vehicles of $1,133,583,808.63

          Table 2a. Value of Lifetime Warranty Coverage
                                            [a]                  [b]                 [c]            [d] = [a] x [b] x[c]        [e] = [a] x [b]
                                                          Estimated MSRP                        Total Value of
                                                          Life time Warranty   Percentage of Life time Warranty Total Value of Life time
                                          Total              Short Block       Class Vehicles for Class Vehicles Warranty for All Class
           Make         Model         Class Vehicles           Assembly         with KSDS         with KSDS            Vehicles
          Hyundai        All                 2,228,085    $             295            74.47% $      490,115,269 $          658,137,866

          Kia        Sorento/Optima          1,377,813    $             282            73.18%   $         284,353,114      $            388,566,704
          Kia           Sportage               350,670    $             248            73.18%   $          63,578,226                    86,879,238
          Subtotal Kia                       1,728,483                                          $         347,931,340       $           475,445,942

          Total                             3,956,568                                           $       838,046,609        $      1,133,583,808




          C.         Free Diagnostic Inspection

      44. For 90 days following Final Approval, Class Members who have not already had a
          diagnostic inspection under a prior recall will be entitled to a free inspection and any
          associated short block engine repairs.64

      45. Hyundai will compensate dealers .5 hours for all Class Vehicles except for the 2019 Santa
          Fe which will be reimbursed for .6 hours.65 KMA will compensate dealers .7 hours of
          work to perform this diagnostic inspection.66

      46. Per KMA, a traditional recall response rate ranges between 25% to 35% depending on the
          recall and age of the vehicles.67 To calculate the value to the Class of the Free Diagnostic
          Inspection the lower response rate of 25% was used. The number of Class Vehicles was
          reduced by 227,000 as they are covered under previous improvement campaigns.68 The
          total number of remaining Class Vehicles was multiplied by 25% to calculate the
          estimated number of vehicles by model type and year that would come in for the free

 62
    Schedule 2a.
 63
    Schedule 2a.
 64
    Settlement Agreement; Case 8:17-cv-00838-JLS-JDE Document 112-2 Filed 10/10/19 ¶ II.A.2 “Lifetime
 Warranty”. See Exhibit C.
 65
    Declaration of Adam Gonnelli In support of Final Approval of Class Settlement ¶ 15. See Exhibit D.
 66
    Declaration of Adam Gonnelli In support of Final Approval of Class Settlement ¶ 16. See Exhibit D.
 67
    Declaration of Adam Gonnelli In support of Final Approval of Class Settlement ¶ 17. See Exhibit D.
 68
    Settlement Agreement; Case 8:17-cv-00838-JLS-JDE Document 112-2 Filed 10/10/19 ¶ II.BA.4 “Recall and
 Product Improvements”. See Exhibit C.

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            inspection. This estimate of Class Vehicles was multiplied by the corresponding labor
            hours to be reimbursed by HMA and KMA and the average labor rates charged. This
            results in a total value of the Free Diagnostic Inspection to the Class of $64,597,623.69 See
            Table 3 below.

Table 3. Value of Inspection
                                                  [a]             [b]           [c] = [a] - [b]    [d] = [c] x 25%    [e]         [f]     [g] = [d]x[e]x[f]
                                                                                                    Estimated                                Class
                                                            Less Vehicles                         Class Vehicles National                Vehicles with
                                                             Covered un       Class Vehicles      that will obtain Average of                KSDS
                                                Total         Previous         Eligible for          the free        Dealer   Hours      installed as of
                                                Class          Recalls          Diagnostic         inspection =      Labor      of         September
 Make            Model              Year       Vehicles        (II.B.4)         Inspection             25%           Rates    Labor           2020
Hyundai Santa Fe                    2019         107,453            (6,165)          101,288                25,322 $     120   0.6            1,823,184
Hyundai Remaining Class Vehicles 2011 - 2019    2,120,632         (121,667)         1,998,965             499,741 $         120   0.5         29,984,475
Subtotal Hyundai                                2,228,085         (127,832)                               525,063                             31,807,659

Kia       All Class Vehicles     2011 - 2019    1,728,483          (99,168)        1,629,315              407,329 $         115   0.7       32,789,964
Total                                          3,956,568         (227,000)        3,729,568              932,392                           64,597,623




        47. In calculating the value of the free recall inspection, we did not include the value of any
            Qualifying Repairs performed as a result of the inspection.


              D.          Knock Sensor Update and Vehicle Improvements

        48. The Settlement Agreement references a software update for all Class Vehicles related to
            the Knock Sensor Detection Software (“KSDS”) free of charge pursuant to the product
            improvement campaigns referenced in the Settlement Agreement.70

        49. The KSDS was developed to proactively address any potential future engine failures that
            could be caused by connecting rod bearing wear or lack of maintenance. KSDS is
            designed to alert a driver of any early bearing wear before the occurrence of any severe
            engine damage that could ultimately lead to engine failure or fire.71 The KSDS is installed
            via a software updated to the Engine Control Unit and leverages the existing knock sensor
            to continuously monitor for symptoms of excessive connecting rod bearing wear. The
            KSDS functions by detecting vibrations within a certain frequency range in the engine to
            identify the onset of excessive connecting rod bearing wear.72

        50. If the KSDS detects a developing condition, two things will occur: (1) the check engine
            light (or Malfunction Indicator Lamp) on the dashboard will begin to flash continuously
            and (2) the car will be placed in a temporary engine protection mode, called “Limp Home


 69
    Schedule 3.
 70
    Settlement Agreement; Case 8:17-cv-00838-JLS-JDE Document 112-2 Filed 10/10/19 ¶ I.L. (“Knock Sensor
 Detection Software”). See Exhibit C.
 71
    Declaration of Alan Dow Regarding Knock Sensor Detection System (“KSDS”) ¶ 3. See Exhibit F.
 72
    Declaration of Alan Dow Regarding Knock Sensor Detection System (“KSDS”) ¶ 4. See Exhibit F.

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          Mode.”73 Although the KSDS update is designed to enhance safety and detect mechanical
          problems before they become expensive or dangerous our valuation is limited to the labor
          cost of installation.

       51. HMA and KMA stated in the January 27, 2020 interrogatory responses that the labor costs
           at Hyundai dealerships range from $75 to $202 per hour, with a national average of $120
           per hour.74 The labor costs at Kia dealerships range from $83 to $173 per hour, with the
           national average of $115 per hour.75

       52. HMA will reimburse dealers 0.3 hours of labor to install the KSDS update on Class Vehicles
           except for 2015 model year Sonatas and Santa Fe Sport Vehicles, for which Hyundai pays
           0.5 hours.76 KMA will pay dealers 0.3 hours of labor on all Class Vehicles to install the
           KSDS update.77 To estimate the value to the Class for the KSDS update the Class Vehicles
           were multiplied by the corresponding labor hours to be reimbursed by HMA and KMA and
           the average labor rates charged. This results in a total value of the KSDS to the Class of
           $146,247,716.78 See Table 4 below.

       53. As of September 16, 2020 1,659,338 HMA Class Vehicles have received the KSDS
           update.79 As of September 21, 2020 approximately 1,264,871 KMA Class Vehicles have
           received the KSDS update.80 The total value of the labor expended to install the KSDS in
           those vehicles is $108,143,509. The projected value for the remaining Class Vehicles to
           receive the KSDS update is $38,104,206. See Table 3 below.

 Table 4. Value of KSDS Installation
                                                   [a]         [b]         [c]   [d] = [a]x[b]x[c]         [e]        [f] = [b]x[c]x[e]     [g] = [d] - [f]
                                                             National                                Class Ve hicles
                                                            Average of                                 with KSDS
                                                 Total       Dealer    Hours                         installed as of   Value for        Value
                                                 Class        Labor      of      Total Value of        September     Vehicles With    Re maining
  Make             Model               Year     Vehicles      Rates    Labor        Labor                 2020       KSDS installed Class Vehicles
 Hyundai Sonata and Santa Fe        2015           266,833 $         120   0.5   $    16,009,980            198,720 $     11,923,229 $          4,086,751
 Hyundai Remaining Class Vehicles 2011-2019      1,961,252 $         120   0.3   $    70,605,072          1,460,618 $     52,582,230 $         18,022,842
 Subtotal Hyundai                                2,228,085                       $    86,615,052          1,659,338 $     64,505,460 $         22,109,592

 Kia      All Class Vehicles      2011 - 2019    1,728,483 $         115   0.3   $    59,632,664          1,264,871 $     43,638,050 $         15,994,614
 Total                                          3,956,568                        $ 146,247,716           2,924,209   $ 108,143,509         $ 38,104,206




 73
    Declaration of Alan Dow Regarding Knock Sensor Detection System (“KSDS”) ¶ 5. See Exhibit F.
 74
    Declaration of Adam Gonnelli In support of Final Approval of Class Settlement ¶ 11. See Exhibit D.
 75
    Declaration of Adam Gonnelli In support of Final Approval of Class Settlement ¶ 10. See Exhibit D.
 76
    Declaration of Adam Gonnelli In support of Final Approval of Class Settlement ¶ 14. See Exhibit D. The
 estimated hours that Hyundai pays dealers to install the KSDA software may be different than the amount of time
 that would be billed to a consumer outside of a warranty or recall.
 77
    Declaration of Adam Gonnelli In support of Final Approval of Class Settlement ¶ 13. See Exhibit D. The
 estimated hours that Kia pays dealers to install the KSDA software may be different than the amount of time that
 would be billed to a consumer outside of a warranty or recall.
 78
    Schedule 3a.
 79
    Declaration of Adam Gonnelli In support of Final Approval of Class Settlement ¶ 19. See Exhibit D.
 80
    Declaration of Adam Gonnelli In support of Final Approval of Class Settlement ¶ 18. See Exhibit D.

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          E.      Repair-Related Reimbursements - Hyundai

      54. As of September 16, 2020, Hyundai reported the total number of claims, average claim
          amount and total value of claims by repair category totaling $12,501,007.81 They also
          reported the number of claims received in other categories including, Inconvenience due
          to Repair Delays, Sold or Traded-In vehicles, Loss of Vehicle by Engine Fire and Rebate
          Program. This provided the total number of claims received in all repair categories.

      55. Hyundai received 1,147 claims for Inconvenience due to Repair delays in excess of 60
          days thus meeting the requirement for a goodwill payment.82 To calculate the value of
          the Inconvenience due to Repair Delays, we used the total number of claims for delays in
          excess of 60 days multiplied that by the average delay claim of 114 days.83 A delay of
          114 days equates to a goodwill payment of $75.84 The total value of the goodwill
          payments related to Inconvenience Due to Repair Delays equals $86,025 as of September
          20, 2020. See Schedule 4.

      56. We are unable to calculate the Loss of Value for Sold or Traded-In Vehicles as those
          calculations rely, in part, on knowing the Black Book value of the vehicles at the time of
          sale or trade-in. We were able to calculate the goodwill payment associated with these
          transactions by multiplying the number of claims by the goodwill payment of $14085 for a
          total value of $216,160. See Schedule 4.

      57. We are unable to calculate the Loss of Vehicles due to Engine Fire as those calculations
          rely, in part, on knowing the Black Book value at the time of the fire. We are able to
          calculate the goodwill payment associated with the engine fires as the number of claims
          times the goodwill payment of $14086 for a value of $82,460. See Schedule 4.

      58. We took this information and calculated the value of claims received as of September 16,
          2020 of approximately $12,885,652. This represents total repairs from August 1, 2020
          through September 16, 2020 or approximately 7 weeks. This equates to approximately
          $1,840,807 per week. We assumed the number of claims, and average costs per claim in
          the first 7 weeks of the period will continue through April 12, 2021, or an additional 29
          weeks. This equates to approximately $53,378,574 for a total of $66,264,226 for August
          2020 through April 12, 2021.87



 81
    Declaration of Adam Gonnelli In support of Final Approval of Class Settlement ¶ 23. Categories included Repair
 Reimbursements (Hyundai) of $9,930,952, Other Repair-Reimbursements of $2,205,775, and Inconvenience: Repair
 Elsewhere of $364,280. See Exhibit D.
 82
    Declaration of Adam Gonnelli In support of Final Approval of Class Settlement ¶ 23. See Exhibit D.
 83
    Declaration of Adam Gonnelli In support of Final Approval of Class Settlement ¶ 23. See Exhibit D.
 84
    Settlement Agreement; Case 8:17-cv-00838-JLS-JDE Document 112-2 Filed 10/10/19 ¶ II.E.2. Inconvenience
 Due to Repair Delays. See Exhibit C.
 85
    As provided for in the Settlement Agreement and discussed in detail in paragraph 30 above.
 86
    As provided for in the Settlement Agreement and discussed in detail in paragraph 32 above.
 87
    Schedule 4.

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                                    #:4646



         F.       Repair-Related Reimbursements - KIA

    59. As of September 20, 2020 Kia reported the total number of claims, average claim amount
        and total value of claims by repair category totaling $13,446,877.88 They also reported the
        number of claims received in other categories including, Inconvenience due to Repair
        Delays, Sold or Traded-In vehicles, Loss of Vehicle by Engine Fire and Rebate Program.
        This provided the total number of claims received in all categories. We took this
        information and calculated the total value of the claims received as of September 20, 2020
        of approximately $14,230,977.89

    60. Kia received 788 claims for Inconvenience due to Repair delays in excess of 60 days thus
        meeting the requirement for a goodwill payment. The average delay claim was 159 days90
        which equates to a goodwill payment of $125.91 92 Of the 788 claims, 72 requested the
        service card option and the remaining 716 requested the cash option. To calculate the
        value of the Inconvenience due to Repair Delays, we used the total number of claims for
        delays in excess of 60 days that requested the cash option and multiplied that by the $125
        goodwill payment value. To calculate the value of the service card option the goodwill
        payment of $125 was multiplied by 150% then multiplied by the number of claims. The
        total value of the goodwill payments related to the cash and service card option equals
        $103,000 as of September 20, 2020.93 See Schedule 5.

    61. We are unable to calculate the Loss of Value for Sold or Traded-In Vehicles as those
        calculations rely, in part, on knowing the Black Book value of the vehicles at the time of
        sale or trade-in. We were able to calculate the goodwill payment associated with these
        transactions by multiplying the number of claims by the goodwill payment of $14094 for a
        total value of $233,800. See Schedule 5.

    62. We are unable to calculate the Loss of Vehicles due to Engine Fire as those calculations
        rely, in part, on knowing the Black Book value at the time of the fire. We are able to
        calculate the goodwill payment associated with the engine fires as the number of claims
        times the goodwill payment of $14095 for a value of $102,760. See Schedule 5.

    63. Epic, the claims administrator for KIA, estimates that the total number of claims they
        expect to receive through April 12, 2020 is 86,400.96 In order to determine the value of the

 88
    Declaration of Adam Gonnelli In support of Final Approval of Class Settlement ¶ 24. Categories included Repair
 Reimbursements (KIA) of $5,560,944, Repair Reimbursements (3rd party) of $5,319,279, and Other Repair Related
 Reimbursements of $2,566,661. See Exhibit D and Schedule 5.
 89
    See Schedule 5.
 90
    Declaration of Adam Gonnelli In support of Final Approval of Class Settlement ¶ 24. See Exhibit D.
 91
    Declaration of Adam Gonnelli In support of Final Approval of Class Settlement ¶ 24. See Exhibit D.
 92
    Settlement Agreement; Case 8:17-cv-00838-JLS-JDE Document 112-2 Filed 10/10/19 ¶ II.E.2. Inconvenience
 Due to Repair Delays. See Exhibit C.
 93
    Total payment of $103,000 equals the Cash option total of $89,500 plus the Service card option totals $13,500.
 94
    As provided for in the Settlement Agreement and discussed in detail in paragraph 30 above.
 95
    As provided for in the Settlement Agreement and discussed in detail in paragraph 32 above.
 96
    Declaration of Adam Gonnelli In Support of Final Approval of Class Settlement ¶ 22. See Exhibit D.

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         total claims, we took the value of actual claims received, as discussed above and
         calculated on Schedule 5, as of September 20, 2020, and calculated the percentage of total
         claims made for each repair category. We used these percentages to estimate the total
         number of claims by repair category as of April 12, 2020. We then multiplied the
         estimated number of claims by the actual average claim amount at September 20, 2020, by
         category, to calculate the total value of the claims as of April 12, 2020 of $95,559,720.
         See Schedule 5.

          G.      Cost of Administration and Notice

      64. HMA and KMA shall be responsible for all costs of Class notice and settlement
          administration. In no event shall Plaintiff’s Counsel or the Class be responsible for any
          costs associated with Class notice or settlement administration.97 The cost of
          administration and notice has not been calculated.

 VI.      Conclusion
      65. As outlined in the Summary Table above, the total value of benefits provided to the Class
          under the Settlement Agreement based on the work completed as of October 16, 2020
          totals $1,305,608,759.

      66. The opinions expressed in this report are based on the information reviewed to date. When
          further information becomes available and reviewed, I reserve my right to amend, revise
          and finalize my report and opinions accordingly.

      67. I declare the foregoing to all be correct and true to the best of my knowledge. Executed
          on the 16th day of October 2020, at Fresno, CA.




                                                  ____________________________
                                                  Susan K. Thompson, CPA/CFF




 97
  Settlement Agreement; Case 8:17-cv-00838-JLS-JDE Document 112-2 Filed 10/10/19 ¶ II.I.1. Cost of
 Administration and Notice. See Exhibit C.

 Expert Report of Susan K. Thompson, CPA/CFF                                                   Page 21 of 21
In re: Hyundai and Kia Engine Litigation
Schedule 1
Summary of the Settlement Agreement Value by Make (As of September 2020)



                                                                                                                                                                                                       Total
                                                                 Percentage of                   Lifetime                   Diagnostic          KSDS Installation         Additional Claim      Lifetime Warranty
                            No. of       No. of Vehicles         Class Vehicles                 Warranty                    Inspection           (Class Vehicles          Reimbursements       Diagnostic and Claim
                            Class         that Received        that Received the           (Class Vehicles with           (25% of Class            with KSDS               (Actual Claims        Reimbursements
 Make                     Vehicles       KSDS Update             KSDS Update                 KSDS Update)                    Vehicles)              Installed)               Received)
                            [a]                   [b]                    [c] = [b] / [a]              [d]                        [e]                      [f]                   [g]                [i] = [d]+ [e]+[f] +[g]
 1. Hyundai             2,228,085             1,659,338                      74.47%                  $403,364,866               $31,807,659            $64,505,448               $12,885,652              $512,563,625
 2. Kia                 1,728,483             1,264,871                      73.18%                   286,347,493                32,789,964             43,638,050                14,230,977               377,006,484
 Total                  3,956,568             2,924,209                      73.91%                  $689,712,359               $64,597,623           $108,143,498               $27,116,629              $889,570,109




Notes, Sources and Assumptions:
- Claim information as of September 16,2020 for Huyndai and September 21,2020 for Kia.
- Number of Class Vehicles and Class Vehicles with KSDS installed calculated on Schedule 7 and Schedule 8.
- Lifetime Warranty Value calculated for Class Vehicles at 10% of the Average Powertrain MSRP for Class Vehicles that have received the KSDS update. See Schedule 2.
                                                                                                                                                                                                                                                                 #:4648




- Diagnostic Inspection calculated based on Class Vehicles, less the 227,000 multiplied by 25%, As 227,000 Class Vehicles were covered under previous recalls
   at II.B.4 and Kia estimates a response rate of 25%-35%. Per Counsels direction 25% was used to value the Diagnostic Inspection calculated at Schedule 3.
- KSDS Installation value calculated for Class Vehicles with KSDS already installed as of September 16,2020 for Huyndai and September 21,2020 for Kia. See Schedule 3a.
- Additional Claim Reimbursements set forth in the Settlement Agreement are calculated on Schedule 4 for Hyundai Class Vehicles and Schedule 5 for Kia Class Vehicles.
   For actual claims received through September 16,2020 for Huyndai and September 21,2020 for Kia.
                                                                                                                                                                                                                             Case 8:17-cv-00838-JLS-JDE Document 145-2 Filed 10/19/20 Page 22 of 188 Page ID




Expert Report of Susan K. Thompson, CPA/CFF
In re: Hyundai and Kia Engine Litigation
Schedule 1a
Summary of the Settlement Agreement Value by Make Projected through April 12, 2021



                                                                                                                                                                                                       Total
                                                                  Percentage of                                              Diagnostic                                   Additional Claim      Lifetime Warranty
                             No. of        No. of Vehicles        Class Vehicles                  Lifetime                   Inspection          KSDS Installation         Reimbursements      Diagnostic and Claim
                             Class          that Received       that Received the                Warranty                  (25% of Class            (All Class            (Projected Claims      Reimbursements
 Make                      Vehicles        KSDS Update            KSDS Update               (All Class Vehicles )             Vehicles)             Vehicles)            Through 4/12/2021)
                            [a]                    [b]                    [c] = [b] / [a]             [d]                         [e]                      [f]                  [g]                [i] = [d]+ [e]+[f] +[g]
 1. Hyundai             2,228,085              1,659,338                        74.47%                $541,647,464              $31,807,659             $86,615,052              $66,264,226              $726,334,401
 2. Kia                 1,728,483              1,264,871                        73.18%                 391,292,010               32,789,964              59,632,664               95,559,720               579,274,358
 Total                  3,956,568              2,924,209                        73.91%                $932,939,474              $64,597,623            $146,247,716             $161,823,946            $1,305,608,759




Notes, Sources and Assumptions:
- Claim information projected for all Class Vehicles through April 12, 2021.
- Number of Class Vehicles and Class Vehicles with KSDS installed calculated on Schedule 7 and Schedule 8.
- Lifetime Warranty Value calculated at 10% of the Average Powertrain MSRP for all Class Vehicles. See Schedule 2.
                                                                                                                                                                                                                                                                 #:4649




- Diagnostic Inspection calculated based on Class Vehicles, less the 227,000 multiplied by 25%, As 227,000 Class Vehicles were covered under previous recalls
   at II.B.4. will obtain the Free Diagnostic Inspection. Kia estimates a response rate of 25%-35%. Per Counsels' direction 25% was used to value the Diagnostic
   Inspection, calcualted on Schedule 3.
- KSDS Installation value calculated for all Class Vehicles. See Schedule 3a.
- Additional Claim Reimbursements set forth in the Settlement Agreement are calculated on Schedule 4 for Hyundai Class Vehicles and Schedule 5 for Kia Class Vehicles.
                                                                                                                                                                                                                             Case 8:17-cv-00838-JLS-JDE Document 145-2 Filed 10/19/20 Page 23 of 188 Page ID




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In re: Hyundai and Kia Engine Litigation
Schedule 2
Lifetime Warranty Value Calculation Hyundai and Kia Estimate

                                                                             Lifetime Warranty
                                                                             Est. Warranty
                                                                              Value Short    Percentage
                                                                Approx.           Block       of Class  Warranty Value
             Model                                             No of Class     Assembly       Vehicles  (Class Vehicles  Warranty Value
             Year       Make      Model                         Vehicles     (per Vehicle)   with KSDS   with KSDS)     (All Class Vehicles)
                                                                                                                   [d] =
                                                                     [a]             [b]            [c]       [a] x [b] x [c]         [e] = [a] x [b]
 Hyundai
 2011 - Hyundai
             2011
                - Sonata Hyundai Sonata                           268,106    $        243        74.47%   $     48,536,991          $65,176,569
 2012 - Hyundai
             2012
                - Sonata Hyundai Sonata                           165,361             243        74.47%         29,936,388           40,199,259
 2013 - Hyundai
             2013
                - Sonata Hyundai Sonata                           265,644             243        74.47%         48,091,279           64,578,056
 2014 - Hyundai
             2014
                - Sonata Hyundai Sonata                           122,502             243        74.47%         22,177,342           29,780,236
 2015 - Hyundai
             2015
                - Sonata Hyundai Sonata                           216,776    T        243        74.47%         39,244,383           52,698,246
 2016 - Hyundai
             2016
                - Sonata Hyundai Sonata                           151,020             243        74.47%         27,340,143           36,712,962
 2017 - Hyundai
             2017
                - Sonata Hyundai Sonata                           138,480    e        243        74.47%         25,069,944           33,664,488
 2018 - Hyundai
             2018
                - Sonata Hyundai Sonata                           113,296             243        74.47%         20,510,719           27,542,258
 2019 - Hyundai
             2019
                - Sonata Hyundai Sonata                            81,775
                                                                             xt       243        74.47%         14,804,266           19,879,503
                       2011-2019 Hyundai Sonata                 1,522,960                                 $    275,711,455      $   370,231,576

 2013 - Hyundai
             2013
                - Santa Fe
                         Hyundai Santa Fe Sport                    84,583    $        243        74.47%   $     15,312,616          $20,562,127
 2014 - Hyundai
             2014
                - Santa Fe
                         Hyundai Santa Fe Sport                    74,341             243        74.47%         13,458,440           18,072,297
 2015 - Hyundai
             2015
                - Santa Fe
                         Hyundai Santa Fe Sport                    50,057             243        74.47%          9,062,148           12,168,857
 2016 - Hyundai
             2016
                - Santa Fe
                         Hyundai Santa Fe Sport                    52,324             243        74.47%          9,472,557           12,719,964
 2017 - Hyundai
             2017
                - Santa Fe
                         Hyundai Santa Fe Sport                   131,170             243        74.47%         23,746,567           31,887,427
 2018 - Hyundai
             2018
                - Santa Fe
                         Hyundai Santa Fe Sport                    97,165             243        74.47%         17,590,418           23,620,812
 2019 - Hyundai
             2019
                - Santa Fe
                         Hyundai Santa Fe Sport                   107,453             243        74.47%         19,452,923           26,121,824
                       2013-2019 Hyundai Santa Fe Sport           597,093                                 $    108,095,669      $   145,153,308
                                                                                                                                                                                        #:4650




 2014 - Hyundai
             2014
                - TucsonHyundai Tucson                             28,295    $        243        74.47%   $       5,122,430     $     6,878,515
 2015 - Hyundai
             2015
                - TucsonHyundai Tucson                             27,824             243        74.47%           5,037,162           6,764,014
 2018 - Hyundai
             2018
                - TucsonHyundai Tucson                              6,852             243        74.47%           1,240,463           1,665,721
 2019 - Hyundai
             2019
                - TucsonHyundai Tucson                             45,061             243        74.47%           8,157,689          10,954,329
                       2014-2015 & 2018-2019 Hyundai Tucson       108,032                                 $      19,557,743     $    26,262,579

          Subtotal: Hyundai                                     2,228,085                                 $    403,364,866      $   541,647,464

 Kia
 2011 - Kia - Optima
               2011     Kia       Optima                           56,910    $        232        73.18%   $      9,666,208      $    13,208,811
 2012 - Kia - Optima
               2012     Kia       Optima                           88,889             232        73.18%         15,097,866           20,631,137
 2013 - Kia - Optima
               2013     Kia       Optima                          179,024             232        73.18%         30,407,366           41,551,470
 2014 - Kia - Optima
               2014     Kia       Optima                           92,517             232        73.18%         15,714,085           21,473,196
 2015 - Kia - Optima
               2015     Kia       Optima                          198,897             232        73.18%         33,782,811           46,163,994
 2016 - Kia - Optima
               2016     Kia       Optima                          113,348             232        73.18%         19,252,246           26,308,071
 2017 - Kia - Optima
               2017     Kia       Optima                           51,744             232        73.18%          8,788,759           12,009,782
 2018 - Kia - Optima
               2018     Kia       Optima                           87,174             232        73.18%         14,806,572           20,233,085
 2019 - Kia - Optima
               2019     Kia       Optima                           64,361             232        73.18%         10,931,766           14,938,188
                       20111-2019 Kia Optima                      932,864                                 $    158,447,678      $   216,517,734
                                                                                                                                                    Case 8:17-cv-00838-JLS-JDE Document 145-2 Filed 10/19/20 Page 24 of 188 Page ID




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                                            #:4651

In re: Hyundai and Kia Engine Litigation
Schedule 2
Lifetime Warranty Value Calculation Hyundai and Kia Estimate

                                                                                      Lifetime Warranty
                                                                                      Est. Warranty
                                                                                       Value Short      Percentage
                                                                      Approx.              Block         of Class  Warranty Value
              Model                                                  No of Class        Assembly         Vehicles  (Class Vehicles  Warranty Value
              Year         Make      Model                            Vehicles        (per Vehicle)     with KSDS   with KSDS)     (All Class Vehicles)
                                                                                                                                [d] =
                                                                           [a]                 [b]             [c]         [a] x [b] x [c]          [e] = [a] x [b]
 2011 - Kia - Sorento
               2011       Kia       Sorento                                 -          $        232        73.18%      $             -       $           -
 2012 - Kia - Sorento
               2012       Kia       Sorento                              43,763                 232        73.18%              7,433,180          10,157,392
 2013 - Kia - Sorento
               2013       Kia       Sorento                              40,683                 232        73.18%              6,910,039           9,442,524
 2014 - Kia - Sorento
               2014       Kia       Sorento                              67,492                 232        73.18%             11,463,569          15,664,893
 2015 - Kia - Sorento
               2015       Kia       Sorento                              57,646                 232        73.18%              9,791,218          13,379,637
 2016 - Kia - Sorento
               2016       Kia       Sorento                              85,160                 232        73.18%             14,464,492          19,765,636
 2017 - Kia - Sorento
               2017       Kia       Sorento                              63,113                 232        73.18%             10,719,792          14,648,527
 2018 - Kia - Sorento
               2018       Kia       Sorento                              34,586                 232        73.18%              5,874,459           8,027,411
 2019 - Kia - Sorento
               2019       Kia       Sorento                              52,506                 232        73.18%              8,918,185          12,186,643
                         2011-2019 Kia Sorento                          444,949                                       $       75,574,935     $   103,272,663

 2011 - Kia - Sportage
               2011       Kia       Sportage                              3,031        $        204        73.18%      $         452,268     $       618,021
 2012 - Kia - Sportage
               2012       Kia       Sportage                              2,115                 204        73.18%                315,588             431,249
 2013 - Kia - Sportage
               2013       Kia       Sportage                              2,491                 204        73.18%                371,692             507,915
 2014 - Kia - Sportage
               2014       Kia       Sportage                             30,838                 204        73.18%              4,601,462           6,287,868
 2015 - Kia - Sportage
               2015       Kia       Sportage                             39,981                 204        73.18%              5,965,726           8,152,126
 2016 - Kia - Sportage
               2016       Kia       Sportage                             42,730                 204        73.18%              6,375,915           8,712,647
 2017 - Kia - Sportage
               2017       Kia       Sportage                             99,526                 204        73.18%             14,850,675          20,293,351
 2018 - Kia - Sportage
               2018       Kia       Sportage                             67,389                 204        73.18%             10,055,384          13,740,617
 2019 - Kia - Sportage
               2019       Kia       Sportage                             62,569                 204        73.18%              9,336,172          12,757,819
                         20111-2019 Kia Sportage                        350,670                                       $       52,324,880     $    71,501,613

           Subtotal: Kia                                              1,728,483                                       $     286,347,493      $   391,292,010

           Total: Hyundai & Kia                                       3,956,568                                       $     689,712,359      $   932,939,474

Notes and Sources:
- Vehicle counts by model year, make and model are determined at Schedule 7 and Schedule 8.
- Estimated value of the Lifetime Warranty calculated on Schedule 6 at 10% of the MSRP for the Powertrain Warranty.
- Percentage of Vehicles that have received the KSDS update based on Class Vehicles from Schedule 7 and Schedule 8 and :
  The number of Class Vehicles that received the KSDS update per Declaration of Adam Gonnelli In Support of Final Approval of Class Settlement par 18,19.
  (Exhibit D).
                 [a]                               [b]                 [c] = [b]/[a]
           Class Vehicle's               Received KSDS update               %
  Hyundai 2,228,085                                    1,659,338            74.47%
  Kia         1,728,483                                1,264,871            73.18%




Expert Report of Susan K. Thompson, CPA/CFF
In re: Hyundai and Kia Engine Litigation
Schedule 2a
Lifetime Warranty Value Calculation (HM Calculation)

                                                                            Lifetime Warranty
                                                                            Est. Warranty
                                                                             Value Short    Percentage
                                                               Approx.           Block       of Class  Warranty Value
             Model                                            No of Class     Assembly       Vehicles  (Class Vehicles  Warranty Value
             Year       Make      Model                        Vehicles     (per Vehicle)   with KSDS   with KSDS)     (All Class Vehicles)
                                                                                                                  [d] =
                                                                    [a]             [b]            [c]       [a] x [b] x [c]         [e] = [a] x [b]
 Hyundai
 2011 - Hyundai
             2011
                - Sonata Hyundai Sonata                          268,106    $        295        74.47%   $     58,975,687          $79,193,887
 2012 - Hyundai
             2012
                - Sonata Hyundai Sonata                          165,361             295        74.47%         36,374,712           48,844,786
 2013 - Hyundai
             2013
                - Sonata Hyundai Sonata                          265,644             295        74.47%         58,434,117           78,466,654
 2014 - Hyundai
             2014
                - Sonata Hyundai Sonata                          122,502             295        74.47%         26,946,952           36,184,977
 2015 - Hyundai
             2015
                - Sonata Hyundai Sonata                          216,776             295        74.47%         47,684,549           64,031,890
 2016 - Hyundai
             2016
                - Sonata Hyundai Sonata                          151,020             295        74.47%         33,220,101           44,608,702
 2017 - Hyundai
             2017
                - Sonata Hyundai Sonata                          138,480             295        74.47%         30,461,658           40,904,603
 2018 - Hyundai
             2018
                - Sonata Hyundai Sonata                          113,296             295        74.47%         24,921,895           33,465,684
 2019 - Hyundai
             2019
                - Sonata Hyundai Sonata                           81,775             295        74.47%         17,988,172           24,154,924
                       2011-2019 Hyundai Sonata                1,522,960                                 $    335,007,843      $   449,856,107

 2013 - Hyundai
             2013
                - Santa Fe
                         Hyundai Santa Fe Sport                   84,583    $        295        74.47%   $     18,605,852          $24,984,359
 2014 - Hyundai
             2014
                - Santa Fe
                         Hyundai Santa Fe Sport                   74,341             295        74.47%         16,352,904           21,959,049
 2015 - Hyundai
             2015
                - Santa Fe
                         Hyundai Santa Fe Sport                   50,057             295        74.47%         11,011,115           14,785,974
 2016 - Hyundai
             2016
                - Santa Fe
                         Hyundai Santa Fe Sport                   52,324             295        74.47%         11,509,790           15,455,607
 2017 - Hyundai
             2017
                - Santa Fe
                         Hyundai Santa Fe Sport                  131,170             295        74.47%         28,853,666           38,745,355
 2018 - Hyundai
             2018
                - Santa Fe
                         Hyundai Santa Fe Sport                   97,165             295        74.47%         21,373,534           28,700,865
 2019 - Hyundai
             2019
                - Santa Fe
                         Hyundai Santa Fe Sport                  107,453             295        74.47%         23,636,601           31,739,762
                       2013-2019 Hyundai Santa Fe Sport          597,093                                 $    131,343,461      $   176,370,970
                                                                                                                                                                                       #:4652




 2014 - Hyundai
             2014
                - TucsonHyundai Tucson                            28,295    $        295        74.47%   $       6,224,094     $     8,357,855
 2015 - Hyundai
             2015
                - TucsonHyundai Tucson                            27,824             295        74.47%           6,120,488           8,218,730
 2018 - Hyundai
             2018
                - TucsonHyundai Tucson                             6,852             295        74.47%           1,507,245           2,023,963
 2019 - Hyundai
             2019
                - TucsonHyundai Tucson                            45,061             295        74.47%           9,912,137          13,310,242
                       2014-2015 & 2018-2019 Hyundai Tucson      108,032                                 $      23,763,964     $    31,910,789

          Subtotal: Hyundai                                    2,228,085                                 $    490,115,269      $   658,137,866

 Kia
 2011 - Kia - Optima
               2011     Kia       Optima                          56,910    $        282        73.18%   $     11,745,089      $    16,049,588
 2012 - Kia - Optima
               2012     Kia       Optima                          88,889             282        73.18%         18,344,916           25,068,210
 2013 - Kia - Optima
               2013     Kia       Optima                         179,024             282        73.18%         36,946,982           50,487,813
 2014 - Kia - Optima
               2014     Kia       Optima                          92,517             282        73.18%         19,093,663           26,091,368
 2015 - Kia - Optima
               2015     Kia       Optima                         198,897             282        73.18%         41,048,373           56,092,337
 2016 - Kia - Optima
               2016     Kia       Optima                         113,348             282        73.18%         23,392,766           31,966,064
 2017 - Kia - Optima
               2017     Kia       Optima                          51,744             282        73.18%         10,678,929           14,592,688
 2018 - Kia - Optima
               2018     Kia       Optima                          87,174             282        73.18%         17,990,974           24,584,551
 2019 - Kia - Optima
               2019     Kia       Optima                          64,361             282        73.18%         13,282,826           18,150,897
                       20111-2019 Kia Optima                     932,864                                 $    192,524,518      $   263,083,517
                                                                                                                                                   Case 8:17-cv-00838-JLS-JDE Document 145-2 Filed 10/19/20 Page 26 of 188 Page ID




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In re: Hyundai and Kia Engine Litigation
Schedule 2a
Lifetime Warranty Value Calculation (HM Calculation)

                                                                                      Lifetime Warranty
                                                                                      Est. Warranty
                                                                                       Value Short      Percentage
                                                                      Approx.              Block         of Class  Warranty Value
              Model                                                  No of Class        Assembly         Vehicles  (Class Vehicles  Warranty Value
              Year         Make      Model                            Vehicles        (per Vehicle)     with KSDS   with KSDS)     (All Class Vehicles)
                                                                                                                                [d] =
                                                                           [a]                 [b]             [c]         [a] x [b] x [c]           [e] = [a] x [b]
 2011 - Kia - Sorento
               2011       Kia       Sorento                                 -          $        282        73.18%      $             -       $            -
 2012 - Kia - Sorento
               2012       Kia       Sorento                              43,763                 282        73.18%              9,031,810           12,341,910
 2013 - Kia - Sorento
               2013       Kia       Sorento                              40,683                 282        73.18%              8,396,160           11,473,298
 2014 - Kia - Sorento
               2014       Kia       Sorento                              67,492                 282        73.18%             13,929,002           19,033,892
 2015 - Kia - Sorento
               2015       Kia       Sorento                              57,646                 282        73.18%             11,896,984           16,257,153
 2016 - Kia - Sorento
               2016       Kia       Sorento                              85,160                 282        73.18%             17,575,325           24,016,569
 2017 - Kia - Sorento
               2017       Kia       Sorento                              63,113                 282        73.18%             13,025,264           17,798,940
 2018 - Kia - Sorento
               2018       Kia       Sorento                              34,586                 282        73.18%              7,137,860            9,753,840
 2019 - Kia - Sorento
               2019       Kia       Sorento                              52,506                 282        73.18%             10,836,191           14,807,585
                         2011-2019 Kia Sorento                          444,949                                       $       91,828,596     $    125,483,187

 2011 - Kia - Sportage
               2011       Kia       Sportage                              3,031        $        248        73.18%      $         549,535     $        750,937
 2012 - Kia - Sportage
               2012       Kia       Sportage                              2,115                 248        73.18%                383,460              523,996
 2013 - Kia - Sportage
               2013       Kia       Sportage                              2,491                 248        73.18%                451,631              617,151
 2014 - Kia - Sportage
               2014       Kia       Sportage                             30,838                 248        73.18%              5,591,084            7,640,180
 2015 - Kia - Sportage
               2015       Kia       Sportage                             39,981                 248        73.18%              7,248,755            9,905,378
 2016 - Kia - Sportage
               2016       Kia       Sportage                             42,730                 248        73.18%              7,747,163           10,586,448
 2017 - Kia - Sportage
               2017       Kia       Sportage                             99,526                 248        73.18%             18,044,562           24,657,778
 2018 - Kia - Sportage
               2018       Kia       Sportage                             67,389                 248        73.18%             12,217,963           16,695,768
 2019 - Kia - Sportage
               2019       Kia       Sportage                             62,569                 248        73.18%             11,344,073           15,501,603
                         20111-2019 Kia Sportage                        350,670                                       $       63,578,226     $     86,879,238
                                                                                                                                                                                                       #:4653




           Subtotal: Kia                                              1,728,483                                       $     347,931,340      $    475,445,942

           Total: Hyundai & Kia                                       3,956,568                                       $     838,046,609      $   1,133,583,808

Notes and Sources:
- Vehicle counts by model year, make and model are determined at Schedule 7 and Schedule 8.
- Estimated value of the Lifetime Warranty calculated on Schedule 6a. Calculation estimates 12% of the MSRP of the Powertrain Warranty.
- Percentage of Vehicles that have received the KSDS update based on Class Vehicles from Schedule 7 and Schedule 8 and :
  The number of Class Vehicles that received the KSDS update per Declaration of Adam Gonnelli In Support of Final Approval of Class Settlement par 18,19.
  (Exhibit D)
                 [a]                               [b]                [c] = [b]/[a]
           Class Vehicle's               Received KSDS update              %
  Hyundai 2,228,085                                    1,659,338           74.47%
  Kia         1,728,483                                1,264,871           73.18%
                                                                                                                                                                   Case 8:17-cv-00838-JLS-JDE Document 145-2 Filed 10/19/20 Page 27 of 188 Page ID




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In re: Hyundai and Kia Engine Litigation
Schedule 3
Diagnostic Inspection Calculations
                                                                  Diagnostic

                                                                          Less        Class
                                                                         Vehicles    Vehicles
                                                                         Already Eligible for                       Value      Value for
      Model                                         Total Class         Inspected Diagnostic                      Diagnostic 25% of Class
      Year     Make      Model                       Vehicles          per (II.B.4) Inspection     Hrs     Rate   Inspection   Vehicles

                                                                                          [c] =                       [f] =
                                                          [a]                  [b]       [a]-[b]   [d]     [e]      [d]x[e]    [g] = [c] x 25% x [f]
 Hyundai
 2011 -2011
        HyundaiHyundai
               - Sonata Sonata                         268,106             15,382        252,724     0.5   $120          $60   $ 3,790,860
 2012 -2012
        HyundaiHyundai
               - Sonata Sonata                         165,361              9,487        155,874     0.5   $120          $60   $ 2,338,110
 2013 -2013
        HyundaiHyundai
               - Sonata Sonata                         265,644             15,242        250,402     0.5   $120          $60   $ 3,756,030
 2014 -2014
        HyundaiHyundai
               - Sonata Sonata                         122,502              7,028        115,474     0.5   $120          $60   $ 1,732,110
 2015 -2015
        HyundaiHyundai
               - Sonata Sonata                         216,776             12,437        204,339     0.5   $120          $60   $ 3,065,085
 2016 -2016
        HyundaiHyundai
               - Sonata Sonata                         151,020              8,664        142,356     0.5   $120          $60   $ 2,135,340
 2017 -2017
        HyundaiHyundai
               - Sonata Sonata                         138,480              7,945        130,535     0.5   $120          $60   $ 1,958,025
 2018 -2018
        HyundaiHyundai
               - Sonata Sonata                         113,296              6,500        106,796     0.5   $120          $60   $ 1,601,940
 2019 -2019
        HyundaiHyundai
               - Sonata Sonata                          81,775              4,692         77,083     0.5   $120          $60   $ 1,156,245
             2011-2019 Hyundai Sonata                1,522,960             87,377      1,435,583                                $21,533,745

 2013 -2013
        HyundaiHyundai
               - Santa Fe Santa Fe Sport                84,583              4,853        79,730      0.5   $120          $60   $    1,195,950
 2014 -2014
        HyundaiHyundai
               - Santa Fe Santa Fe Sport                74,341              4,265        70,076      0.5   $120          $60   $    1,051,140
 2015 -2015
        HyundaiHyundai
               - Santa Fe Santa Fe Sport                50,057              2,872        47,185      0.5   $120          $60   $      707,775
 2016 -2016
        HyundaiHyundai
               - Santa Fe Santa Fe Sport                52,324              3,002        49,322      0.5   $120          $60   $      739,830
 2017 -2017
        HyundaiHyundai
               - Santa Fe Santa Fe Sport               131,170              7,526       123,644      0.5   $120          $60   $    1,854,660
 2018 -2018
        HyundaiHyundai
               - Santa Fe Santa Fe Sport                97,165              5,575        91,590      0.5   $120          $60   $    1,373,850
 2019 -2019
        HyundaiHyundai
               - Santa Fe Santa Fe Sport               107,453              6,165       101,288      0.6   $120          $72   $    1,823,184
             2013-2019 Hyundai Santa Fe Sport          597,093             34,258       562,835                                    $8,746,389

 2014 -2014
        HyundaiHyundai
               - Tucson Tucson                          28,295                 1,623     26,672      0.5   $120          $60   $      400,080
 2015 -2015
        HyundaiHyundai
               - Tucson Tucson                          27,824                 1,596     26,228      0.5   $120          $60   $      393,420
 2018 -2018
        HyundaiHyundai
               - Tucson Tucson                           6,852                   393      6,459      0.5   $120          $60   $       96,885
 2019 -2019
        HyundaiHyundai
               - Tucson Tucson                          45,061                 2,585     42,476      0.5   $120          $60   $      637,140
             2014-2015 & 2018-2019 Hyundai Tucson      108,032                 6,197    101,835                                    $1,527,525

     Subtotal: Hyundai                               2,228,085            127,832      2,100,253                                 $31,807,659


 Kia
 2011 -2011
        Kia - Optima
                Kia       Optima                        56,910              3,265        53,645      0.7   $115          $81   $ 1,079,606
 2012 -2012
        Kia - Optima
                Kia       Optima                        88,889              5,100        83,789      0.7   $115          $81   $ 1,686,254
 2013 -2013
        Kia - Optima
                Kia       Optima                       179,024             10,271       168,753      0.7   $115          $81   $ 3,396,154
 2014 -2014
        Kia - Optima
                Kia       Optima                        92,517              5,308        87,209      0.7   $115          $81   $ 1,755,081
 2015 -2015
        Kia - Optima
                Kia       Optima                       198,897             11,411       187,486      0.7   $115          $81   $ 3,773,156
 2016 -2016
        Kia - Optima
                Kia       Optima                       113,348              6,503       106,845      0.7   $115          $81   $ 2,150,256
 2017 -2017
        Kia - Optima
                Kia       Optima                        51,744              2,969        48,775      0.7   $115          $81   $    981,597
 2018 -2018
        Kia - Optima
                Kia       Optima                        87,174              5,001        82,173      0.7   $115          $81   $ 1,653,732
 2019 -2019
        Kia - Optima
                Kia       Optima                        64,361              3,693        60,668      0.7   $115          $81   $ 1,220,944
               20111-2019 Kia Optima                   932,864             53,521       879,343                                 $17,696,778




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In re: Hyundai and Kia Engine Litigation
Schedule 3
Diagnostic Inspection Calculations
                                                                           Diagnostic

                                                                                    Less        Class
                                                                                   Vehicles    Vehicles
                                                                                   Already Eligible for                        Value      Value for
      Model                                                  Total Class          Inspected Diagnostic                       Diagnostic 25% of Class
      Year       Make       Model                             Vehicles           per (II.B.4) Inspection     Hrs     Rate    Inspection   Vehicles

                                                                                                   [c] =                          [f] =
                                                                    [a]                 [b]       [a]-[b]    [d]      [e]       [d]x[e]    [g] = [c] x 25% x [f]
 2011 -2011
        Kia - Sorento
                Kia       Sorento                                    -                  -            -         0.7    $115           $81   $           -
 2012 -2012
        Kia - Sorento
                Kia       Sorento                                 43,763              2,511       41,252       0.7    $115           $81   $       830,197
 2013 -2013
        Kia - Sorento
                Kia       Sorento                                 40,683              2,334       38,349       0.7    $115           $81   $       771,774
 2014 -2014
        Kia - Sorento
                Kia       Sorento                                 67,492              3,872       63,620       0.7    $115           $81   $     1,280,353
 2015 -2015
        Kia - Sorento
                Kia       Sorento                                 57,646              3,307       54,339       0.7    $115           $81   $     1,093,572
 2016 -2016
        Kia - Sorento
                Kia       Sorento                                 85,160              4,886       80,274       0.7    $115           $81   $     1,615,514
 2017 -2017
        Kia - Sorento
                Kia       Sorento                                 63,113              3,621       59,492       0.7    $115           $81   $     1,197,277
 2018 -2018
        Kia - Sorento
                Kia       Sorento                                 34,586              1,984       32,602       0.7    $115           $81   $       656,115
 2019 -2019
        Kia - Sorento
                Kia       Sorento                                 52,506              3,012       49,494       0.7    $115           $81   $       996,067
               2011-2019 Kia Sorento                             444,949             25,527      419,422                                         8,440,868

 2011 -2011
        Kia - Sportage
                Kia       Sportage                                 3,031                174        2,857       0.7    $115           $81   $     57,497
 2012 -2012
        Kia - Sportage
                Kia       Sportage                                 2,115                121        1,994       0.7    $115           $81   $     40,129
 2013 -2013
        Kia - Sportage
                Kia       Sportage                                 2,491                143        2,348       0.7    $115           $81   $     47,254
 2014 -2014
        Kia - Sportage
                Kia       Sportage                                30,838              1,769       29,069       0.7    $115           $81   $    585,014
 2015 -2015
        Kia - Sportage
                Kia       Sportage                                39,981              2,294       37,687       0.7    $115           $81   $    758,451
 2016 -2016
        Kia - Sportage
                Kia       Sportage                                42,730              2,452       40,278       0.7    $115           $81   $    810,595
 2017 -2017
        Kia - Sportage
                Kia       Sportage                                99,526              5,711       93,815       0.7    $115           $81   $ 1,888,027
 2018 -2018
        Kia - Sportage
                Kia       Sportage                                67,389              3,866       63,523       0.7    $115           $81   $ 1,278,400
 2019 -2019
        Kia - Sportage
                Kia       Sportage                                62,569              3,590       58,979       0.7    $115           $81   $ 1,186,952
               20111-2019 Kia Sportage                           350,670             20,120      330,550                                     $6,652,319

     Subtotal: Kia                                             1,728,483             99,168    1,629,315                                     $32,789,964


     Total: Hyundai & Kia                                      3,956,568            227,000    3,729,568                                     $64,597,623



Notes and Sources:
- Vehicle counts by model year, make and model are determined at Schedule 7 and Schedule 8.
- Per the Settlement Agreement (Exhibit C) at II.B.4 approximately 227,000 vehicles were covered under previous recalls. The 227,000 vehicles have been
  allocated across all Class Vehicles based on each model and model years percentage of the Total Class.
- Kia estimates a recall response rate of approximately 25-35% depending on the recall and age of the vehicles. The lower rate of 25% was used to calculate
    the estimated value of Class Vehicles that will obtain the free Diagnostic Inspection. Declaration of Adam Gonnelli In Support of Final Approval of Class
    Settlement par. 17 (Exhibit D).
- Hours and labor rates obtained from Declaration of Adam Gonnelli In Support of Final Approval of Class Settlement par. 10-16 (Exhibit D).
- Hyundai will pay its dealers for the Free Diagnostic Inspection at .5 hours for all Class Vehicles except the 19MY Santa Fe
    for which it will pay .6 hours. (Declaration of Adam Gonnelli In Support of Final Approval of Class Settlement par. Exhibit D par. 15)
- Kia will pay .7 of an hour for the diagnostic inspection. (Declaration of Adam Gonnelli In Support of Final Approval of Class Settlement par. 16)




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In re: Hyundai and Kia Engine Litigation
Schedule 3a
KSDS Installation Calculations
                                                                 KSDS Update

                                                                 % of Class
                                                                Vehicles that  Class                                 Value             Total Value           Total
                                                                   have       Vehicles                               KSDS               for Class          Potential
      Model                                         Total Class Received the Currently                              Software          Vehicles With        Value for
      Year    Make       Model                       Vehicles KSDS Update with KSDS              Hrs         Rate   Addition              KSDS            KSDS Update


                                                         [a]         [b]       [c] = [x] x [b]   [d]         [e]    [f] = [d] x [e]     [g] = [c] x [f]       [h] = [a] x [f]
 Hyundai
 2011 -2011
        HyundaiHyundai
                - Sonata Sonata                        268,106        74.47%       199,669             0.3   $120            $36        $7,188,084          $9,651,816
 2012 -2012
        HyundaiHyundai
                - Sonata Sonata                        165,361        74.47%       123,151             0.3   $120            $36        $4,433,436           5,952,996
 2013 -2013
        HyundaiHyundai
                - Sonata Sonata                        265,644        74.47%       197,835             0.3   $120            $36        $7,122,060           9,563,184
 2014 -2014
        HyundaiHyundai
                - Sonata Sonata                        122,502        74.47%        91,232             0.3   $120            $36        $3,284,352           4,410,072
 2015 -2015
        HyundaiHyundai
                - Sonata Sonata                        216,776        74.47%       161,441             0.5   $120            $60        $9,686,460          13,006,560
 2016 -2016
        HyundaiHyundai
                - Sonata Sonata                        151,020        74.47%       112,470             0.3   $120            $36        $4,048,920           5,436,720
 2017 -2017
        HyundaiHyundai
                - Sonata Sonata                        138,480        74.47%       103,131             0.3   $120            $36        $3,712,716           4,985,280
 2018 -2018
        HyundaiHyundai
                - Sonata Sonata                        113,296        74.47%        84,376             0.3   $120            $36        $3,037,536           4,078,656
 2019 -2019
        HyundaiHyundai
                - Sonata Sonata                         81,775        74.47%        60,901             0.3   $120            $36        $2,192,436           2,943,900
             2011-2019 Hyundai Sonata                1,522,960                   1,134,206                                             $44,706,000         $60,029,184

 2013 -2013
        HyundaiHyundai
                - Santa Fe Santa Fe Sport              84,583         74.47%         62,991            0.3   $120            $36        $2,267,676          $3,044,988
 2014 -2014
        HyundaiHyundai
                - Santa Fe Santa Fe Sport              74,341         74.47%         55,365            0.3   $120            $36        $1,993,140           2,676,276
 2015 -2015
        HyundaiHyundai
                - Santa Fe Santa Fe Sport              50,057         74.47%         37,279            0.5   $120            $60        $2,236,740           3,003,420
 2016 -2016
        HyundaiHyundai
                - Santa Fe Santa Fe Sport              52,324         74.47%         38,968            0.3   $120            $36        $1,402,848           1,883,664
 2017 -2017
        HyundaiHyundai
                - Santa Fe Santa Fe Sport             131,170         74.47%         97,687            0.3   $120            $36        $3,516,732           4,722,120
 2018 -2018
        HyundaiHyundai
                - Santa Fe Santa Fe Sport              97,165         74.47%         72,362            0.3   $120            $36        $2,605,032           3,497,940
 2019 -2019
        HyundaiHyundai
                - Santa Fe Santa Fe Sport             107,453         74.47%         80,024            0.3   $120            $36        $2,880,864           3,868,308
             2013-2019 Hyundai Santa Fe Sport         597,093                       444,676                                            $16,903,032         $22,696,716

 2014 -2014
        HyundaiHyundai
                - Tucson Tucson                        28,295         74.47%          21,072           0.3   $120            $36          $758,592          $1,018,620
 2015 -2015
        HyundaiHyundai
                - Tucson Tucson                        27,824         74.47%          20,722           0.3   $120            $36          $745,992           1,001,664
 2018 -2018
        HyundaiHyundai
                - Tucson Tucson                         6,852         74.47%           5,103           0.3   $120            $36          $183,708             246,672
 2019 -2019
        HyundaiHyundai
                - Tucson Tucson                        45,061         74.47%          33,559           0.3   $120            $36        $1,208,124           1,622,196
             2014-2015 & 2018-2019 Hyundai Tucson     108,032                         80,456                                            $2,896,416          $3,889,152

     Subtotal: Hyundai                               2,228,085                   1,659,338                                             $64,505,448         $86,615,052


 Kia
 2011 -2011
        Kia - Optima
                Kia       Optima                       56,910         73.18%         41,646            0.3   $115            $35        $1,436,787          $1,963,395
 2012 -2012
        Kia - Optima
                Kia       Optima                       88,889         73.18%         65,047            0.3   $115            $35        $2,244,122           3,066,671
 2013 -2013
        Kia - Optima
                Kia       Optima                      179,024         73.18%        131,006            0.3   $115            $35        $4,519,707           6,176,328
 2014 -2014
        Kia - Optima
                Kia       Optima                       92,517         73.18%         67,702            0.3   $115            $35        $2,335,719           3,191,837
 2015 -2015
        Kia - Optima
                Kia       Optima                      198,897         73.18%        145,549            0.3   $115            $35        $5,021,441           6,861,947
 2016 -2016
        Kia - Optima
                Kia       Optima                      113,348         73.18%         82,946            0.3   $115            $35        $2,861,637           3,910,506
 2017 -2017
        Kia - Optima
                Kia       Optima                       51,744         73.18%         37,865            0.3   $115            $35        $1,306,343           1,785,168
 2018 -2018
        Kia - Optima
                Kia       Optima                       87,174         73.18%         63,792            0.3   $115            $35        $2,200,824           3,007,503
 2019 -2019
        Kia - Optima
                Kia       Optima                       64,361         73.18%         47,098            0.3   $115            $35        $1,624,881           2,220,455
               20111-2019 Kia Optima                  932,864                       682,651                                            $23,551,460         $32,183,808

 2011 -2011
        Kia - Sorento
                Kia       Sorento                         -           73.18%            -              0.3   $115            $35                $0                  $0
 2012 -2012
        Kia - Sorento
                Kia       Sorento                      43,763         73.18%         32,025            0.3   $115            $35        $1,104,863           1,509,824
 2013 -2013
        Kia - Sorento
                Kia       Sorento                      40,683         73.18%         29,771            0.3   $115            $35        $1,027,100           1,403,564
 2014 -2014
        Kia - Sorento
                Kia       Sorento                      67,492         73.18%         49,389            0.3   $115            $35        $1,703,921           2,328,474
 2015 -2015
        Kia - Sorento
                Kia       Sorento                      57,646         73.18%         42,184            0.3   $115            $35        $1,455,348           1,988,787
 2016 -2016
        Kia - Sorento
                Kia       Sorento                      85,160         73.18%         62,318            0.3   $115            $35        $2,149,971           2,938,020
 2017 -2017
        Kia - Sorento
                Kia       Sorento                      63,113         73.18%         46,185            0.3   $115            $35        $1,593,383           2,177,399
 2018 -2018
        Kia - Sorento
                Kia       Sorento                      34,586         73.18%         25,309            0.3   $115            $35          $873,161           1,193,217
 2019 -2019
        Kia - Sorento
                Kia       Sorento                      52,506         73.18%         38,423            0.3   $115            $35        $1,325,594           1,811,457
               2011-2019 Kia Sorento                  444,949                       325,604                                            $11,233,338         $15,350,741




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In re: Hyundai and Kia Engine Litigation
Schedule 3a
KSDS Installation Calculations
                                                                         KSDS Update

                                                                         % of Class
                                                                        Vehicles that  Class                                     Value             Total Value           Total
                                                                           have       Vehicles                                   KSDS               for Class          Potential
      Model                                                 Total Class Received the Currently                                  Software          Vehicles With        Value for
      Year      Make        Model                            Vehicles KSDS Update with KSDS                  Hrs         Rate   Addition              KSDS            KSDS Update


                                                                   [a]         [b]         [c] = [x] x [b]   [d]         [e]    [f] = [d] x [e]     [g] = [c] x [f]       [h] = [a] x [f]
 2011 -2011
        Kia - Sportage
                Kia       Sportage                               3,031          73.18%            2,219            0.3   $115            $35           $76,556            $104,570
 2012 -2012
        Kia - Sportage
                Kia       Sportage                               2,115          73.18%            1,549            0.3   $115            $35           $53,441              72,968
 2013 -2013
        Kia - Sportage
                Kia       Sportage                               2,491          73.18%            1,823            0.3   $115            $35           $62,894              85,940
 2014 -2014
        Kia - Sportage
                Kia       Sportage                              30,838          73.18%           22,567            0.3   $115            $35          $778,562           1,063,911
 2015 -2015
        Kia - Sportage
                Kia       Sportage                              39,981          73.18%           29,257            0.3   $115            $35        $1,009,367           1,379,345
 2016 -2016
        Kia - Sportage
                Kia       Sportage                              42,730          73.18%           31,269            0.3   $115            $35        $1,078,781           1,474,185
 2017 -2017
        Kia - Sportage
                Kia       Sportage                              99,526          73.18%           72,831            0.3   $115            $35        $2,512,670           3,433,647
 2018 -2018
        Kia - Sportage
                Kia       Sportage                              67,389          73.18%           49,314            0.3   $115            $35        $1,701,333           2,324,921
 2019 -2019
        Kia - Sportage
                Kia       Sportage                              62,569          73.18%           45,787            0.3   $115            $35        $1,579,652           2,158,631
               20111-2019 Kia Sportage                         350,670                          256,616                                             $8,853,252         $12,098,115

     Subtotal: Kia                                           1,728,483                       1,264,871             0.3   $115            $35       $43,638,050         $59,632,664


     Total: Hyundai & Kia                                    3,956,568                       2,924,209                                            $108,143,498        $146,247,716



Notes and Sources:
- Vehicle counts by model year, make and model are determined at Schedule 7 and Schedule 8.
- Per the Settlement Agreement (Exhibit C) at II.B.4 approximately 227,000 vehicles were covered under previous recalls. The 227,000 vehicles have been allocated across
   all Class Vehicles based on each model and model years percentage of the Total Class.
- Kia estimates a recall response rate of approximately 25-35% depending on the recall and age of the vehicles. The lower rate of 25% was used to calculate the estimated
   value of Class Vehicles that will obtain the free Diagnostic Inspection. Declaration of Adam Gonnelli In Support of Final Approval of Class Settlement par. 17 (Exhibit D).
- Hours and labor rates obtained from Declaration of Adam Gonnelli In Support of Final Approval of Class Settlement par. 10-16 (Exhibit D).
- Hyundai will pay its dealers .3 hours to complete the KSDS update for all Class Vehicles other than the 2015 MY Sonata
  and Santa Fe for which it will pay .5 hours. (Declaration of Adam Gonnelli In Support of Final Approval of Class Settlement par. Exhibit D par. 14)
- Kia will pay its dealers .3 hours to complete the KSDS update. (Declaration of Adam Gonnelli In Support of Final Approval of Class Settlement par. 13 Exhibit D)




Expert Report of Susan K. Thompson, CPA/CFF
In re: Hyundai and Kia Engine Litigation
Schedule 4
Additional Claim Reimbursements: Hyundai Claims

                                                                                                                                                                                          [f] = % of Total
                                                                          [a]                  [b]               [c] = [d] /[a]                    [d]             [e] = ( [a]/7 ) x 36        Claims         [g] = [c]                [h] = [e] x [g]               [i] = [h] -[d]

                                                                                       Actual Claims Received through 9/16/2020                                                     Estimated Total Claims Through April 12, 2021
                                                                                                                                                                                           % of Total
                                                                     # of Claims           % of Total    Average Claim                       Total Face Value        # of Claims           Estimated     Average Claim                 Total Value
Category                                                              Received              Claims          Amount                              Received             Estimated              Claims          Amount                      Estimated                Projected increase of
Repair Reimbursements (Hyundai)                              [A]              5,503             35.09% $           1,805                   $         9,930,952               28,299             35.09% $           1,805           $        51,069,600       $               41,138,648

Repair Reimbursements (3rd Party)                            [E]                   -                 0.00% $                      -        $                 -                      -               0.00% $               -        $                     -   $                        -

Other Repair-Related Reimbursements                          [A]                 3,108           19.82% $                         710      $         2,205,775                 15,983             19.82% $                710      $         11,343,276      $                  9,137,501

Inconvenience: Repaired Elsewhere                            [A]                 2,602           16.59% $                         140      $             364,280               13,381             16.59% $                140      $          1,873,340      $                  1,509,060

    Subtotal Repairs and Inconvenience                                          11,213                       $               2,654         $       12,501,007                  57,663                                              $         64,286,216      $                51,785,209


Inconvenience Due to Repair Delays (Cash)                    [C]                 1,147               7.31% $                          75   $              86,025                 5,898              7.31% $                   75   $             442,350     $                    356,325

Inconvenience Due to Repair Delays (Service Card)            [E]                   -                         $                    -        $                 -

Loss of Value for Sold or Traded-In Vehicles                 [B]                 1,544               9.85% $                      140      $             216,160                 7,940              9.85% $               140      $          1,111,600      $                    895,440

Loss of Vehicle by Engine Fire                               [B]                  589                3.76% $                      140      $              82,460                 3,029              3.76% $               140      $             424,060     $                    341,600

Rebate Program                                               [D]                 1,188               7.58%       Unknown                                                         6,109              7.58%     Unknown                                        $                        -

    Total Value Additional Claims                                               15,681         100.00%                                     $       12,885,652                  80,640            100.00%                                     66,264,226      $                53,378,574
                                                                                                                                                                                                                                                                                                                                #:4658




Notes and Sources:
[A] Number of Claims and Total Face Value as of 9/16/2020. (Exhibit D par. 23). The Average Claim amount was calculated by dividing the Total Face Value received by the # of Claims Received.
[B] Number of Claims obtained from Hyundai as of 9/16/2020. Declaration of Adam Gonnelli In Support of Final Approval of Class Settlement par. 23 (Exhibit D). Goodwill payment amounts of $140 obtained from
      the Settlement Agreement: II.C.6, II.F. 1., and II.G.1. (Exhibit C). Total value caculated by number of claims x $140.
[C] Number of Claims obtained from Hyundai as of 9/16/2020. Declaration of Adam Gonnelli In Support of Final Approval of Class Settlement par. 23 (Exhibit D). Average number of delay days of 114 (Exhibit D par 23),
      which equates to a goodwill payment of $75 per the Settlement Agreement II.E.2. (Exhibit C). Total value calculated by number of claims received x $75.
[D] Number of claims obtained from Declaration of Adam Gonnelli In Support of Final Approval of Class Settlement par. 23 (Exhibit D ). Value cannot be calculated at this time as it relies on the Black Book values.
[E] No information provided.

 - Estimated projected total claims received through April 12, 2021 assuming the remaining Claims will be submitted at the same frequency and type of claim as received through September 16, 2020. Estimated Total Claims of 80,640
   have been calculated by dividing the current claims of 15,681 by 7 weeks (number of weeks August 1 - September 16) multiplied by 36 weeks (number of weeks between August 1, 2020 and April 12, 2021).
    Estimated total Claims of 80,640 (15,681/7 = 2,240 a week x 36 weeks = 80,640.
                                                                                                                                                                                                                                                                                            Case 8:17-cv-00838-JLS-JDE Document 145-2 Filed 10/19/20 Page 32 of 188 Page ID




Expert Report of Susan K. Thompson, CPA/CFF
In re: Hyundai and Kia Engine Litigation
Schedule 5
Additional Claim Reimbursements: Kia Claims

                                                                                                                                                             [e] = (86,400 x % in   [f] = % of Total
                                                                            [a]                 [b]                 [c]               [d] = [a] x [c]                 [b])               Claims            [g] = [c]               [h] = [e] x [g]             [i] = [h] -[d]

                                                                                       Actual Claims Received through 9/20/2020                                              Estimated Future Claims Through April 12, 2021
                                                                                                                                                                                     % of Total
                                                                       # of Claims         % of Total    Average Claim   Total Value Amount                      # of Claims         Estimated     Average Claim                   Total Value
Category                                                                Received            Claims          Amount             Claimed                           Estimated            Claims          Amount                        Estimated              Projected increase of
Repair Reimbursements (Kia)                                   [A]               2,439           18.96% $           2,280 $         5,560,937                             16,378           18.96% $           2,280             $        37,342,004     $               31,781,067

Repair Reimbursements (3rd Party)                             [A]                  2,461          19.13% $                2,161   $          5,319,279                   16,525             19.13% $                   2,161   $         35,717,631    $                30,398,352

Other Repair-Related Reimbursements                           [A]                  2,964          23.04% $                 866    $          2,566,661                   19,903             23.04% $                    866    $         17,235,003    $                14,668,342

    Subtotal Repairs                                                               7,864                    $             5,307   $         13,446,877                   52,806                                                $         90,294,637    $                76,847,760


Inconvenience: Repaired Elsewhere                             [C]                                           $              140    $             344,540                      -                         $                140    $          2,313,500    $                  1,968,960

Inconvenience Due to Repair Delays (Cash)                     [E]                   716               5.56% $              125    $              89,500                    4,808              5.56% $                   125    $             601,000   $                    511,500

Inconvenience Due to Repair Delays (Service Card)             [E]                    72               0.56% $              188    $              13,500                      483              0.56% $                   188    $              90,563   $                        77,063

Loss of Value for Sold or Traded-In Vehicles                  [B]                  1,670          12.98% $                 140    $             233,800                  11,214             12.98% $                    140    $          1,569,960    $                  1,336,160

Loss of Vehicle by Engine Fire                                [B]                   734               5.70% $              140    $             102,760                    4,929              5.70% $                   140    $             690,060   $                    587,300

Rebate Program                                                [D]                  1,811          14.07%        Unknown                                                  12,161             14.08%         Unknown                                     $                           -

    Total Value Additional Claims                                                 12,867        100.00%                                     14,230,977                   86,400               100%                             $         95,559,720    $                81,328,743
                                                                                                                                                                                                                                                                                                                             #:4659




Notes and Sources:
[A] Number of claims, average claim amount and total claim value received obtained from Declaration of Adam Gonnelli In Support of Final Approval of Class Settlement par. 24 (Exhibit D ).
[B] Number of claims received obtained from (Exhibit D par. 24). Goodwill payment amounts of $140 obtained from the Settlement Agreement (II.F. 1, II.G.1)
[C] Inconvenience: Repaired Elsewhere calculated based on the # of claims Received or Estimated from Repair Reimbursements (3rd Party) x $140.00 goodwill payment. Settlement Agreement (II.C.6)
[D] Number of claims obtained from Declaration of Adam Gonnelli In Support of Final Approval of Class Settlement par. 24 (Exhibit D ). Value cannot be calculated at this time as it relies on the Black Book values.
[E] Total Inconvenience Due to Repair Delay Claims received was 1,490, within that are 788 claims for delays in excess of 60 days. For an average delay claim 159 days, or $125. 72 Claimants or 9.13% (72/788) are choosing
    the Service Card option (Exhibit D par 24). The Service Card option which is valued at 150% of $188 of the amount otherwise paid in a cash debit card. (Exhibit C - Settlement Agreement II.E.3)

 - Other Repair -Related Reimbursement assume to include all towing and rental car reimbursements.
 - Projected Claim information provided by EPIQ, See Declaration of Adam Gonnelli In Support of Final Approval of Class Settlement par. 22 (Exhibit D ).
 - The estimated total claims of 86,400 have been allocated to the various claim categories using the same allocation as the actual number of claims received as of 9/20/2020 (Exhibit D par 24).
                                                                                                                                                                                                                                                                                         Case 8:17-cv-00838-JLS-JDE Document 145-2 Filed 10/19/20 Page 33 of 188 Page ID




Expert Report of Susan K. Thompson, CPA/CFF
In re: Hyundai and Kia Engine Litigation
Schedule 6
Extended/Lifetime Warranty Price Hyundai and Kia Estimate


 Per the Settlement Agreement: "Lifetime Warranty" refers to the Extension of the existing Powertrain Warranty to cover the short block assembly, consisting of the engine block, crankshaft and bearings, connecting
 rods and bearings, and pistons, in those Class Vehicles owned by individual consumers that have completed the KSDS update in connection with Defendants' now-ongoing product improvement campaigns
 described herein. The Lifetime Warranty shall also apply to any damage cased to the long block assembly due to connecting rod bearing failure. (Exhibit C , 1.M "Lifetime Warranty")
                                                          [a]        [b] = Avg. of [a]      [c] = 10%         [d] = [b] x [c]


                                                                                                          Estimated Value of
                                                                                          Estimated %         Short Block
                                                                                         of Short Block        Assembly
 Estimated MSRP for Powertrain Warranty:               MSRP            Average            to Engine [1]        Warranty

 Hyundai:
 All Class Vehicles                                                         $2,431              10.00%    $                     243

 Kia
 Sorento                                           $1,333 - $3,309 $         2,321              10.00%    $                     232
 Optima                                            $1,333 - $3,309 $         2,321              10.00%    $                     232
 Sportage                                          $1,320 - $2,758 $         2,039              10.00%    $                     204




Notes and Sources:
- [1] Declaration of Adam Gonnelli In Support of Final Approval of Class Settlement par. 9 (Exhibit D ).HMA and KMA estimate the short block assembly represents
                                                                                                                                                                                                                                                            #:4660




      no less than 10% of the Powertrain Warranty Cost.
- Hyundai Powertrain Warranty information Declaration of Adam Gonnelli In Support of Final Approval of Class Settlement par. 7 (Exhibit D ).
- Kia MSRP ranges for the Powertrain Warranty Declaration of Adam Gonnelli In Support of Final Approval of Class Settlement par. 8 (Exhibit D ).
                                                                                                                                                                                                                        Case 8:17-cv-00838-JLS-JDE Document 145-2 Filed 10/19/20 Page 34 of 188 Page ID




Expert Report of Susan K. Thompson, CPA/CFF
In re: Hyundai and Kia Engine Litigation
Schedule 6a
Extended/Lifetime Warranty Price (HM Calculation)



 Per the Settlement Agreement: "Lifetime Warranty" refers to the Extension of the existing Powertrain Warranty to cover the short block assembly, consisting of the engine block, crankshaft and bearings, connecting
 rods and bearings, and pistons, in those Class Vehicles owned by individual consumers that have completed the KSDS update in connection with Defendants' now-ongoing product improvement campaigns
 described herein. The Lifetime Warranty shall also apply to any damage cased to the long block assembly due to connecting rod bearing failure. (Exhibit C , 1.M "Lifetime Warranty")

                                                                                                                                             Estimated Value of
                                                                                   Estimated % of        Est. of Engine      Estimated %         Short Block             Short Block
                                                                                  Engine Portion of       Portion of        of Short Block        Assembly            Assembly as a % of
 Estimated MSRP for Powertrain Warranty:               MSRP           Average      the Warranty [1]        Warranty          to Engine [2]        Warranty                the MSRP

 Hyundai:
 All Class Vehicles                                                      $2,431               53.16%               $1,292          22.86%     $              295                    12.15%

 Kia
 Sorento                                          $1,333 - $3,309 $       2,321               53.16%               $1,234          22.86%     $              282                    12.15%
 Optima                                           $1,333 - $3,309 $       2,321               53.16%               $1,234          22.86%     $              282                    12.15%
 Sportage                                         $1,320 - $2,758 $       2,039               53.16%               $1,084          22.86%     $              248                    12.15%




Notes and Sources:
- [1] Estimated % of Engine Portion of the Warranty is based on the average replacement value of an engine as a percentage of various items covered in the Powertrain Warranty (Exhibit I):
                                                                                                                                                                                                                                                            #:4661




  Estimated replacement cost Engine, Transmission and Drive Axle (Exhibit I):
                                                      Amount             %
  Average Engine Replacement                       $       3,500         53.16% www.bridwellautocentr.com>engine-replacement-costs February 24, 2019
  Average Transmission Replacement                 $       2,600         39.49% www.transmissionrepaircostguide.com
  Average Drive Axle Replacement                   $         484          7.35% autoservicecosts.com.cv-joint-costs
                                                   $       6,584           100%

- [2] estimated cost to replace cost of a short block as a percentage of a total engine replacement (Exhibit I)
  Average Short Block Replacement cost                 $         800         22.86% www.bridwellautocenter.com.engine-replacement costs February 24, 2019
  Average Engine Replacement                           $       3,500

- Hyundai Powertrain Warranty information Declaration of Adam Gonnelli In Support of Final Approval of Class Settlement par. 7 (Exhibit D ).
- Kia MSRP ranges for the Powertrain Warranty Declaration of Adam Gonnelli In Support of Final Approval of Class Settlement par. 8 (Exhibit D ).
                                                                                                                                                                                                                        Case 8:17-cv-00838-JLS-JDE Document 145-2 Filed 10/19/20 Page 35 of 188 Page ID




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                                       #:4662

In re: Hyundai and Kia Engine Litigation
Schedule 7
Hyundai Class Vehicles - Less Branded Title


                                                                    Est. Class         Potential
                                              No of      % of Total  Vehicles             Class
           Model                              Class        Class       with            Vehicles
            Year Make           Model        Vehicles     Vehicles branded title
        Hyundai
        Hyundai Sonata
        20112011
             - Hyundai
                   Hyundai
                       - Sonata Sonata         289,061       12.03%        (20,955)      268,106
        20122012
             - Hyundai
                   Hyundai
                       - Sonata Sonata         178,285        7.42%        (12,924)      165,361
        20132013
             - Hyundai
                   Hyundai
                       - Sonata Sonata         286,407       11.92%        (20,763)      265,644
        20142014
             - Hyundai
                   Hyundai
                       - Sonata Sonata         132,077        5.50%         (9,575)      122,502
        20152015
             - Hyundai
                   Hyundai
                       - Sonata Sonata         233,719        9.73%        (16,943)      216,776
        20162016
             - Hyundai
                   Hyundai
                       - Sonata Sonata         162,824        6.78%        (11,804)      151,020
        20172017
             - Hyundai
                   Hyundai
                       - Sonata Sonata         149,303        6.22%        (10,823)      138,480
        20182018
             - Hyundai
                   Hyundai
                       - Sonata Sonata         122,151        5.08%         (8,855)      113,296
        20192019
             - Hyundai
                   Hyundai
                       - Sonata Sonata          88,166        3.67%         (6,391)       81,775
        Total Hyundai Sonata                 1,641,993                                 1,522,960

        Hyundai Santa Fe
        20132013
             - Hyundai
                   Hyundai
                       - Santa Fe
                                Santa Fe        91,194         3.80%        (6,611)       84,583
        20142014
             - Hyundai
                   Hyundai
                       - Santa Fe
                                Santa Fe        80,151         3.34%        (5,810)       74,341
        20152015
             - Hyundai
                   Hyundai
                       - Santa Fe
                                Santa Fe        53,969         2.25%        (3,912)       50,057
        20162016
             - Hyundai
                   Hyundai
                       - Santa Fe
                                Santa Fe        56,414         2.35%        (4,090)       52,324
        20172017
             - Hyundai
                   Hyundai
                       - Santa Fe
                                Santa Fe       141,422         5.89%       (10,252)      131,170
        20182018
             - Hyundai
                   Hyundai
                       - Santa Fe
                                Santa Fe       104,759         4.36%        (7,594)       97,165
        20192019
             - Hyundai
                   Hyundai
                       - Santa Fe
                                Santa Fe       115,852         4.82%        (8,399)      107,453
        Total Hyundai Santa Fe                 643,761                                   597,093

        Hyundai Tucson
        20142014
             - Hyundai
                   Hyundai
                       - TucsonTucson           30,506         1.27%        (2,211)       28,295
        20152015
             - Hyundai
                   Hyundai
                       - TucsonTucson           29,999         1.25%        (2,175)       27,824
        20162016
             - Hyundai
                   Hyundai
                       - TucsonTucson             -            0.00%           -            -
        20172017
             - Hyundai
                   Hyundai
                       - TucsonTucson             -            0.00%           -            -
        20182018
             - Hyundai
                   Hyundai
                       - TucsonTucson            7,388         0.31%          (536)        6,852
        20192019
             - Hyundai
                   Hyundai
                       - TucsonTucson           48,583         2.02%        (3,522)       45,061
        Total Hyundai Tucson                   116,476                                   108,032

        Total Hyundai                        2,402,230                    (174,145)    2,228,085

         Received the KSDS Update                                                      1,659,338
         % Received the KSDS Update                                                      74.47%
         Class Vehicles Branded Title          174,145
         Branded/Produced                       7.25%

Notes and Assumptions:
- Number of Class Vehicles obtained from Declaration of Adam Gonnelli In Support of Final
   Approval of Class Settlement par. 6 and 21 (Exhibit D )
- The estimated branded vehicles by model and model year are allocated based on the
   model and model year's percentage of the total number of Class Vehicles.
- Class Vehicles totaling 2,402,230 provided by Hyundai have been reduced by the
   estimated number of branded vehicles of 174,145 for a net Potential number. (Exhibit D par. 6).
   of Class Vehicles used to value the Settlement Agreement of 2,228,085. (Exhibit D par. 6).
- Class Vehicles totaling 1,659,338 have received the KSDS update as of 9/16/2020. (Exhibit D par. 19).




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In re: Hyundai and Kia Engine Litigation
Schedule 8
Kia Class Vehicles - Less Branded Title


                                              No of       No of                                     Potential
                                              Class       Class       % of Total  Est. Class           Class
           Model                            Vehicles     Vehicles       Class    Vehicles with      Vehicles
           Year      Make       Model       Produced      Sold        Vehicles branded title

        Kia
        Kia Optima
        20112011
             - Kia - Optima
                     Kia        Optima          61,459       61,459        3.29%         (4,549)       56,910
        20122012
             - Kia - Optima
                     Kia        Optima          95,995       95,995        5.14%         (7,106)       88,889
        20132013
             - Kia - Optima
                     Kia        Optima         193,336      193,336       10.36%        (14,312)      179,024
        20142014
             - Kia - Optima
                     Kia        Optima          99,955       99,913        5.35%         (7,396)       92,517
        20152015
             - Kia - Optima
                     Kia        Optima         214,799      214,797       11.51%        (15,900)      198,897
        20162016
             - Kia - Optima
                     Kia        Optima         122,478      122,409        6.56%         (9,061)      113,348
        20172017
             - Kia - Optima
                     Kia        Optima          55,881       55,881        2.99%         (4,137)       51,744
        20182018
             - Kia - Optima
                     Kia        Optima          94,284       94,143        5.04%         (6,969)       87,174
        20192019
             - Kia - Optima
                     Kia        Optima          69,538       69,506        3.72%         (5,145)       64,361
        Total Kia Optima                     1,007,725    1,007,439                                   932,864

        Kia Sorento
        20112011
             - Kia - Sorento
                     Kia        Sorento           -            -           0.00%            -            -
        20122012
             - Kia - Sorento
                     Kia        Sorento         47,262       47,262        2.53%         (3,499)       43,763
        20132013
             - Kia - Sorento
                     Kia        Sorento         43,935       43,935        2.35%         (3,252)       40,683
        20142014
             - Kia - Sorento
                     Kia        Sorento         72,887       72,887        3.90%         (5,395)       67,492
        20152015
             - Kia - Sorento
                     Kia        Sorento         62,254       62,254        3.34%         (4,608)       57,646
        20162016
             - Kia - Sorento
                     Kia        Sorento         91,971       91,968        4.93%         (6,808)       85,160
        20172017
             - Kia - Sorento
                     Kia        Sorento         68,158       68,158        3.65%         (5,045)       63,113
        20182018
             - Kia - Sorento
                     Kia        Sorento         37,361       37,351        2.00%         (2,765)       34,586
        20192019
             - Kia - Sorento
                     Kia        Sorento         56,712       56,703        3.04%         (4,197)       52,506
        Total Kia Sorento                      480,540      480,518                                   444,949

        Kia Sportage
        20112011
             - Kia - Sportage
                     Kia        Sportage         3,273        3,273        0.18%           (242)        3,031
        20122012
             - Kia - Sportage
                     Kia        Sportage         2,284        2,284        0.12%           (169)        2,115
        20132013
             - Kia - Sportage
                     Kia        Sportage         2,690        2,690        0.14%           (199)        2,491
        20142014
             - Kia - Sportage
                     Kia        Sportage        34,006       33,303        1.78%         (2,465)       30,838
        20152015
             - Kia - Sportage
                     Kia        Sportage        43,177       43,177        2.31%         (3,196)       39,981
        20162016
             - Kia - Sportage
                     Kia        Sportage        46,147       46,146        2.47%         (3,416)       42,730
        20172017
             - Kia - Sportage
                     Kia        Sportage       107,488      107,483        5.76%         (7,957)       99,526
        20182018
             - Kia - Sportage
                     Kia        Sportage        73,088       72,776        3.90%         (5,387)       67,389
        20192019
             - Kia - Sportage
                     Kia        Sportage        67,613       67,571        3.62%         (5,002)       62,569
        Total Kia Sportage                     379,766      378,703                                   350,670

        Total Kia                            1,868,031    1,866,660                    (138,177)    1,728,483

         Received the KSDS Update                                                                   1,264,871
         % Received the KSDS Update                                                                   73.18%
         Class Vehicles Branded Title          138,177
         Branded/Produced                       7.40%

Notes and Sources:
- Number of Class Vehicles produced, sold and branded title information obtained from
  Declaration of Adam Gonnelli In Support of Final Approval of Class Settlement par. 6 and 20 (Exhibit D)
- Branded title information by model and model year was not provided. The estimated branded vehicles
  by model and model year are based on the model and model year's percentage
  of the total number of Class Vehicles.
- Potential Class Vehicles have been reduced by the estimated number of vehicles with a branded title.
- Class Vehicles totaling 1,868,031 have been reduced by 1,371 Class Vehicles not sold and 138,177 with a braded title.
    The net number of potential Class Vehicles used to value the Settlement Agreement are 1,728,483, see Exhibit D par. 5.
- Class Vehicles totaling 1,264,871 have received the KSDS update as of 9/21/2020, see Exhibit D par. 18.




Expert Report of Susan K. Thompson, CPA/CFF
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                        EXHIBIT A
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Employment & Education

2012 – Present     Hemming Morse, LLP


                   Partner


2001 – 2011        Hemming Morse, Inc.
                   Director, 2004-2011
                   Manager, 2001-2003


1987 – 2001        Silva Harden & Adolph, AC
                   Fresno, CA


1985 – 1987        Price Waterhouse
                   San Jose, California


1984 – 1985        Price Waterhouse
                   Newport Beach/Riverside, California


1983               Loma Linda University, Loma Linda, California
                   B.S. Accounting




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                                                                  – Loma Linda University Alumni Association
                                                                  – Smile For A Lifetime, Fresno/Clovis Chapter
                                                                  – Board of Directors, 2011- 2019 Publications


 – Member, Forensic Services Section for Economic                 Co-editor of The Witness Chair, published quarterly
   Damages                                                        by the Litigation Sections of the California Society of
 – Member, Forensic Services Section for Fraud
 – Member, Litigation Steering Committee, 1997-2001
 – Chair, Litigation Services Committee, Fresno Chapter,
   1997-1999


Seminar Instruction/Presentations

 Speaker, AICPA Forensics & Valuation Services Conference:        Speaker, State Association of County Auditors 103rd
 When Good Food Goes Bad, 2015                                    Conference – Developing Your Fraud Investigation
                                                                  Through Percipient and Subject Interviews, 2013
 Speaker, California Society of CPAs Economic Damages
 Section Conference – Business Interruptions: When Good           Speaker, Fresno Chapter of the Institute of
 Food Goes Bad, 2015                                              Management Accountants


Testimony



                                                                  Timothy Norman, Ph.D. v. Hanna Boys Center, Inc.
 et al. v. Harjit Singh Samrahi, et al. (2019)                    (2018) California Superior Court, Sonoma County
 California Superior Court, Fresno County                         SCV-260065
 Case No. 16CECG02450


 C & C Properties, et al. v. Shell Pipeline Company, et al.       al. (2018) California Superior Court, Kern County Case
 (2019) U.S. District Court Eastern District of California Case   No. S-1500-CV-276206 SPC
 No. 1:14-cv-01889-DAD-JLT




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Testimony continued

                      continued

                                                                   Lopez, et al. v. Allstate Insurance Company, et al. (2012)
 Inc. (2017) U.S. District Court Eastern District of California,   California Superior Court, Fresno County
 Fresno Division, Case No. 1:16-cv-00557-AWI-EPG                   Case No. 10CECG01035JH


 Ted Switzer v. Flournoy Management, LLC, et al. (2017)
 California Superior Court, Fresno County Central Divison,         Judicial Arbitration and Mediation Services
 Case No. 11CECG04395 MWS                                          San Francisco Division, Ref No. 1100068786


 Baltara Enterprises, L.P. v. R&C Patterson Family Limited         eMocha, LLC, et al. v. Central Plaza Union City, L.P., et
 Partnership, et al. (2017) California Superior Court, Fresno      al. (2010) California Superior Court, Alameda County
 County Case No. 14CECG01033 MWS                                   Case No. RG06-296460


                                                                   Primex Farms, LLC v. Chapparal Farms, Inc. (2010)
                                                                   California Superior Court, Fresno County
 et al. (2016) California Superior Court, County of Fresno,        Case No. 07CECG02935
 Civil Division, Case No. 15CECG00854
                                                                   Gallegos, et al. v. NCRC, Inc. (2009)
 Ashley Lane, LP v. Producers AG Insurance Group (2015)            California Superior Court, Fresno County
 American Arbitration Association Case No. 74-20-1300-0169         Case No. 07CECG04060AMC


 Fresno RV, Inc., et al. v. Paul Evert’s RV Country, Inc., et
 al. (2013) California Superior Court, Fresno County               California Superior Court, Fresno County
 Case No. 11CECG01433                                              Case No. F05906970-9


 Muhammad Anwar, M.D. v. State of California, et al. (2012)        Monarch Nut Company, Inc. v. Mutual Service
 California Superior Court, Madera County                          Casualty Insurance Company (2005)
 Case No. MCV034056                                                California Superior Court, Tulare County
                                                                   Case No. 01-196556
 Jaime Hernandez v. Eugenia Costa, et al. (2012)
 California Superior Court, Alameda County                         Cal Farm Insurance Company v. Mister “C”
 Case No. RG1049274                                                Investments (2003)
                                                                   California Superior Court, Fresno County
                                                                   Case No. 01 CE CG 00109


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Testimony continued

Deposition

                                                                   In the Matter of The Ernest K. Valorosi and
 Roth Companies, Inc., and Duane Roth (2020)
 U.S. District Court, District of Kansas                           California Superior Court, Madera County
 Case No. 2:19-CV-02354                                            Case No. MPR013610



 al. (2019)                                                        Products, Inc. (2017) U.S. District Court Eastern District
 California Superior Court, Fresno County                          of California, Fresno Division
 Case No. 18CECG02412                                              Case No. 1:16-cv-00557-AWI-EPG


                                                                   Baltara Enterprises, L.P. v. R&C Patterson Family
 et al. v. Harjit Singh Samrahi, et al. (2019)                     Limited Partnership, et al. (2017)
 California Superior Court, Fresno County                          California Superior Court, Fresno County
 Case No. 16CECG02450                                              Case No. 14CECG01033 MWS


 Shawn Alger v FCA US LLC (2019)
 U.S. District Court Eastern District of California Sacramento
 Division (2019) Case No. 2:18-cv-00360-MCE-EFB                    U.S. District Court Central District of California
                                                                   Case No. 2:13-cv-00686-DDP-MAN
 Armando J. Becerra, et al. v. General Motors LLC (2019)
 U.S. District Court Southern District of California               Monarch Nut Company, LLC and Munger Farms v.
 Case No. 15CV2365-JAH-LL                                          Goodnature Products, Inc. (2016)
                                                                   U.S. District Court Western District of New York
 Dorothy Rodden Jackson v. Richard Calone, et al (2018)            Case No. 14-cv-01017-WMS
 U.S. District Court Eastern District of California
 Case No. 2:16-cv-00891 TLN KJN                                    Alfred Salas and Gloria Ortega v. Toyota Motor Sales,
                                                                   U.S.A., Inc. (2016)
 Jack Sislian and Christine Sislian v. Charlie Sis- lian, et al.   U.S. District Court, Central District of California
 (2018) California Superior Court, Fresno County                   Case No. CV15-08629 FMO (Ex)
 Case No. 17 CECG 03588


 Timothy Norman, Ph.D. v. Hanna Boys Center, Inc. (2018)
 California Superior Court, Sonoma County SCV-260065


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Testimony continued

Deposition continued

 In re Dorothy R. Jackson and Donald D. Jackson                   Centerplate v. Unite Here (2014)
                                                                  U.S. District Court, Case No. 13-CV-2318 DMR
 California Superior Court, Stanislaus County
 Case No. 2200192                                                 Sharron Warehime v. Farmers Insurance (2013)
                                                                  California Superior Court, Fresno County
                                                                  Case No. 08CECG02976
                                                                  Fresno RV, Inc., et al. v. Paul Evert’s RV Country, Inc., et
 et al. (2016) California Superior Court County of Fresno,        al. (2013) California Superior Court, Fresno County
 Civil Division Case No. 15CECG00854                              Case No. 11CECG01433


 Star Laundry Services, Inc. v. Western State De- sign, Inc.,     Jaime Hernandez v. Eugenia Costa, et al. (2012)
 et al. (2015) California Superior Court                          California Superior Court, Alameda County
 County of San Diego - Central Division                           Case No. RG1049274
 Case No. 37-2014-00011335-CU-BC-CTL
                                                                  Muhammad Anwar, M.D. v. State of California, et al.
                                                                  (2012) California Superior Court, Madera County
 U.S. District Court, Central District of California              Case No. MCV034056
 Case No. 2:13-cv-00686-DDP-MANx
                                                                  Primex Farms, LLC v. Roll International Corp., et al.
 Irvine Apartment Communities, L.P. v. Western National           (2012) California Superior Court, Fresno County
 Construction, et al. (2015) American Arbitration Association     Case No. 10CECG01114
 Case No. 73 443 Y 00234 12
                                                                  Lopez, et al. v. Allstate Insurance Company, et al. (2012)
 Anamiria Madrigal, et al. v. New Cingular Wireless               California Superior Court, Fresno County
 Services, Inc., et al. (2015) American Arbitration Association   Case No. 10CECG01035JH
 Case No. 74 484 Y 00301 11 nolg


 Melinda Ward v. Superior Carpet Care, et al. (2015)
 California Superior Court, Fresno County                         et al. (2016) California Superior Court County of Fresno,
 Case No. 13CEGG00704 MWS                                         Civil Division Case No. 15CECG00854




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Testimony continued

Deposition continued

 Primex Farms, LLC v. Chapparal Farms, Inc. (2010)          Elaine Cantu v. Family Healthcare, et al. (2007)
 California Superior Court, Fresno County                   California Superior Court, Fresno County
 Case No. 07CECG02935                                       Case No. 05CECG00738DSB


 Gallegos, et al. v. NCRC, Inc. (2009)                      Marla Lynn Swanson v. Susan Jane Tovar, et al. (2005)
 California Superior Court, Fresno County                   California Superior Court, Tulare County
 Case No. 07CECG04060AMC                                    Case No. 04-211317


                                                            (2005) U.S. District Court, Case No. CIV-F-04-6456
 District Court, Clark County, Nevada Case No. A494547
                                                            Monarch Nut Company, Inc. v. Mutual Service Casualty
 Lucille Epperson v. Hope Manor, et al. (2008)              Insurance Company (2003) California Superior Court,
 California Superior Court, Fresno County                   Tulare County Case No. 01-196556
 Case No. 07CECG02718


Selected Experience



 matter involving multiple employees spanning multiple
 years. The case involved unpaid overtime, meal and         plant. The case went to appraisal upon which each
                                                            element of loss was unanimously decided in favor of
 off-the-clock time for traveling repairmen. Reviewed and   client in excess of $1 million dollars.



 documents to determine the proper employee                 investigate a theft at the insured’s nut processing
 compensation and to quantify damages.                      plant. Analysis included documenting the accounting
                                                            and physical controls surrounding inventory and


 case. Determined the loss that resulted from the failure




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Selected Experience continued



 in a suspected fraudulent claim of a nut processing plant.   company to assist in quantifying the losses of their
 Based upon analysis performed, including following
 transactions through the perpetual inventory system, the     and internationally. This included interacting with the
 receiving and shipping processes, the claim was denied       insured’s customers and following the recalled
 and further action was taken against the insured.            product through all processors up to the point it is
                                                              sold to the end consumer. Losses included raw


 matters. Has worked in matters where over 10 years
                                                              insured to settle claims. Assistance was provided in
 propriety, including analysis of related parties who had     the settlement process as well.



                                                              and casualty insurance companies in California in
                                                              assessing claims for loss of earnings, loss of inventory


                                                              in agricultural, retail, food services and construction.
 to testimony.



 against their nut processor for suspected fraudulent         legal counsel assisting the insurance company.
 accounting practices. Analysis included assessing            Duties included tracing money in money laundering



 The analysis lead to successful settlement in favor of the   asset/inventory on hand, analysis and interpretation
                                                              of accounting records and internal control structures,




                                                              case. Worked with investigators from the Federal
                                                              Bureau of Investigation and the District Attorney of




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Selected Experience continued



 various stages of litigation and in anticipation of            matter involving real estate fraud. Our involvement
                                                                included tracing investor funds over several years
 work for trial. Typical services included calculations of
 damages and loss of earnings, analysis and interpretation
 of accounting records, and analysis of internal controls
 in industries including agricultural, professional services,


 governmental entities, and real estate development.



 personal injury and wrongful termination and resulting
 lost wages/damages.                                            in class action lawsuits.




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In re: Hyundai and Kia Engine Litigation
Exhibit B
List of Information Considered


Documents Considered:
Settlement Agreement; Case 8:17-cv-00838-JLS-JDE Document 112-2 Filed 10/10/19 (Exhibit C)
Declaration of Adam Gonnelli In Support of Final Approval of Class Settlement (Exhibit D)
Plaintiffs' Notice of Motion and Unopposed Motion for Preliminary Approval of Class Action Settlement (Exhibit E)
Declaration of Alan Dow Regarding Knock Sensor Detection System ("KSDS") (Exhbit F)
HMF - Hyundai Protection Plan: https://www.hmfusa.com/hpp-mechanical- Coverage (Exhibit G)
Protection_Plans_Kia-distiction (Exhibit H)
Screen Shots of Average Replacement Costs (Exhibit I)




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                        EXHIBIT C
Case
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                                          SETTLEMENT AGREEMENT
          Thi Se e e          Ag ee e         i      ade a d e e ed i              a     f hi __ da           f Oc be , 2019,
 b a d be ee P ai iff Ca a Ce k , Je                          La a , Ch i          he S a c ak, R e C e , Ja e
 Ki ick, Wa ace C a , Ma a                  e B ga , A d ea S                   ek, Da           Dicke        , R be F ck e ,
 A      F a ki ,D        adH         e, Da e L            i , J e h McCa i e , A                      Mi e , Rick M                           a,
 L      N      h, Ma k Rice, Reid Sch i , Ja e S i h, a d Ch i S ackh                                  e ( he P ai iff
  Ca      Re e e a i e ), i di id a                a da e e e ai e                      f he C a       defi ed be             ,a d
 Defe da        H     dai M         A e ica ( HMA ), H                     dai M         C        a       ( HMC ), Kia M
 C        ai     ( KMC ) a d Kia M                 A e ica ( KMA ) (c                   ec i e        he Pa ie ).
          WHEREAS, P ai iff Ce k a d La a fi ed he                                       ed a i           ide c a         ac i
  a     i Ce         a d La a       . Kia M          A e ica, I c., N . 8:17-c -00838 (C.D. Ca .)                                    Ma
 10, 2017; P ai iff S a c ak a d C e                 fi ed he               ed a i           ide c a       ac i       a          i
 Sa c a a dC e             . Kia M          A e ica, I c. e a ., N . 8:17-c -1365 (C.D. Ca .)                                    A g
 8, 2017; P ai iff Ki ick a d C a fi ed he                                ed a i         ide c a       ac i       a        i Ki            ic
 a dC a         .H       dai M       C        a , e a ., N . 8:17-c -02208 (C.D. Ca .)                            Dece be 19,
 2017; P ai iff B ga fi ed he                      ed a i           ide c a      ac i        a     i B ga             .H             dai
 M       A e ica, e a ., N . 8:17-c -00622 (C.D. Ca )                           Ja a      23, 2018; a d P ai iff S                         ek
 fi ed he            ed a i      ide c a      ac i        a      i S        e    .H          dai M         A e ica, e a ., N .
 2:18-c -05255 (C.D. Ca .)            A i 16, 2018;
          WHEREAS,            A g         7, 2018, he C                   de ed he e ca e c                ida ed a I                 e:
 H      dai a d Kia E gi e Li iga i           , N . 8:17-c -00838 (C.D. Ca .);
          WHEREAS, he e ca e a i e f                      P ai iff a ega i                 ha ce ai Kia a d H                          dai
  ehic e e i         ed i h The a II 2.0- i e a d 2.4- i e ga                    i e di ec i jec i            e gi e          ee
      a fac    ed,    a ke ed,      d, a d ea ed i h a e gi e defec ha ca                             e       i       dde e gi e
  ei     e, e gi e fai     e a d/     e gi e fi e;
          WHEREAS, HMA, HMC, KMC a d KMA de                                     P ai iff a ega i              , de        a          iabi i
 a dc       abi i , a d     ai ai     ha he ha e               ei     i       defe e ;
          WHEREAS, f                i gc          ida i        f he ca e , c             e f      he Pa ie            e a d
 c fe ed e e a i e , i c di g i h a e gi ee i g e e e a i e f                                             HMA, HMC, KMC
 a d KMA         e e , ega di g P ai iff a ega i                     , HMA , HMC , KMC a d KMA
 defe e , a d         e ia e          i       f he i iga i ;

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              WHEREAS, a              a          f he e di c              i        ,a di      he c       e      fa         e ia c a            ide
     e       i , HMA, HMC, KMC a d KMA i f                                          ed      ai iff he           a     ed         c d c a             d c
 i            e e         ca    aig      f        e f he ehic e a i                         ei     he e ac i         , i acc da ce i h
          ced e e ie ed b               he Na i            a High a T affic Safe                        Ad i i a i           ;
              WHEREAS, Defe da                         i I     e: H            dai a d Kia E gi e Li iga i                             ed      di     i
  he c ai            f he       ai iff           Se e be 4, 2018, a d                        ai iff                 ed he          i       Oc be 9,
 2018;
              WHEREAS,                Dece be 14, 2018, P ai iff F ck e , H                                     e, L         i , Mi e , M                 e,
 Rice, a d S i h, a                g ih           he        ai iff                   bjec         hi Se e e            (defi ed be                ), fi ed
  he                ed a i         ide c a        ac i        a           i F ahe            .H         dai M          C          a , e a ., N .
 18-c -02223 (C.D. Ca .), a egi g i i a c ai                                             h ei I          e: H        dai a d Kia E gi e
 Li iga i ; F ahe                  a a e ded                 ice,          Ja a           10, 2019, a d Ma 1, 2019,                        add P ai iff
 Dicke              , McCa i e , M                  a, F a k i , N                  h, Sch i , a d S ackh                  e, a        g ih         he
         ai iff            bjec       hi Se e e ;
              WHEREAS, Defe da                         a d he P ai iff i I                       e: H        dai a d Kia E gi e Li iga i
         edia ed      Dece be 21, 2018, i h he a i a ce f H . R a d M. Sab a (Re .) f JAMS,
 a         hich i e he            eached a e e e                  i           i ci e         e        e he c a       a ega i           ,     bjec
         H        dai a d Kia      a age e             a          a;
              WHEREAS, he Pa ie , i c di g c                                       e i F ahe            ,c      i ed e e e                  di c      i
         e he e           e ea               h, e          i g i ce ai                   difica i        a d e ha ce e                       he
             ed e e e ;
              WHEREAS, he Pa ie ha e c                                i       ed         eg ia e he fi a               i          f hi Se e e
 Ag ee e             i c di g fee a d ad i i a i e                                 a e ;
              WHEREAS, C a                   C         e (defi ed be                  ) ha e i e iga ed he fac a d a                              eai g
         P ai iff c ai            a d HMA , HMC , KMC a d KMA defe e , a d ha e c c ded ha
 a e e e                  i h HMA, HMC, KMC a d KMA acc di g                                            he e          e f         h be        i i         he
 be i e e                 f P ai iff a d he C a ;
              WHEREAS, de i e hei de ia                               fa           iabi i         c     abi i       a d hei be ief ha he
 ha e         ei      i        defe e            he c ai          a eged, HMA, HMC, KMC a d KMA e e he e
 decided            e e i          he Se e e               de c ibed he ei a a be efi                           hei c              e a d            a id
 f        he i iga i ;

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                 WHEREAS, P ai iff ha e a d i c                               i   e      ake ea       ab e c fi        a        di c e ,
 i c di g de               ii       ( ) fac              a e de ig ee( ),             he e e        ha addi i a i f           ai       i
     ea      ab       e    i ed                     he e            f he Se e e            Ag ee e . A              ch di c e              ha
 be         bjec          i iai             eg ia ed b C a            C           e a d HMA , HMC , KMC a d KMA
 c          e.
                 NOW, THEREFORE, i c                       ide a i            f he c e a        , ag ee e         , a d e ea e         e
 f        h he ei , a d i e di g                be ega          b     d, i i ag eed b a d a                 g he      de ig ed ha
  hi Ac i             be e ed, c                    i ed, a d j dg e              e e ed        he e        a d c di i              e f         h
 be         .

 I.              DEFINITIONS
                 A.        A
                 Ac i           efe          he c         ida ed i iga i              i ed I   e: H      dai a d Kia E gi e
 Li iga i , N . 8:17-c -00838 (C.D. Ca .), i c                                i e f he         de     i g ca e ha          ee
 c           ida ed, a d he c ai                  f P ai iff Da               Dicke        , R be F ck e , A               Fa ki ,
 D adH                  e, Da e L             i , J e h McCa i e , A                      Mi e , Rick M              a, L          N       h,
 Ma k Rice, Reid Sch i , Ja e S i h, Ch i S ackh                                         ea dCa          e be f             F ahe               .
 H          dai M          C          a , e a ., N . 18-c -02223 (C.D. Ca .). F ahe                         i        e ed i i
 e i e , a d he c ai                        f F ahe          a ed            ai iff a d        ai eca           e be            e      ici
     a ed, ide ified,                 e c      a ed i        hi Se e e                Ag ee e       ae     bjec            g i g
  i iga i         .
                 B.        C
                 A C ai            i a e e f             ei b       e e           de hi Se e e .
                 C.        C
                 C ai a            i aCa            e be            he        e          e i    e igib e          ake a C ai                 a
          hi Se e e             Ag ee e         (e.g., a     be          e        cha e        faCa      Vehic e       de he e                      f
  he Life i e Wa a                    , de c ibed i Sec i            II).
                 D.            C        F
                 C ai      F           efe          af          ed            ake a C ai        de hi Se e e ,                b a ia
 i        he f        a ached he e            a E hibi B.
                 E.        S                  C               C
                 Se e e            Ca               Ca       efe         :

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                A          e     a d e ee                  f a Ca            Vehic e          h           cha ed              ea ed a C a
                Vehic e i       he U i ed S a e , i c di g h e ha                                  ee           cha ed hi e he                       e
                    a ab ad               ac i e U.S.            iia         d     ,b         e c di g h e                    cha ed i U.S.
                e i        ie a d/          ab ad.
                E c ded f                 he c ai           f he C a             (a d          e ea ed b            hi Se e e ) a e a c ai
 f     dea h, e               a i j        ,          e      da age ( he ha da age                                 aCa        Vehic e ha i he
     bjec        f a Q a if i g Re ai ), a d                         b ga i       . A         e c ded f                  he C a         a e HMA,
 HMC, KMC a d KMA; a                                affi ia e, a e ,                b idia             f HMA, HMC, KMC                        KMA; a
 e i        i        hich HMA, HMC, KMC                          KMA ha a c                        i gi e e ;a                    ffice , di ec          ,
 e              ee f HMA, HMC, KMC                           KMA; a                 cce                a ig          f HMA, HMC, KMC
 KMA; a               j dge           h         hi Ac i          i a ig ed, hi                    he               e, a d a        e             i hi         he
  hi d deg ee f e a i                     hi         ei he       f he , a           e a he                     e     f       ch e            ; (c)
 i di id a a d/                 e i ie           h        a id       a d i e              -            f he e e e ; (d) c                         e
 b i e e ha ha e                          cha ed C a             Vehic e           e i            dee ed a               a         (i.e., a age
 j k a d ehic e ) ( bjec                              e ifica i         h         gh Ca fa                he         ea ); a d (e) c             e
 f      e             e       faCa          Vehic e ha                 e i              e ea ed hei c ai                  i a i di id a
     e e e             i h HMA, HMC, KMC a d KMA i h e ec                                                 he i        e ai ed he Ac i                    (f
  he                 e f c a i , i di id a                       e      f 2011-2014 H                   dai S       aa        h        e ea ed c ai
 agai           HMA a d HMC i                   he e e e                eached i Me d a . H                              dai M           C       a        L d.,
 e . a ., Ca e N . 15-c -01685-BLF (C.D. Ca .) a e                                            e c ded f                  he c ai          f he C a ).
                F.          C         C
                 Ca       C       e            ea     Ma he D. Sche k                     f f Sa de Sche k                    f, Ada         G        e i f
 The S               e La G               ,a dB            e Wa h f Wa h PLLC, a                            e he O de                  f J dge S a                 f
 J     e 16, 2018 i I             e: H              dai a d Kia E gi e Li iga i                        (Dk . 80), a d a                S e e Be          a         f
 Hage           Be        a S b       Sha i           LLP.
                G.          C         V
                 Ca       Vehic e              efe        a 2011, 2012, 2013, 2014, 2015, 2016, 2017, 2018, a d ce ai
 2019            de       ea H        dai S          a a ehic e , a 2013, 2014, 2015, 2016, 2017, 2018, a d ce ai
 2019            de       ea H        dai Sa a Fe S                     ehic e , a 2014, 2015, 2018, a d ce ai 2019                                            de
     ea H            dai T c              ehic e , a 2011, 2012, 2013, 2014, 2015, 2016, 2017, 2018, a d ce ai
 2019            de       ea Kia O i a ehic e , a 2011, 2012, 2013, 2014, 2015, 2016, 2017, 2018, a d


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 ce ai 2019             de           ea Kia S e                ehic e , a d a 2011, 2012, 2013, 2014, 2015, 2016, 2017,
 2018, a d ce ai 2019                       de        ea Kia S         age ehic e ,                igi a          e i    ed i h           e aced
     i h a ge i e The a II 2.0 i e                         2.4 i e ga          i e di ec i jec i                e gi e i hi OEM
     ecifica i        , ha           ee        cha ed          ea ed i        he U i ed S a e , e c di g he e i                           ie , a d
 i c di g h e ha                     a ha e bee                cha ed hi e he                      e       a ab ad            ac i e U.S.
     iia     d        . F       2019         de       ea      ehic e i ed ab                e, he C a             ha i c de h e ehic e
  ha       ee     a     fac          ed bef e he K             ck Se           De ec i           S       e      ech       g de c ibed i             hi
 ag ee e           a i c                 a ed i         hei         d ci       .
           H.               C
             C                  ea       he U i ed S a e Di               ic C          f        he Ce          a Di     ic     f Ca if     ia.
           I.               E               D
             Effec i e Da e                 ea        he fi     da e af e he C                       e            f fi a a         a ( Fi a
 A         a O de ) a d e                         f J dg e          i e e ed, if             a ea i i e                 fi ed     if            i
 e e d he i e f                  fi i g a a ea ha bee fi ed. If he e i a a ea , he Effec i e Da e f
 Se e e           ha be he da e                        hich a a        e a e igh              i h e ec                 he Fi a A            a
 O de a d J dge e                    i     he Ac i         ha e e i ed             bee e ha                ed i       ch a      a e a           e de
  he Fi a A                 a O de a d J dg e                         -a ea ab e.
           J.               E                     N
             E ce i             a Neg ec              ea      (a) he          he ehic e c ea                  e ide ce a ack f
     ai e a ce          ca e f            a ig ifica           ei d f i e f                   e          ha        e (1) ea ,      ch ha he
  ehic e a ea di a ida ed, aba d                            ed, a d/          be       d e ai              e        ch ack f           ai e a ce
     a d e       aL             E e ;          (b) fai        e f a Se e e             Ca              e be           ha e he KSDS ( K               ck
 Se        De ec i          S f          a e )i        a ed           a            he KSDS P d c I                        e e      Ca       aig b
 aH        dai        Kia dea e             i hi 60 da           f he N ice Da e,                        i hi 60 da             f he     ai i g f
  he KSDS ca            aig               ice, hiche e i a e . Diag                         ic c           a      cia ed i h e ab i hi g
 E ce i          a Neg ec             i be b           e b Defe da             .
           K.               F              H                    /         F        A                   H
             Fai e          Hea i g a d/                   Fi a A              a Hea i g               ea         he fi a hea i g         be
 c d c ed b            he C                      ch da e a he C                    a        de           de e      i e he fai e , ade               ac ,
 a d ea          ab e e              f he Se e e              i acc da ce i h a                      icab e j i          de ce,         be he d
 af e        ice ha bee                    ided         he Se e e             Ca       i acc da ce i h hi Se e e , a d


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     he e he C                         i : (a) de e               i e he he             ga        fi a a                   a          he ce ifica i            f he
 Se e e               C a ; (b) de e                        i e he he              de ig a e P ai iff a he e e e a i e                                        f he
 Se e e               C a ; (c) de e                     i e he he                 de ig a e C a           C               e a c             e f          he Se e e
 C a ; (d) de e                    i e he he                     ga        fi a a           a          he Se e e ; (e)                       e        Ca
 C          e         A        ica i            f       a Fee a d E             e e A a d; (f)                e            Ca         Re e e a i e
 A      ica i             f     Ca             Re e e a i e Se ice A a d ; a d (g) c                                            ide        he he          e e he
 Fi a A                       a O de .
                L.                 K                S            D               S

                  K        ck Se                De ec i               S f ae (              KSDS ) efe                          he e gi e             i       i g
  ech             g de e                   ed b Defe da                    ha , i h         f aei                     ai         , e e age e i i g
 ha d a e                     he       bjec C a              Vehic e             c      i                     i         e gi e e f                 a ce f
                          ha       a           ecede e gi e fai                 e a d ha i bei g ffe ed a a                                f ae           da e       Ca
     e be f ee f cha ge                                      a            he       d c i            e e           ca            aig        efe e ced he ei .

                M.                 L                    W
                  Life i e Wa a                              efe            he e e i              f he e i i g P                      e ai Wa a                      c       e
  he h            b ck a e b , c                             i i g f he e gi e b ck, c a k haf a d bea i g , c                                                 ec i g
     d a d bea i g , a d i                                   ,i          h eCa         Vehic e             ed b i di id a c                               e      ha ha e
 c          e ed he KSDS                            da e i c             ec i         i h Defe da                          -     g i g           d c i              e e
 ca         aig       de c ibed he ei . The Life i e Wa a                                          ha a                a               a     da age ca ed
  he         g b ck a e b                           d e          c        ec i g      d bea i g fai           e. Wi h he e ce i                            f ca e            f
 E ce i              a Neg ec a d                        bjec            he e i i g e             , i iai                  , a d c di i               f he C a
 Vehic e                  igi a P               e ai Wa a                      , he Life i e Wa a                          ha         he     i ee d e
 i e ec i e f he C a                                Vehic e               i eage       d ai            f              e hi . The Life i e Wa a
  ha              a                    be a ai ab e                  c         e cia e i ie            ch a            ed ca dea e , f a chi ee ,
 a            bi e a c i                   h        e. F          Ca        Vehic e ha             a       he          i e eed a e e gi e                                a
       hi         a a              a           ab       e 150,000           ie a d           e ha eigh (8) ea f                                  he       igi a i -
  e ice da e, Defe da                                   ha ha e he                 i ,i      ie     f e aci g he e gi e                            de         a a        ,
 ei he , a he ehic e                                e       e ec i , (i) e              cha e he ehic e a B eb                              k a e( e
 g d/ i a e a                          )       (ii) a            he        e $2,000.00 i           ie         f a e gi e e ace e ,                                  ided
  ha he                   e ha i               a ed he KSDS, a d hich a                                e          i        e i e ha he                    e ag ee i
      ii g            a            ea          i kg i gf                  ada d             id he ehic e                       e ai i g Life i e Wa a                            .

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            N.            L              F            N
              L gF                  N ice                 efe            he      ice        be e          he C a      a de ai ed be                 ,
     b a ia          i    he a e f                        a E hibi A.
            O.            L              E
              L      E e                     ea       a     Ca           Vehic e i cide            ha          d ha e ed            a Q a if i g
 Re ai (i c di g, b                               i i ed            , a e gi e fi e) b             ei he he c           f he e ai           a                 g ea
       he ci c                a ce ed he C a                             e be          di     e f he C a            Vehic e a a             . Thi
 i c de e e               i         hich he e a i                         a ce c e age, b                 he e he C a               e be        a         i
     ade h e b                    ch i            a ce a             e     .
            P.                N              D
              N ice Da e                  efe               he da e 90 da              af e he C           e e a            de        ei i ai
 a         i g hi Se e e .
            Q.            P
              Pa         he         efe               he e a a e, c                  - i ed d c           e     ha      i be           ided af e he
 Effec i e Da e,                  b a ia              i     he a e f                a a ached a E hibi C. The Pa                       h e ha be
 de ig ed           be ke                i h he                 e        a a f         Ca        Vehic e . The Pa               h e ha
 (i)          i e             a          f he i k ha C a                       Vehic e        a         ffe e gi e a i g hi e d i i g,
 (ii) i a           a i g ig                  k             b HMA a d HMC (f                       H       dai C a      Vehic e ) a d KMA a d
 KMC (f           Kia C a            Vehic e ) ha                        e ia          ecede       ch a e gi e ei               e      a ,              ch a
 e gi e k cki g a d i                             i ai              f he C a         Vehic e        i a        ; (iii) ec           e d ha a                  Ca
     e be         h ha               a ead d                    e    , h        d                   ee        hei C a       Vehic e         a
 a h i ed H                   dai         Kia dea e hi (a a                             ia e de e di g              he ehic e) f           a f ee
 i     ec i       a d, if a                   ia e, e ai ; (i ) de c ibe he a a                               a d ei b           e e       be efi
       ided b        hi Se e e ; a d ( ) de c ibe HMA , HMC , KMC                                                           KMA (a he ca e
     a be)          d c i                    e e           ca       aig f           he C a     Vehic e , i c di g he f ee k                  ck e
 de ec i            f ae             da e.
            R.                P
              Pa ie           (          Pa           i di id a            )    ea      P ai iff a d Defe da                .
            S.                P                       C
              P ai iff C                      e (a di i c f                          Ca      C          e )    ea     Ma he D. Sche k                          f f
 Sa de Sche k                 f, Ada              G        e i f The S               e La G               ,B      e Wa h f Wa h PLLC,


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 Da ie C. Le i a d Ada                                B. C he            f Le i Sad a a d Be                       a LLP, Ja           S. Ra h d,
 Nich a Mig iacci , a d E fa d Nafi i f Mig iacci & Ra h d LLP, S e e Be                                                                      a a d
 Ch i              he Pi                  f Hage          Be       a S b             Sha i         LLP, a d R be Hi ia d f Hi ia d
 M             G           a e LLP.
               T.                P                     A                  O
                   Pei i a                A           a O de              ea          he              ed      de     acc         a        he         i       f
     ei i a                a            a,     b a ia           i        he f          a ached he e             a E hibi D.
               U.                P                L       E
                   P       f fL              E e           ea        he         igi a            ac          fa     d c     e ( ) ge e a ed
     e ai i g                  he            ha       a i c         ed.
               V.                   P             R            E
                   P       f f Re ai E                 e e          ea          he        igi a        ac          fa      d c       e ( ) ge e a ed a
      a            d he i e e                e e a i c               ed f          a Q a if i g Re ai ha ide ifie he Q a if i g
 Re ai                 a       e, da e e f             ed, a d c              i c         ed b     he C a           e be f           he Q a if i g
 Re ai . F                 Ca             e be            h had he Q a if i g Re ai                           ef        ed a a H          dai        Kia
 dea e hi , he c                        i c       ed b       he C a             e be f             he Q a if i g Re ai ha be
     b a ia ed a                    e f       h i Sec i            II.C.3.
               W.                P                R           -R               E
                   P       f f Re ai -Re a ed E                     e e              ea       he      igi a        ac        fa        d c         e ()
 ge e a ed a                    a         d he i e ha e                   e e a i c                   ed f    a e a ca ,              i g e ice,
     he            - f- cke e e e i di ec c                                   j ci            i h b ai i g a Q a if i g Re ai , a d hich
 ide ifie he a                          e f he e          e e, he da e he c                        a i c          ed, a d he d         a a               .
               X.                Q                    R
                   Q a if i g Re ai                    efe           a             e f e ai , e ace e , diag                         i,        i     ec i              f
  he C a            Vehic e h                 b ck a e b                  c        i i g f he e gi e b ck, c a k haf a d bea i g ,
 c        ec i g               d a d bea i g , a d i                          ,d e          ac         ec i g      d bea i g fai          e
 a        cia ed i h c                    ec i g       d bea i g fai                 e, b     e c di g E ce i a Neg ec . Diag                                     ic
 c         a        cia ed i h e ab i hi g E ce i                                  a Neg ec            i be b        e b Defe da               . F
               e       f ei b             e e          f e ai            ha     cc          ed bef e he C a               e be ecei ed                   ice f
  hi Se e e , Q a if i g Re ai                                      a         i c de a                 he C a        Vehic e c                 e     ,
 i c di g b                          i i ed           he C a         Vehic e                g b ck (a d he               g b ck c                    e       ),


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 ba e ,                  a e,                     ided ha he c                     e          di g P                 f f Re ai E               e e ef ec                ha he              k
     a c d c ed i a a e                                           add e            e gi e ei                    e, e gi e a , e gi e                          i e, e gi e
 c         a        e     fi e, i                     i ai           f he i a                 ,             he        i e e ai            echa ica                  c     e ic
 da age                 he C a             Vehic e ha a e he a                                a a d                  bab e c          e e ce f a c                      ec i g     d
 bea i g fai              e                                  a       cia ed i h c                      ec i g             d bea i g fai              e, b       e c di g
 E ce i             a Neg ec , e ce                          f    a           e ai f                hich he P                   f f Re ai E                   e e ef ec          ha
  he e ai                ee           ai                    e a ed            he e gi e h                       b ck a e b                i      e (f           e a        e, a a
 ca ed b a f e                                    ,         ge       e         ,        he e ec ica                       e ). A              e ai                  e ace e           fa
 Ca        Vehic e i fi e i a a e                                                  add e          e gi e ei                 e, e gi e a , e gi e                         i e,
 i        i ai            f he i a                          , ca ed b a c                     ec i g             d bea i g fai                e, b        e c di g
 E ce i             a Neg ec , i be                              e         ed           be i c ded i hi                      he defi i i                  f a Q a if i g
 Re ai . N hi g i                          hi defi i i                    ha        e i e HMA, HMC, KMC                                       KMA                       ide e ai
 ca ed b a c                  ii              i             i gaCa                 Vehic e,                 e         ch c          ii      i di ec             ca ed b a
 Ca        Vehic e fai                    e           he     ie          bjec           a Q a if i g Re ai ,                         ch a a e gi e fi e.
               Y.                 R
                   Re ea ee[ ]                    ha        efe j i                a d e ea                     , i di id a              a dc         ec i e             e i ie
  ha       a ke ed he C a                             Vehic e , e i ie ha de ig ed, de e                                            ed, a d/          di e i a ed
 ad e i e e                   f           he C a             Vehic e , HMA, H                           dai A e ica Tech ica Ce e , I c. (a
 d i gb i e                   a H                     dai-Kia A e ica Tech ica Ce e ), HMC, KMA, KMC, a affi ia e                                                                      f
  he H             dai M                  G                , a d each f hei e ec i e f                                     e,       e e ,a df                   e di ec a d
 i di ec           ae         ,       b idia ie , affi ia e , di i i                               ,        edece               ,     cce            , a ig , dea e ,
 di       ib            , age         ,           i ci a ,                    ie , e d                 ,i        e , ice ee , a d j i                           e       e , a d hei
     e ec i e f               e,          e e ,a df                       e        ffice , di ec                     ,e             ee , a           e , ge e a            a     e ,
  i i ed a               e ,          e be ,                 a age , age                     , ha eh de (i                      hei ca aci                a     ha eh de ) a d
  ega e e e a i e , a d he                                        edece                 ,     cce                , hei , e ec                  , ad i i a                 ,a d
 a ig              f each f he f eg i g. A                                         ed i       hi       a ag a h, affi ia e                           ea        e i ie
 c             i g, c                     ed b ,                  de c                       c                   i h a Re ea ee.
               Z.                 R
                   Re ea           []             ha        efe j i                a d e ea                     , i di id a              a dc        ec i e               he C a
 Re e e a i e , he C a                                       e be , a d hei f                           e,           e e ,a df                 e di ec a d i di ec
     ae        ,    b idia ie , affi ia e , di i i                                  ,       edece                ,     cce            , a d a ig , a d hei


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     e ec i e f           e,       e e ,a df                     e        ffice , di ec              ,e          ee , a           e , ge e a           a     e ,
  i i ed a             e ,     e be ,               a age , age                   , ha eh de (i                 hei ca aci             a       ha eh de ) a d
  ega e e e a i e , a d he                                 edece             ,        cce           , hei , e ec             , ad i i a                ,a d
 a ig          f each f he f eg i g. A                                    ed i        hi     a ag a h, affi ia e                  ea       e i ie
 c            i g, c               ed b                    de c                   c                 i h a Re ea        .
              AA.         S
               Se e e                ea            he e e e                  i             hich he Pa ie ha e e e ed                            e      e he
 Ac i        . The e               f he Se e e                       aea          e f        hi      hi Se e e              Ag ee e              a d a ached
 e hibi .
              BB.         S                        A                                        C           A
               Se e e              Ad i i              a                  C ai         Ad i i a                   ea        Defe da                  hei
 ad i i            a      e ec ed             ad i i e he Se e e                                 a da           ed b        he C           .
              Ca i a i ed e                   i    hi Se e e                     Ag ee e                  defi ed i         hi     ec i             ha ha e he
      ea i g a c ibed                he           e e he e i                hi Ag ee e .

 II.          SETTLEMENT CONSIDERATION
              I c        ide a i          f        he Se e e , e                             f j dg e , a d di               i a,a df                 he        a
     e ea e            ided he ei , HMA a d KMA ag ee                                               ide he f               i gc        ide a i             he
 Ca :
              A.         L                W                      C                     F      E           S        B
              1.         Effec i e begi                    i g            he N ice Da e, HMA a d KMA ha e e d a d                                               ai
 i       f     effec he Life i e Wa a                                 f     a e igib e C a                Vehic e .
              2.         F      he 90-da                   e i di           edia e           f         i g he N ice Da e, a C a                        Vehic e
  ha ha e               ecei ed a eca i                      ec i                de a ea                e f he ca            aig           efe e ced be
     i be e igib e             de he Life i e Wa a                                f        f ee i      ec i       a d, a         eeded              a ehic e-b -
     ehic e ba i , h            b ck a e b                           e ai , i e ec i e f he C a                            Vehic e             i eage, d a i
     f        e hi ,           i      e ai .
              3.         The Life i e Wa a                                ha c e a c                      a     cia ed i h i               ec i        a d
     e ai i c di g, i h                           i i a i , he c                       a     cia ed i h e ace e                        a , ab ,
 diag         e ,a d         echa ica               c            e ic da age                  he C a          Vehic e ca ed b                  he e gi e
      af ci            (e.g., e gi e fai               e         fi e).



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               4.          N          i h a di g a                        ii ()             he c           a     i a          e     e         a a
           ided b HMA                     KMA i c j c i                         i h he a e                 ea e f C a             Vehic e , he Life i e
 Wa a               ha          e i i i f                  d ai           ega d e              fa          a fe i                 e hi              ea e f a
 Ca         Vehic e.
               5.          I c j ci                        iha        Q a if i g Re ai , HMA (f                          Ca             e be            h
          (ed)       ea (ed) H                   dai C a        Vehic e , i.e. H                    dai C a          e be           ) a d KMA (f
 Ca              e be             h             (ed)        ea (ed) Kia C a                Vehic e , i.e. Kia C a                           e be        ) ha ,
  h        gh a h i ed H                        dai       Kia dea e hi ,                    ide a c             a ab e c a              f     a e       ehic e, a
      a be a ai ab e a a dea e                           ca i    ,a        c      if e e ed. T                     he e e                     a e       ehic e i
     ea     ab      a ai ab e h                  gh HMA                KMA a h i ed H                             dai         Kia dea e hi               a he
  i e f he e e , HMA a d KMA i                                                  ide ei b               e e          f ea           ab e e a ca
 e        e e              $40 e da                      i e gi e e ace e                            e ai i c                 e ed a d         b i ed
           a             ec i         II.D.1. N Life i e Wa a                          i        ec i               e ai           ha be de ied f              a
 Ca         Vehic e               he g              d ha he Q a if i g Re ai                           a       ece i a ed b             he          e         e
 fai i g                  e           e ice              ai ai        he ehic e, e ce                 i i        a ce         f E ce i a Neg ec .
 U             e e , HMA (f                     H        dai C a           e be ) a d KMA (f                       Kia C a                  e be ) i
     ea     ab                            f     i ha i          fa        ch ca e           f E ce i             a Neg ec , if a ,                  Ca
 C          e . Thi Se e e                          ha          be c            ed a        b iga i g HMA, KMA,                              hei dea e hi
          e ai e gi e                          ide e e gi e                 de he Life i e Wa a                           ,                 ide a        he
 c         e ai                   ei b           e e       f         he    i ei            e a i e ehic e (e.g., b a ded, a age,
 j k a d ehic e                                he     ie        ad        h )      e            ch i           e abi i        i di ec          ca ed b a
 Ca         Vehic e fai               e        igi a i g f           ac         ec i g         d bea i g fai             ea d           he      ie       bjec       a
 Q a if i g Re ai ,                       ch a a e gi e fi e.
               6.          Ca                 e be        ha           be e i ed                     ee         he L g F                N ice, Pa             he,
 C ai          F     ,        a               he Se e e - e a ed d c                       e     i         de       ecei e Life i e Wa a
 i        ec i             e ai a a a h i ed H                              dai        Kia dea e hi . C a                         e be a e               gge ed
          e ai a         ehic e           ai e a ce ec d af e he N ice Da e, a d                                         a be e i ed                          ide
     ec d f          ehic e               ai e a ce e f                ed af e he N ice Da e                             ecei e Life i e Wa a
     e ai .
               7.          A          igh           he     i e a ai ab e                   e a d e ee                     de        ee i i g a a ie
     i c           i e          e ai a ai ab e                   Ca         e be                     i h a di g he i                    e e ai              f hi

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 Se e e . N hi g i                           hi Se e e                      i be c                 ed a di i i hi g                     he           i e affec i g
 a      e        e          i         ied a a              ,d         ,        c       ac a        b iga i             f HMA            KMA i c                  ec i
     ihCa             Vehic e .
                8.          HMA a d KMA                         a i         e e               c     i e           i         e e     a      addi i         a
 c           e a i fac i                     g d i                   ic ,           ga ,                ced e a hei di c e i                         ,a d        a
 e e dg d i c                             ide a i           i di id a C a                         e be            a ca e-b -ca e ba i , i h
  ega d              hei e i e e                         e ief       de he Se e e . N                                 ch g    d i deci i                 b HMA
 KMA, h               e e , ha ac                    de i e a C a                     e be             C ai a            f he be efi a ai ab e                       de
  he Se e e .
                9.          A         di        e c ce i g c e age                            de he Life i e Wa a                           ha be e                  ed
  h     gh a Be e B i e                             B ea ( BBB ) ad i i e ed a e a i e di                                           e e              i           ce .
 The C ai a                                  ide          i e             ice        HMA (f            H      dai C a          Vehic e )                 KMA (f
 Kia C a             Vehic e ) e             e i g a e a i e di                           e e           i . Af e ecei                   f he             i e          ice,
 HMA             KMA ha be e                            i ed a 30-da g d fai h e i d i                                 hich HMA              KMA ca c fe
     i h he C a                 e be i a a e                               e          e he c ai . If he c ai                   ca          be e             ed d i g
  hi        e i d, C ai a                  ha i i ia e a BBB ad i i e ed a e a i e di                                             e e            i             ce .
 Ca         C          e ha be                      ified f       h         gh            h        e                   ided b HMA--a d ha e he
  igh            a ici a e i a                       ch         ce . C a              C           e,h       e e , ha                 be b iga ed
     a ici a e. The BBB ad i i e ed a e a i e di                                                  e e         i         fee a d e          e e           ha be
 b      e b HMA                      KMA (a he ca e                       a be)           e       he       edia              a bi a         fi d ha he
 C ai a               c ai                eeb           gh i bad fai h. HMA a d KMA i                                          bea he c                    f he
 C ai a               a          e         fee b C a             C              e         he c             e e ec ed b              he C ai a , if a .
                10.         A         e         i       he L g F                    N ice, a           e ai            ef      ed            a              he
 Life i e Wa a                       bef e he               ice da e ha                   ec de he C a                      e be        h        ecei ed             ch
  e ai f                        i g          f he C a . F                       ake f c a i , a c a                     e be        h       ecei ed a ife i e
     a a              de a            e i           KMA eca i                          ec ded f                        i g          f hi Se e e .
                B.          R                       P            I
                1.          HMA ack                     edge ha he c                      ide a i                 ided i c j            ci               ihi
            a         afe        eca         f ce ai             de         ea 2011 a d 2012 S                        a a ehic e i               ab
 Se e be 2015 (NHTSA Ca                                    aig N                be 15V-568) a d i                             a      afe         eca           f ce ai
       de       ea 2013 a d 2014 H                          dai S          a a a d Sa a Fe S                           ehic e i         ab            Ma ch 2017


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 (NHTSA Ca                aig N             be 17V226), e e e                         a      f he c          ide a i             he C a       i
 e cha ge f              he e e e                   i    hi Ac i          .
              2.         HMA a d KMA ack                                 edge ha i Dece be 2018 a d Ja a                                2019, he
 i     ed a         be e           eca              f he a e ehic e ide ified i                       he a ag a h ab                e    i        ec a d
 c fi                   e ei       a ai                 f he f e           be i      de      add e           ca e gi e a i k f fi e
 (NHTSA Ca                aig               be 18V934000 a                         HMA; NHTSA Ca                      aig N       be 18V907000 a
      KMA). HMA a d KMA f                                he ack                edge ha , a e i ed b e i i g a , he a e each
 c d c i g he                       a           eca          i acc da ce i h NHTSA                       a da e .
              3.         HMA a d KMA ack                                 edge ha b Ja             a    2019, he each had i i ia ed
       d c i              e e        ca          aig         i      hich k         ck e       de ec i             ech         g c       d be added
  h         gh a f ee         f   ae            da e             he C a       Vehic e .
              4.         HMA a d KMA ack                                 edge ha C a          C          e            gh e ief f             e f he
 Ca         Vehic e           bjec              hi ag ee e                bef e a         NHTSA i             i             eca . A a e            ,
     eca          eei      ed f                 e ha 227,000 C a                    Vehic e .
              C.         R              R
              1.         T        he e e            a        C ai a , bef e ecei i g                     ice f hi Se e e , b ai ed a
 Q a if i g Re ai f                  aCa                Vehic e, he C ai a                 i be e i ed                  f      ei b      e e        b
 HMA (f             H      dai C a              Vehic e )            KMA (f          Kia C a          Vehic e ) f a             a da          ch
 e     e e i c            ed f         he Q a if i g Re ai , ega d e                          f he he he C ai a                         a a         igi a
           e , e ee               be        e            cha e                he he (f     Ca            e be               i h 2013 a d 2014
 H          dai S       a a a d Sa a Fe S                          ehic e a d 2011, 2012, 2013, a d 2014 Kia O i a,
 S e          ,     S         age ehic e ) he Q a if i g Re ai                               a c             e ed bef e          af e ecei i g
       ifica i          f NHTSA Ca                      aig N        be 17-V226 a d 17-V224                             e     he C ai a            a
      e i           ei b          ed f          a       a da             ch e      e e i c         ed,            ided ha :
                         a.            A C ai            i        b i ed            a e ha 90 da              af e he N ice Da e;
                         b.            The C ai              c      ai        ac      e ed C ai          F        ;
                         c.            The C ai              c      ai        aP     f f Re ai E             e ei c            ed b     he C ai a ;
                                       a d
                         d.            The P             f f Re ai E               e e ef ec          ha he                 k a c d c ed i a
                                       a e                   add e        a Q a if i g Re ai .



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             2.             Ca              e be                h     eea                e be              f he        i     e e e          ca         f 2011-2014
 H       dai S          a a (i.e. Me d a . H                             dai M               C ., N . 15-c -01685-BLF (C.D. Ca .) c a
         ai )a ea                      e igib e f               e ai ei b               e e                 de he e               f hi       ec i      f
 Q a if i g Re ai                      ha a           e af e he c ai                    ei de           i ed          de he e                f ha e e e .
             3.             F      C ai                   b i ed f            ei b           e e        f      Q a if i g Re ai                ef              ed a
 a h i ed H                      dai        Kia dea e hi , HMA (f                             H         dai C a            Vehic e ) a d KMA (f                      Kia
 Ca      Vehic e ) ha                       ake a          ea       ab       a ai ab e e                    ac i e f               he dea e hi             he
 i f      ai            ea         ab            ece a               a            e he C ai                  a e , he da e, a                 e, a d c
 cha ged f            he Q a if i g Re ai . I c                               ec i            ihe e i gi                     hi Se e e , HMA (f
 H       dai C a            Vehic e ) a d KMA (f                             Kia C a          Vehic e ) ack                   edge a d e e e                    ha
  he     h        d be ab e                 ac     i e ha i f                 ai        i      a       i     a ce , e ce           f             f ha c               f
  he Q a if i g Re ai                        a        aid b         he C ai a . C ai a                           ha         b a ia e he c              f         he
 Q a if i g Re ai ha he                                   aid i a        a e c               i e            i h he         eh d f a            e       he
 C ai a               ed.
             4.             C ai a                    h     aid f        he Q a if i g Re ai                          i h a c edi ca d ha                  b a ia e
  he c        f       he Q a if i g Re ai ha he                                    aid i h a e ai ecei                       f         he dea e hi
  h      i g hei             a         e , a c edi ca d ecei                       f          he dea e hi ,                 a c edi ca d a e e
  h      i ga a              e              he dea e hi . C ai a                              h        aid f          he Q a if i g Re ai                  i h a debi
 ca d         check ha                   b a ia e he c                   f         he Q a if i g Re ai                      i h a e ai ecei                f          he
 dea e hi           h        i g hei              a        e , debi ca d ecei                      f         he dea e hi , c ea ed check h                                i g
  hei     a       e              he dea e hi ,                      a ba k a e e                   h        i ga a           e         he dea e hi .
 C ai a               h          aid f           he Q a if i g Re ai                        i h ca h ha                b a ia e he c               f       he
 Q a if i g Re ai                      i h a e ai ecei                   f             he dea e hi               h     i g hei         a     e ,        if he d
        ha e        ch a e ai ecei , he C ai a                                     ha a e                   de       e a         f ej         ha he d
 ha e a e ai ecei                       f          he dea e hi                h        i g hei          a        e     a da            he     ecific d           a
 a             he         aid i ca h                      he dea e hi .
             5.             C          i e            i h he ab          e             ii      , e ai ei b                   e e            ha be               ided
 i e ec i e f he he Q a if i g Re ai                                               e ei c              ed a a a h i ed H                      dai       Kia
 dea e hi               e e he e.
             6.             E ce            i i       a ce           f E ce i           a Neg ec , ei b                     e e            ha be               ided
 C ai a           e e if a a                          c     e age a i i ia                   de ied f                he Q a if i g Re ai                   he

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 g         d ha i               a    ece i a ed b a fai                 e              e       e ice              ai ai          he ehic e.
 C           e         h            e e ed      aH           dai        Kia dea e hi , e e de ied a i - a a                                        e ai
     i           ecei i g             ice f hi Se e e , a d b ai ed hei Q a if i g Re ai e e he e, a e
 e i ed           c ai          a addi i a $140 g d i                           a     e .
            7.             C ai a             e i                 ei b          ed i f          i    a f              he e       e ei c            ed i
 c        ec i         i h a Q a if i g Re ai (e.g., h                              gh a HMA, KMA,                         dea e hi g d i
     a    e ) ha                    be e i ed            a ei b          e e               de hi Se e e                    f     ha           i         f he
 e       e ef          hich he ha e a ead bee                            ei b          ed. I     ead, he               i be e i ed                        ha
 a                f             ei b        e he     f       a Q a if i g Re ai , if a .
            D.             O           R        -R                 R
            1.             T        he e e     a         C ai a          i c          e e e,          ch a f               a e a ca                     i g
  e ice,               he            - f-    cke e e e ea                        ab        e a ed      b ai i g a Q a if i g Re ai f                                a
 Ca        Vehic e, he C ai a                   ha be e i ed                     f       ei b       e e               fa           i ge           e e
     he          - f- cke e e e ea                           ab        e a ed          b ai i g a Q a if i g Re ai , a d                                  $40
     e da f           e a ca e              e e if a          a e        ehic e a                   igi a                      ided b HMA                KMA
          ided ha :
                           a.          A C ai        i       b i ed i hi 90 da                      af e he a e                 f (i) he N ice Da e,
                                       (ii) he da e                hich he e           e ei i c           ed,              (iii) he da e he e e e
                                       i     aid;
                           b.          The C ai          c        ai    ac            e ed C ai       F           ;
                           c.          The C ai          c        ai    aP           f f Re ai -Re a ed E                      e e; a d
                           d.          The C ai          c        ai    aP           f f Re ai E          e e ha ef ec a Q a if i g
                                       Re ai        ef            ed i hi 30 da                 f he i c              ed e a ca                     i g
                                       e     e e.
            2.             Wi h e ec                 he ei b             e e          a ai ab e               a                he ab   e a ag a h,
 C ai a               ha             be e i ed            ecei e c               e ai          a a f              hei           - f- cke c
 i c       ed. F           e a        e, he ab e a ag a h ha                                e i e C ai a                               age a eged
 i c       ed d e           a i abi i               ge             f        a       ace f e               e                    ec e       he f                  f
 c        e e ia da age .
            3.             C ai a             e i                 ei b          ed i f          i    a f              e a ca                      i g
 e       e e f              i g a e gi e ei                  e, e gi e a , e gi e                    i e, e gi e c                 a      e       fi e,


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 i        i ai          f he i a               diag                  ed a e i i g e ai                        f he e gi e (e.g., h                      gh a HMA,
 KMA,              dea e hi g d i                        a           e ) ha                   be e i ed                a ei b             e e           de hi
 Se e e             f     ha          i         f he e                e ef            hich he ha e a ead bee                                   ei b        ed.
              E.         I                           D                 R              D
              1.         T     he e e           a            C ai a          i                a i c           e ie ced b                         ged de a
 (e ceedi g 60 da ) b ai i g a                                   Q a if i g Re ai f                           a a h i ed H                        dai      Kia
 dea e hi , he C ai a                         ha be e i ed                       ag           d i     a           e     ba ed                 he e g h f he de a
         ided ha :
                         a.          A C ai              i           b i ed i hi 90 da                        af e he a e                     f (i) he N ice Da e,
                                           (ii) he da e                     hich he e ai i c                                e ed;
                         b.          The C ai                c        ai     a ae e                     de            ahb          he C ai a            a e i g ha
                                     he          he fe i c                   e ie ced b               he de a ;
                         c.          The C ai                        ecifie he                 be     f da             he e ai                a de a ed a d
                                               ide                     i gd c                 e ai        .
              2.         The g d i                   a           e         i be ca c a ed a f                                   : $50 f        de a      a i g
 be ee 61 a d 90 da , a d $25 f                                       each addi i              a 30-da                e i d f de a                f ac i         he e f
 (e.g., a C a            e be             a    ecei e $50 f                  de a              a i g 61-90 da , $75 f                           de a       a i g 91-
 120 da , e c.).
              3.         ACa                  e be               a e ec           ecei e hi                   c         e ai              i     he f        f a dea e
     e ice ca d a ed a 150% f he a                                               ha             d     he          i e be aid                  de hi              ii    a a
 ca h debi ca d. The dea e e ice debi ca d                                                a           be          ed a a              a h i ed H                 dai
 dea e (f          H         dai C a          Vehic e )                a      a h i ed Kia dea e (f                                Kia C a            Vehic e ) i
     a    e             ad a              e cha di e, a ,                         e ice.
              4.         Ca          e be                    h        eea                 e be        f he              i        e e e           ca        f 2011-2014
 H        dai S         a a (i.e. Me d a . H                            dai M                 C ., N . 15-c -01685-BLF (C.D. Ca .) c a
           ai )a ea                e igib e f            c            e ai            f        he i c             e ie ce f de a ed e ai                          de he
  e           f hi      ec i       i c          ec i                 i h Q a if i g Re ai                         ha a           e af e he c ai              ei d
 e       i ed      de he e                    f ha e e e .
              5.         C ai a               ha ha e a ead                      ecei ed a g d i                            a     e    b HMA, KMA,                     a
 a h i ed H                  dai     Kia dea e hi                      f     a        de a d e                a Q a if i g Re ai                        i be i e igib e
 f       hi i c          e ie ce a              e .


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             F.         L         V                 S               T              -I V                                     L         E
             1.         C ai a            h bef e                  ice f hi Se e e                       e e ie ced a L                      E e                 a
  ec e f           he         . Th e C ai a                     h : (i) had a C a                Vehic e e              e ie ce a e gi e ei                              e,
 e gi e a , e gi e               i e, e gi e c                 a         e     fi e,     i        i ai              f he i a                  diag               ed a
  e i i g e ai               f he e gi e b ck, a d (ii)                        d        aded-i           he C a         Vehic e i h                     fi
      c i g he ec                e ded e ai , i be e i ed                                ei b            e e        b HMA (f                   H         dai
 Ca      Vehic e )            KMA (f         Kia C a            Vehic e ) f he ba e i e B ack B                                     k a e (i.e.,
     h e ae           ed ehic e a e) f he                      d             aded-i C a           Vehic e                   $140.00 a he i e f
         i         ac a a                ecei ed f                  he a e             ade-i                 ided ha :
                        a.       A C ai        i         b i ed                a e ha 90 da                   af e he N ice Da e;
                        b.       The C ai           c      ai        ac             e ed C ai            F      ;a d
                        c.       The C ai           c      ai        a             f f ae                ade-i a d a e ecei ed f                                     ae
                                         ade-i a           e a a               addi i a P                 f fL              E e .
             2.         A C ai a              ai e a ce hi                             ack he e f bef e he e ai diag                                         i
 (e ce        i i ed E ce i              a Neg ec ci c                       a ce ), ha                  be a ba i f                de i g              i ii g
 c       e ai                de hi       ec i . The                 ice, c e, a d a bi a i                              ii                f Sec i       III ha
 a       a d be a ai ab e                C ai a            h             if HMA (f               H           dai C a         Vehic e )               KMA (f
 Kia C a          Vehic e ) f hei ci c                   a ce                de hi       ec i        .
             3.         T     he e e         a C ai a           c        e d ha he ac a da age i c                                        ed e ceed he
  ei b        e e       a            a        ided i           hi     ec i         , he C ai a                                  ide         i e          ice
 HMA (f           H      dai C a         Vehic e )             KMA (f              Kia C a        Vehic e ) e                   e i ga e ai e
 di      e e           i . Af e ecei                f he            i e            ice, HMA a d KMA ha be e                                       i ed a 30-
 da g d fai h e i d i                    hich HMA                  KMA ca c fe                   i h he C ai a                      i a a e
  e      e he c ai . If he c ai                ca          be e                ed d i g hi               e i d, C ai a                     ha i i ia e a
 BBB ad i i e ed a e a i e di                            e e             i             ce . The              edia               a bi a              ha ha e
  he abi i              ake he fi a de e                i ai         ega di g he a                             be aid                 a      C ai a                  h
 e ec     hi          ce . C a           C      e ha be                      ified f         h        gh            h           e                   ided b
 HMA           KMA           a d ha e he igh                    a ici a e i a                    ch          ce . C a                C         e,h               e e,
  ha           be b iga ed               a ici a e. The BBB ad i i e ed a e a i e di                                                  e e           i        fee
 a de e e               ha be b          e b HMA                   KMA (a he ca e                     a be)             e           he     edia
 a bi a           fi d ha he C ai a                     c ai             eeb           gh i bad fai h. HMA a d KMA i


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 bea he c                     f C ai a               a             e      fee b C a                   C         e            he c                  e e ec ed b             he
 C ai a , if a .
               4.            Ca             e be               h         eea                 e be          f he         i            e e e              ca         f 2011-2014
 H         dai S            a a (i.e. Me d a . H                           dai M                    C ., N . 15-c -01685-BLF (C.D. Ca .) c a
           ai )a ea                  e igib e f             c            e ai                   de he e                 f hi          ec i          f    L          E e
  ha a          e af e he c ai                      e i de              i ed        de he e                  f ha e e e .
               5.            C ai a                  e i                 ei b              ed i f           i       a i c                  ec i           iha ae
     ade-i f                 i g a e gi e ei                           e, e gi e a , e gi e                      i e, e gi e c                     a      e        fi e, e gi e
 c         a        e       fi e,       i           i ai               f he i a                 , ca ed b a c                    ec i g            d bea i g fai           e
                    a         cia ed i h c                 ec i g             d bea i g fai               e, b      e c di g E ce i a Neg ec ,
 diag          ed a e i i g e ai                           f he e gi e (e.g., h                        gh a HMA, KMA,                               dea e hi g d i
     a     e ) ha                   be e i ed                  a ei b              e e                de hi Se e e                         f       ha          i       f he
 e       e ef                hich he ha e a ead bee                                ei b             ed. I ha be Defe da                                 b de
 e ab i h ha a                      i           ei b        e e                   e e di ec            e a ed           ac            ec i g            d bea i g fai           e
                        .
               G.            L              V              B E                     F
               1.            T      he e e            a        C ai a                  ffe a                f ehic e b e gi e fi e di ec                                  ca ed
 b       he C a             Vehic e fai              eai i gf                      a ehic e c di i                    ha                   d ha e         he        i e bee
 add e ed b a Q a if i g Re ai , he C ai a                                                        i be e i ed                    a         e       b HMA (f
 H         dai C a            Vehic e )              KMA (f               Kia C a               Vehic e ) f he                   a i               B ack B           k a e
 (i.e.,        i ae a             / e           g   d) f he C a                   Vehic e a he i e f                                   i           ac a        a e ecei ed
 (if a )                    a addi i a $140 g d i                                  a        e             ided ha :
                             a.             A C ai         i            b i ed                  a e ha 90 da                 af e he N ice Da e                           ,f
                                                    e i c              ed af e he N ice Da e,                           a e ha 90 da                         af e he e gi e
                                            c        a         e        fi e cc             ed;
                             b.             The C ai               c     ai       ac                e ed C ai       F            ;
                             c.             The C ai a                    b i P                   f fL          E e          f        he C a            Vehic e; a d
                             d.             The C ai               c     ai       d c            e ai       e ab i hi g ha he fi e                                 igi a ed
                                            f        he e gi e c                       a        e     a d a                 e a ed             a               fc      ii       .
               2.            T      he e e            a C ai a                c        e d ha he ac a da age i c                                        ed e ceed he
         a ei b             e e      a                a                ided i          hi       ec i , he C ai a                                        ide         i e         ice


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      HMA (f            H        dai C a    Vehic e )                      KMA (f             Kia C a            Vehic e ) e e i g a e a i e
 di          e e            i . Af e ecei                 f he              i e            ice, HMA a d KMA ha be e                                  i ed a 30-
 da g d fai h e i d i                      hich HMA                        KMA ca c fe                      i h he C ai a              i a a e
  e          e he c ai . If he c ai              ca                   be e            ed d i g hi                   e i d, C ai a           ha i i ia e a
 BBB ad i i e ed a e a i e di                                     e e            i           ce . The                edia             a bi a         ha ha e
  he abi i                  ake he fi a de e                  i ai           ega di g he a                             be aid           a       Ca             e be
     h e ec            hi        ce . C a        C                e ha be                    ified f            h      gh         h         e                   ided
 b HMA                 KMA a d ha e he igh                                  a ici a e i a                       ch         ce . C a             C      e,
 h      e e , ha                 be b iga ed                  a ici a e. The BBB ad i i e ed a e a i e di                                                  e
  e          i        fee a d e      e e         ha be b                    e b HMA                KMA (a he ca e                      a be)           e        he
      edia             a bi a       fi d ha he C ai a                                 c ai             eeb           gh i bad fai h. HMA a d
 KMA i                      bea he c             f C ai a                    a         e       fee b C a                C         e             he c            e
  e ec ed b            he C ai a , if a .
                 3.         A     ei b       e e              f                  f ehic e b e gi e fi e                      de hi          ec i           ha
 be c                 ed a a ai e           e ea e f c ai                         f    dea h            e            a i j    .
                 4.         N hi g i       hi     ec i                 ha        e i e HMA                  KMA                   ide f         he              fa
 Ca      Vehic e d e               a e gi e fi e ca ed b a c                                 i i            a         ce     he ha          he e gi e.
                 H.         R        P
                 1.         T    he e e      a        Ca                   e be            e fai h i            hei C a       Vehic e a a e                         f
  hi Se e e , he C a                        e be                  a         ee        a c ai       f    a eba e af e e i g he C a                              Vehic e
 i a a                 e g h a ac i                           ided ha :
                            a.      The C a                   e be (a) e e ie ced a e gi e fai                                    e     e gi e
                                    c       a         e        fi e, a d (b)                 cha e a e ace e                      H         dai ehic e (f
                                    H       dai C a                    e be )                Kia ehic e (f              Kia C a             e be );
                            b.      A C ai        i            b i ed i hi 90 da                                f he N ice Da e;
                            c.      The C ai              c           ai    ac             e ed C ai             F      ;
                            d.      The C ai              c           ai    a ae e                     de        a h ha he C ai a                          fai h i
                                     he C a       Vehic e;
                            e.      The C ai              c           ai    a          f f ae                   ade-i a d a e ecei ed f                             ae
                                           ade-i ;



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                            f.               The C ai             c     ai                    f f       cha e f a e ace e                   H      dai        Kia
                                              ehic e.
           2.               Thi eba e i a                         a ai ab e               a     Ca           e be          h , af e he N ice Da e,
 e      e ie ce a e gi e fai                            e        fi e i a C a              Vehic e,          e fai h i        hei C a           Vehic e, a d
 c        ee a                he         e                  a if f          he eba e, i c di g he                          cha e f a e ace e
 H       dai           Kia ehic e,                          ided ha he C a                      e be         b i a C ai                 i hi 90 da             f he
 e gi e fai             e        fi e.
           3.               The a                       f he eba e ha be ca c a ed a ac a                                             b c         ai g ae
 d c      e ai                     he         a i                B ack B k a e (i.e.,                        i ae a         / e        g d) f he C a
 Vehic e a he i e f he K                                    ck Se            De ec i                S   e    ca       aig    a        ch           he f         i g
 a             :
                            a.               F              de     ea 2011-2012 C a                     Vehic e : $2,000
                            b.               F              de     ea 2013 a d 2014 C a                       Vehic e : $1,500
                            c.               F              de     ea 2015 a d 2016 C a                       Vehic e : $1,000
                            d.               F              de     ea 2017, 2018, a d 2019 C a                             Vehic e : $500
           I.               C                    A                                        N
           HMA a d KMA ha be e                                               ib e f            a c           fCa             ice a d e e e
 ad i i            ai       . I          e e            ha P ai iff C                           e         he C a       be e             ib e f      a     c
 a      cia ed i h C a                            ice            e e e               ad i i         ai . Ca            C      e e ai              he igh        a di
 a d e ie               he ad i i                ai           f C ai         .

 III.      CLAIMS ADMINISTRATION
           1.               HMA a d KMA ha e he                                       i        f e f-ad i i a i g                     e ec i g a hi d- a
 ad i i            a                ce               b i ed c ai                 .
           2.               C ai                 b i ed                  a                hi Se e e               a be        b i ed, a he e ec i                     f
  he C ai a , b U.S.                             ai , e ai ,            h            gh he dedica ed e e e                        eb i e di c           ed be         .
 The      ai i g add e               a d e ai add e                                   hich C ai a                 a        b i C ai          ,a     e a
 C ai a                 igh              b i hei C ai                        h            gh he e e e                  eb i e, ha be                ed
         i e            i each f he f                             i g    ca i             : he L g F                  N ice, he Pa              he (      ce
     e a ed a d a                  ade a ai ab e bef e he Effec i e Da e                                          he e e e                  eb i e), he C ai
 F       , a d he dedica ed e e e                                       eb i e. The                     .h    dai a.c             /     h       dai eb i e
  ha               ide a i k                 he dedica ed e e e                                eb i e f      H         dai C a         Vehic e acce ib e

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 f          i h         e age. The                   .         e .kia.c               eb i e ha                       ide a i k            he dedica ed
     e e e              eb i e f      Kia C a             Vehic e acce ib e f                              i h        e age.
             3.           The C ai            F           ha               ide a          i        f        C ai a               i dica e a              efe e ce f
 c            ica i            ia eg a U.S.                   ai i     ead f e ai . If HMA                             KMA ha a e ai add e
 f     a C ai a           a d he C ai a                   did         i dica e             he c ai              f        ha he             he        efe
 c            ica e ia eg a U.S.                          ai , HMA a d KMA ha                               e         d b e ai . I i                     a ce i
     hich U.S.           ai i       ed, HMA a d KMA ha                              e         d            i g he add e                    ided               he
 c      e         di g C ai          F         .
             4.           U          ecei          f a C ai , Defe da                             hei Se e e                  Ad i i             a            ha
     e ie    he C ai                de e        i e he he he C ai                         ee a                  a ifica i         f        a         e        e f           h
 i     hi Se e e                Ag ee e            a d, if           , he a                   f he ei b                 e e               ed.
             5.           Wi hi 60 da                    f ecei i g a C ai , Defe da                                     hei Se e e
 Ad i i           a           ha           ide           i e          ice          he C ai a                    h      b i ed i ,               if i g he
 C ai a            f:
                          a.             he a              , if a , ha HMA                        KMA                    e            ei b           e he C ai a
                                           de hi Se e e ;
                          b.             he ba i f             HMA                 KMA deci i                         ei he de                   a        e        ha a
                                      f         ei b           e e         (if a        icab e); a d
                          c.             he C ai a                   igh        a e                c ea               deficie c           ha ed               HMA
                                           KMA                        a         a ad e                 ha f            ei b       e e .
             6.           I     e          e         ecei i g he                i e           ice           de ec i           III.5, C ai a                        a :
                          a.          A e                     c e he deficie c                 a ed a j                ifica i        f          a a di g a
                                      f         ei b           e e ,b               b i i g he i f                      ai       a d/           d c           e ai
                                      ide ified b HMA                           KMA a acki g i                        he C ai , i hi 35 da                              f
                                         ecei            f he        i e           ice. Defe da                         hei Se e e
                                      Ad i i              a          ha ha e 35 da                     f            he da e f he c e a e
                                               ide        i e             ice       he C ai a                       a i g i fi a de e                i ai           a
                                         he        a ei b             e e               be aid               he C ai a           a d he ea                     f            he
                                         ei b            e e     a              if e          ha           e e ed;




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                            b.           Acce             he a ia ei b                     e e           ffe ed b HMA                     KMA, hich
                                         acce a ce i be                       e            ed if         c ea e               i ecei ed b HMA
                                         KMA i hi 35 da                           f he da e f he                  i e              ice.
                7.          Wi hi 60 da                       f ecei      f HMA                     KMA fi a de e                    i ai          f a C ai ,
 a      C ai a             di a i fied i h HMA                            KMA de e                       i ai         a       eek a bi a i           h         gh a
 BBB ad i i e ed a e a i e di                                     e e             i            ce       b        if i g HMA                KMA (a he ca e
      a be) i              i i g ha he C ai a                        e e              a bi a i          . HMA a d KMA ha
        ide c ie                fa          ch e e                   Ca       C             e . Af e ecei                 f he C ai a                    i e
       ice, HMA a d KMA ha be e                                      i ed a 30-da g                     d fai h e i d i             hich      c fe         i h he
 C ai a              i a a e                        e         e he c ai . If he c ai                     ca       be e             ed d i g hi            e i d,
 C ai a              ha i i ia e a bi a i                            ceedi g h                 gh a BBB ad i i e ed a e a i e di                                e
  e         i              ce . The a bi a i                      ha      ake          ace b             i e      b i i                 iha ee h          ic
 hea i g              cc        if he a bi a                  de e      i e i i            eeded. The a bi a                       ha ha e he abi i
      ake he fi a de e                   i ai            ega di g he a                              be aid        a       C ai a             h e ec        hi
       ce . HMA a d KMA ha                                        ide C a             C         e       i h c ie          fa        c          ica i
 c ce i g                  ch a bi a i                  e ie , a d C a                C         e ha ha e he igh                           a ici a e i a
      i e            b i i                  e e h ic hea i g. C a                          C        e,h         e e , ha                  be b iga ed
     a ici a e. The e                 e ef              each      ch a bi a i                  e ie         ha be b            e b HMA (f            H          dai
 Ca         Vehic e )             KMA (f                 Kia C a        Vehic e )               e        he a bi a            fi d ha he C ai a
 c ai            eeb             gh i bad fai h. HMA a d KMA i                                                bea he c                  f C ai a
 a       e           fee b C a               C            e          he c              e e ec ed b              he C ai a               (if a ).
                8.          O a                 h       ba i begi         i g 30 da                 af e he N ice Da e, HMA a d KMA
  ha                 ide C a         C          e        ihac             f each fi a de e                     i ai            ice e        b HMA a d
 KMA                   a             ec i       III.5., a         g i h he C ai                     F         a da        he d c            e ai
 a      cia ed i h he C ai .
                9.          F        each C ai                 a if i g f         a ei b                e e      a        e          de hi Se e e
 Ag ee e , HMA (f                           H           dai C a       Vehic e ) a d KMA (f                       Kia C a            Vehic e ) ha               ai
  he C ai a , a he add e                                      he C ai     F            ,       a e ha 30 da                   af e he Effec i e Da e, a
 check           a ei b              e e         debi ca d, a he C a                           e be            e e . The debi ca d                         ided
      de hi Se e e                          ha be edee ab e f                         a ea              e ea , i h             a        fee cha ged b



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 HMA, KMA,                          he debi ca d i            e , a ATM a d                  e cha            ha acce            Vi a ca d . The debi
 ca d         ha i dica e hei                      eb        da e              hei face.
              10.           The a e f a                     debi ca d ha              e ai         he         e         f HMA             KMA                   e
 a d          i i i e e ded b                     he C ai a . U                      e iai               fa       debi ca d, a                    e       e ded
 f d          ha bec                e he e         a e               e          f HMA          KMA.
              11.           The Pa ie ack                     edge a d ag ee ha a                        a da               ii      , igh ,                   be efi
 c fe ed b a                        a       fa        ae         e i              f he U.S.,              a       i ci e f c                              a , ha
            ide f       h           e id a a                  i a e e e                f     d h           d be di ib ed, i c di g, b
  i i ed           , Ca if              ia C de f Ci i P ced e ec i                           384(b), a e               a        icab e           hi
 Se e e             Ag ee e . A h                       gh he Pa ie e                  e       ag ee ha hi Se e e                         i               g e ed
 b Ca if             ia C de f Ci i P ced e ec i                                  384(b)             he i i a a                   a dd e                      c ea e a
     e e e          f       d           a          aid e id e, he C a                       Re e e a i e                    beha f f he                   e e a d
  he C a             e be                   e he e      e        e        ack          edge a d ag ee ha ,                       he e e               e       i ed b
  a , he a e ai i g a                                 ec i           f Ca if          ia C de f Ci i P ced e ec i                                 384(b) a d
     fa       c         a ab e a                        c                 a           i i       fa            he j i dic i .
              12.           The Pa ie ack                     edge a d ag ee ha he f                               fc        e ai                 e f          hi
     ec i         II.C, II.D, II.E, II.F, II.G, a d II.H d                             c       i         e gif ca d , gif ce ifica e ,
      e be e a d ca d                            de a        fede a a d/               ae a          .
              13.           N hi g i              hi Se e e               Ag ee e             ha be ead                     e e     HMA                   KMA
 f          e ec i g, a i                   e di c e i        a d             a ca e-b -ca e ba i ,               i         e e               c           i     e
 i          e e     a           c           e a i fac i               g        d i          ic ,          ga ,               ced e a i di c e i                        ,
  ha              ide c             ide a i          Ca              e be             e a d ab            e ha e i ed b               hi Se e e ,
     ih           ega d             he C a           e be            e i e e                 e ief        de he Se e e . N                                ch
 e ec i           b HMA                  KMA, h            e e , ha ac                de i e a C a                 e be            C ai a                 fa           f
  he be efi a ai ab e                        de he Se e e .
              14.           U e              he      i e      ecified, a          e          f hi Se e e                Ag ee e               a                 ca
      e be          f he            i       e e e           ca       f 2011-2014 H                 dai S        a a (i.e. Me d a c a
             a i ).




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 IV.         NOTICE TO THE CLASS
             A.                CAFA N
             1.                I c            ia ce i h he a                     e ge e a           ifica i             ii            f he C a         Ac i
 Fai e           Ac , 28 U.S.C.                 1715, HMA a d KMA ha                                 ide        ice f hi Se e e                            he
 A           e Ge e a                   f he U i ed S a e , a d he a                      e     ge e a         f each a e                  e i         i
     hich a C a                    e be e ide .
             B.                N           D
             1.                N        a e ha        he N ice Da e, HMA a d KMA ha ca e                                             ice        he C a
 be di e i a ed b U.S.                            ai , e ai , a d he dedica ed e e e                                 eb i e ( i h a i k                he
 dedica ed e e e                             eb i e f                      .h     dai a.c       /     h        dai (f       H          dai C a
 Vehic e )                          .        e .kia.c                (f    Kia C a     Vehic e )). The f                   a d        b a ce f a
       ice                ided b HMA a d KMA                               Ca        e be       ha be           bjec             i     i         a d
 a           a f           Ca            C        e.
             C.                I                  C          N             M
             1.                F          i g he C                   ga i g         ei i a      a          a     f hi Se e e , Defe da
       hei Se e e                       Ad i i        a              ha          ide b di ec U.S.             ai ,      a    ea            ab    ide ifiab e
 Ca              e be , each f he f                              i g: (i) he L         gF        N ice a d (ii) a C ai                     F      . F
             e     f ide if i g he e i i e a e a d add e e , Defe da                                                        hei Se e e
 Ad i i           a            ag ee                  ide,            he e e       he ha e           a ead d            e     ,a           a e a d
 add e e              fCa               Vehic e           e ,a             g ihCa           Vehic e VIN ,              R.L. P k & C                    a ,
 a i i a hi d- a                         e i , h             ha be a h i ed                     e ha i f              ai              b ai       he a e
 a d              c        e       add e e            fCa             Vehic e         e     h       gh a e age cie . Beca e                            e ae
  e i ea              i        c             de bef e ehic e                      e a d e ee i f               ai       ca be e ea ed,                     ch
 i f         ai            a             be a ai ab e                 i af e he        ei i a        a          a       de i e e ed. P i
      ai i g i di id a                    ice, Defe da                         hei Se e e        Ad i i          a          ha c d c a
 add e           ea ch h                 gh he U i ed S a e P                     a Se ice Na i               a Cha ge f Add e                    da aba e
         da e he add e                    i f      ai            f        Ca    Vehic e         e . F          each i di id a                   ice ha i
  e       ed a             de i e ab e, Defe da                                hei Se e e        Ad i i a                    ha            e i be eff
      c d c a ad a ced add e                                 ea ch             i g HMA a d KMA c                            e da aba e i f                  ai
  ega di g he C a                       Vehic e              e            b ai a de i e ab e add e .




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                2.               Addi i               a        , Defe da                    hei Se e e                    Ad i i           a             ha           ide b
 e ai ,           a Ca                        e be f                     hich HMA a d KMA                               ai ai e ai add e e , a h                           e i k
  he dedica ed e e e                                        eb i e di c            ed be                a d e ec               ic e i               f he L g F
 N ice a d C ai                       F                f            i g he C                 ga i g                 ei i a          a           a        f hi Se e e .
                3.               Defe da                            hei Se e e                   Ad i i             a          ha each              ai ai a dedica ed
  e e e                      eb i e               he c          e     a dd          ai            a e f             ch a e          bjec             i    Ca          C            e
 a           a               hich i c                       ai : (i) i             ci                  h                b ai     ei b           e e           ; (ii) a
      echa i             b           hich C ai a                     ca        b i C ai                    e ec          ica        ; (iii) i            ci               h
 c        ac Defe da                                  hei Se e e               Ad i i a                         f       a i a ce i h hei C ai                            ; (i ) he
 L gF                    N ice; ( ) he Pa                            h e ; ( i) he C ai                    F            ; ( ii) hi Se e e                     Ag ee e ; ( iii)
 a          de i                 ed i             hi Ac i            a         i g               di a               i g f he                    ed e e e ; a d (i )
 a          he i f                   ai               he Pa ie de e                i ei ee a                            he Se e e . Defe da                                   hei
 Se e e                  Ad i i                   a            ha        ake he a e i f                         ai        a ai ab e             Ca            e be            h         gh
           .h        dai a.c                      /        h        dai a d                  .         e .kia.c                ia i k               he dedica ed
  e e e                      eb i e (a a f                           he       echa i               f        b i i g C ai                   ).
                4.               Defe da                            hei Se e e                   Ad i i             a          ha be            e a ed, h             gh
 Defe da                     c            e e ice de a                         e        ,         e         d             e i           ega di g he a                         f
         b i ed C ai                 ,h                        b i a C ai , a d                        he a ec               f hi Se e e . Defe da
  hei Se e e                         Ad i i a                         ha       ai ai a dedica ed                               -f ee e e h           e           be f         Ca
      e be               ca . The e e h e                                     be        ha be i ed                        he L g F                  N ice, Pa                 he,
 C ai       F            , a d he dedica ed e e e                                           eb i e .
                5.               F        a e i d e di g 90 da                              af e he N ice Da e, Defe da                                         hei Se e e
 Ad i i              a               ha                    ide C a        C         e            i h ea             ab e e i dic e                        f he        a                be
     f      ice          e           Ca                    e be b U.S.                      ai a d e ai , a                    g i h he                  be       f        ice
  e         ed a                 de i e ab e. The C ai                         Ad i i                  a        ha c                    ica e i h C a                 C           e
  ega di g de i e                             f        ice a d he                  be            fCa            e be             h ha e e                     ded          he           ice.
                6.               F                i g he Effec i e Da e f he Se e e                                            Ag ee e , Defe da                                  hei
 Se e e                  Ad i i                   a            ha          ide a c                     f he c            a            e i           f he Pa           he b
 di ec U.S.                  ai           a           f HMA a d KMA                              e ec i e ea                   ab       ide ifiab e C a                    e be .
 Defe da                          hei Se e e                        Ad i i          a              ha           e he a e a d add e                        i f         ai



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 c          i ed h             gh he e                   de c ibed i           ec i        IV.C.1 a d he c ai                                      ce                a                    he
 Se e e                  Ag ee e .
                7.             Addi i            a       ,f          i g he Effec i e Da e f he Se e e                                              Ag ee e ,
 Defe da                       hei Se e e                      Ad i i          a           ha each                       ide a e ec                     ic e i                   f he
 Pa         h e b e ai                       a        fi Ca               e be f                   hich HMA a d KMA                                 ai ai e ai
 add e e . The Pa ie                                 a        b ica        e ea e a d a                          ce he fac a d e                                f he e e e ,
      bjec               he Pa ie eachi g                             a        i e c           e                 he c            e         f he             e       e ea e                i
 fi i g f                ei i a              a            a . E ce i g                  ch a             ce e                a d he E hibi                           hi
 ag ee e , ei he he Pa ie                                            hei C                e ha i             e(          ca e a                     he Pe                            i        e)
 a          he           e         e ea e c              ce i g hi Ag ee e                           he e e e                            e f        h he ei ,                    e
      he        i e ag eed               i           i i g a d ei he he Pa ie                                hei C                   e ha               ake (            ca e a
      he Pe                         ake) a                ae e            fa          ki d          he           e       c ce i g hi Ag ee e                                                   he
  e e e                  e f        h he ei , e ce                   ha a Pa                Pa               c           e           a     e            d       a i              i        f
 a     e be              f he        e        b (a) di ec i g he                      e be         f he              e           a        b ic e                ce           e ie
     b ai a c                  f hi Ag ee e                           he C a          N ice             (b) b                            i g addi i a i f                                ai
  he        e be             f he            e ,              ided ha he e                   di g Pa                     i               ide        ch addi i                a
 i f         ai                he        he Pa ie a                                   a     ac icab e. A Pa                                Pa               c        e ha
           ide           ice        he           he Pa ie bef e e                          di g          a           e       i       i         he e e ea                         ab
           ib e. If            ch        ice ca                 ea        ab       be          ided bef e e                              di g           a       e    i           i , he
  e          di g Pa                     Pa              C       e ha                 if     he      he Pa ie                                       af e e                   di g
  he        e        i       i . Thi               a ag a h d e                       e e      Ca            C               e f           c                    ica i g i h
 i di id a c a                      e be ab                     he Se e e .
                8.             Begi           i g             a e ha                  eek af e he Effec i e Da e, HMA a d KMA ha
           ide i b h ha d c                               a d e ec             ic f                he Pa             he              each f i a h i ed
 dea e hi , i h i                                ci            di e i a e he Pa                     he               a           e              h           ee           aCa
 Vehic e f                   ai e a ce                    e ice f a                       ea di f                ai              ega di g HMA a d KMA
       d c i                   e e            ca         aig , i c di g he f ee k                       ck e                     de ec i                f ae                 da e.

 V.             ATTORNEYS FEES AND SERVICE PAYMENTS
                1.             P ai iff , h                   gh C a       C              e , ha         eii                 he C              f        a a              e               fee
 a a d, c                a a d, a d f                    Ca     Re e e a i e e ice a                                     e       . A               eii          b P ai iff ,
  h        gh C a              C         e , ha be i c                    i e fa a                  e            fee a d c                 a ad                 gh               beha f f

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 P ai iff C                       e , i c di g a               a              e         c       e                   e i             affi ia ed i h h e a
 fi        .
                2.            The         a a                  fa                 e         fee e e ed i be eg ia ed b                                        he a ie a a
  a e da e. If he a ie a e                                 ab e        ag ee                    he e e ed a                              fa          e       fee , he
     a ie        i         b i he i                  e      he C              .
                3.            S bjec                e        f he Fi a A                             a O de a d J dg e                                   a          ec i
 VII.C, HMA a d KMA i                                                    e,            de       i e,                ici        he                   e          de           i e
 Ca            Re e e a i e e ice a                                e      i           he a                 f each.
                4.            HMA a d KMA ag ee                                   a         he a           e         fee , c            , a d e ice a                   e
  e aaea da a f                               , a d i addi i                       , he e ief                       ided           he C a .
                5.            HMA a d KMA ha                             a Ca                   C         e he fee , e e e , a d e ice a                                          e
 a a ded b                he C                 i hi       he a e         f hi                (30) da            f           i g (i) he Effec i e Da e                           (ii)
  he fi         da e af e he C                           e e a            de a a di g fee , e                              e e , a d e ice a                        e        ,a d
 a a e a e igh                        i h e ec                     aid            de ha e e i ed                          bee e ha             ed i          ch a       a e a
      affi           he       de . Wi hi                 h ee (3) da               f            i g (i) he Effec i e Da e                           (ii) he fi          da e
 af e he C                    e e a                     de a a di g fee , e                         e e , a d e ice a                          e     ,a da a e ae
  igh           i h e ec                      aid        de ha e e                i ed          bee e ha                  ed i          ch a       a e a            affi               he
      de , C a            C         e ha                    ide HMA a d KMA, f                                 each a ee, a W-9, i e i                              ci
  hei fi             e e head f                 he a           e          Ca                C         e        f fee , e           e e , a d e ice a                        e
 a a ded b                he C            .

 VI.            MUTUAL RELEASE
                1.            U          e               faC              de g a i g fi a a                                    a     f he Se e e               a de e i g
 j dg e                       a               ec i        VII.C be                , Re ea                 i e cab                  e ea e, ai e, a d di cha ge
 a      a da              a ,       e e ,a df                  e iabi i ie , c ai                         , ca e           f ac i        , ega c ai           , da age ,
 c         ,a         e           fee ,             e,      de a d ha ha e bee b                                          gh        c     d ha e bee b                  gh ,
      he he k                            k               ,e i i g                      e ia ,                       ec ed                      ec ed e a i g                Ca
 Vehic e agai                     Re ea ee , he he                                          ecifica             a ed he ei , a e ed                            a e ed,
      de                      a       a              a     e, eg a i , c                                  a ,             e i ab e            i ci e, ba ed                 (i) he
 fac a eged i a                      c              ai     fi ed i       he Ac i                    a da            ega c ai             f ha e e               e
 de c i i             aii g                    f, ha         a ha e a i e a a e                                      f,            hich c          d ha e bee b                  gh
 ba ed           ,a           f he fac , ac , e e                      , a ac i                      , cc            e ce , c             e        fc d c,

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  e e e ai             ,      i i           , ci c         a ce           he         a e           eaded i c                    ai       fi ed i            he
 Ac i       , (ii) i c                     i , i          ai e a ce, e gi e e ai                          e ace e                 e a ed               i
     ai e a ce f            he C a          Vehic e , e gi e d abi i                   e a ed                i       ai e a ce f                  he C a
 Vehic e ,            ehic e fi e           igi a i g i       he e gi e c                 a        e             (iii)     a ke i g               ad e i i g
 f       he i c               i , i             ai e a ce, e gi e e ai                             e ace e                 e a ed             i
     ai e a ce f            he C a          Vehic e , e gi e d abi i                   e a ed                i       ai e a ce f                  he C a
 Vehic e ,            ehic e fi e           igi a i g i       he e gi e c                 a        e . The Se e e                        Ag ee e                 a d
  e ea e d              e ea e c ai            f     (i) dea h, (ii) e               a i j             , (iii) da age                a gib e                 e
     he ha a C a            Vehic e,               (i )     b ga i .
               The e ea e effec ed b                 hi Se e e            Ag ee e              i i e ded                   be a       ecific e ea e a d
         a ge e a e ea e. If, de i e, a d c                           a           he Pa ie i e i , a c                               c                e he
  e ea e a a ge e a e ea e                         de Ca if       ia a a d de e                    i e ha Sec i                   1542 f he
 Ca if         ia Ci i C de i a               icab e         he e ea e, he C a                 Re e e a i e ,                         beha f f
  he       e e a da Ca                      e be , he eb e                    e        ai e a d e i                      ih       he f            e e e
     e    i ed b      a , he igh                     ided b Sec i                 1542 f he Ca if                    ia Ci i C de, hich
          ide :
               Ce ai C ai               N      Affec ed B Ge e a Re ea e: A ge e a                                            e ea e d e
               e e d        c ai           ha he c edi                    e ea i g a                   d e                                        ec
               e i i hi            he fa             a he i e f e ec i g he e ea e a d ha , if                                                         b
               hi      he ,             d ha e a e ia             affec ed hi                 he        e e e               i h he deb
                e ea ed a          .
 Each f he C a                Re e e a i e e                      e           ack         edge           ha he C a                   Re e e a i e ha
 bee ad i ed b C a                     C       e      f he c          e       a d effec            f Sec i               1542, a d        ihk                    edge,
 each f he C a              Re e e a i e he eb e                          e           ai e ,             beha f f he C a                  Re e e a i e
 a da Ca                e be ,              ha e e be efi             he C a         Re e e a i e a d he C a                                          e be         a
 ha e had               a               ch ec i           . Each f he C a                 Re e e a i e he eb e                                    e          ai e ,
         beha f f he C a               Re e e a i e a d a C a                         e be , he be efi                          fa        a            fa          ae
         e i          f he U i ed S a e , fede a a                                  i ci e f c                            a ,            fi e ai a
 f eig          a ,    hich i          i ia,c              a ab e,        e        i ae            Sec i            1542 f he Ca if                         ia Ci i
 C de.



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            2.              P ai iff a d he C a                           e be      ec g i e ha , e e if he                          a e di c e fac
 i addi i                       diffe e       f            h e hich he                     k               be ie e           be        e, he
     e e he e             ag ee ha ,                   e          f he Fi a A                  a O de a d J dg e , Re ea                                  f      ,
 fi a       , a d f e e e e a d e ea e a                                   a da     ega c ai           agai            Re ea ee . The Pa ie
 ack            edge ha hi                  ai e a d e ea e e e ba gai ed f , a d a e                                       a e ia e e e                  f he
 Se e e .
            3.              B     hi Se e e                   Ag ee e , HMA, KMA, HMC, a d KMC, e ea e he
 P ai iff a d P ai iff C                                   e f        a     a d a c ai                ca e             f ac i        ha           e e,     c      d
 ha e bee , a e ed b HMA, KMA, HMC, a d KMC, e ai i g                                                                  hi Ac i                    Se e e .
 HMA, KMA, HMC, a d KMC, ec g i e ha , e e if he                                                      a e di c              e fac i addi i
 diffe e         f              h e hich he                       k              be ie e        be         e, b h e i ie               e e he e               ag ee
  ha ,               e           fa         de g a i g fi a a                      a        hi Se e e                   a d e e i g j dg e ,
 HMA, KMA, HMC, a d KMC, f                                        , fi a      , a d f e e e e a d e ea e a                              a da              ch
 c ai       . The Pa ie ack                            edge ha hi            ai e a d e ea e e e ba gai ed f , a d a e
     a e ia e e e                  f he Se e e .
            4.              Thi Se e e                     a d he e ea e i           he        ecedi g a ag a h d                         affec he igh
     fCa             e be             h     i e         a d           e      e     e e c          i    f           he C a ,               a          e
 e c         a ed i hi                    he c a        defi i i           e f     hi      he c            ai      i       hi Ac i                 h ae           a
     e be            f he C a         defi ed i             hi Se e e             Ag ee e , i c di g b                                i i ed             he
     a ed        ai iff a d                 ai eca                 e be i F ahe                  ha a e                e     e            a ed, ide ified,
      e c            a ed i        hi Se e e                     Ag ee e . The Pa ie d                            i e d hi Se e e
 Ag ee e              a d e ea e              affec a              ega c ai         ha a i e                fac                  e            cha e              e
     fa         ehic e          he ha a C a                  Vehic e. The Se e e                  Ag ee e                  a d e ea e d                    e ea e
 c ai       f        (i) dea h, (ii) e                  a i j         , (iii) da age            a gib e                e         he ha a C a
 Vehic e,                (i )     b ga i           .
            5.              The ad i i a i                       a dc              ai          f he Se e e                   ha be            de he
 a h i               f he C               . The C                ha       e ai j i dic i                        ec ,       e e e, a d i                  e e      he
 Se e e . The C                             e ai        j i dic i             e e         ch f        he        de a             a be ece a
 a           ia e i ad i i e i g a d i                             e e i g he e                  a d             ii             f he Se e e ,
 i c di g, b                      i i ed           ,       de e j i i g C a                e be f                           ec i g c ai                  ha a e
  e ea ed                  a          he Se e e                  a da         i gf        di c e            e a ed              bjec          .

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           6.          U        i       a ce f he Fi a A                            a O de a d J dg e : (i) he Se e e                                                     ha
 be he e c            i e e ed f             Ca           e be ; (ii) Re ea ee                              ha              be    bjec            iabi i
 e     e e fa           ki d        a       Ca           e be ( ) f                 ea                e a ed                he Ac i        e ce        a       e f         h
 he ei ; a d (iii) C a              e be             ha be e              a e                   ba ed f                 i i ia i g, a e i g,
        ec i g a           a da         e ea ed c ai           agai             he Re ea ee .

 VII.      SETTLEMENT APPROVAL PROCESS
           A.          I                     C                 S                        .
           1.          The Pa ie             ha c          e a e i h each                        he i g              d fai h          ca               he                  e
     f a d effec a e hi Se e e , ha                                                 ef                 hei e ec i e b iga i                            he e de ,
 a d ha                        ake a         a d a ac i                 a d e ec e a d de i e a                                  a d a addi i a
 d c      e          a da      he           a e ia a d/             i f         ai               ea         ab            ece a             a              ia e
 ca              he e          f hi Se e e                    a d he a ac i                            c         e          a ed he eb . P ai iff                   ha
     e a ea           ei i a        a            a a d fi a a                       a           a e .
           2.          If he        ei i a           a          a         de                he Fi a A                       a O de a d J dg e                         i
     b ai ed f          he C            i    he f         c        e          a ed b             hi Se e e                       Fi a A                a O de
 a d J dg e            i e e ed                  a e ia                dified               a ea hi Se e e                             h        d be               a d
      id ab i i i            e ec i           fa          f he Pa ie a d ha e                                  f      he f ce a d effec                     ih
  e ec           a      f he Pa ie i              hi Ac i              . N hi g i                 hi                 ii        ha affec HMA a d
 KMA            b iga i             a a c                ea        ab         i c           ed b       he e e e                   ad i i          ai                ce .
           B.          P                     C           A
           1.          P                af e e ec i                 f hi Se e e                        b           he Pa ie , c                 e f        he Pa ie
  ha       ee         hi Se e e                     he C           f      e ie a d j i                               eek e             fa         de ha
 ce ifie he C a             a a e e e                ca ,g a                    ei i a                  a               a     f hi Se e e , a d
 di ec HMA a d KMA                                ide         ice f he Se e e                              i       he       a e       i ed he ei .
           2.          N     a e ha              e        (20) da             bef e he C                           hea i g         fi a a                  a       f he
 Se e e , HMA a d KMA ha                                       ide affida i f                         he C              , ihac                    Ca           C          e,
 a e i g ha                ice a di e i a ed i a                          a     e c               i e              i h he e                f hi Se e e
 Ag ee e ,             a     he         i e e i ed b               he C             .
           C.          F        C            A
           1.          O ce he C                 e e a             ei i a                   a          a           de , c         e f           he Pa ie            ha
      e hei be eff                                       b ai e                f a Fi a A                            a O de a d J dg e                         ha :

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                              a.          Fi d he Se e e                         be fai , ea         ab e, a d ade a e;
                              b.          Fi d ha he C a                         ice gi e c          i    e he be                    ice      ac icab e;
                              c.          A                e he e ea e           ecified i Sec i          VI a bi di g a d effec i e a
                                          a Ca                  e be          h ha e             e        e c ded he                  e e f            he
                                          Ca ;
                              d.          Di ec            ha j dg e           be e e ed         he e                   a ed he ei ; a d
                              e.          P           ide ha he C                  i    e ai j i dic i                   e he Pa ie a d C a
                                              e be               e f ce he e              f he fi a               de a d j dg e .
                2.            U       e               f he fi a          de a d j dg e , hi Ac i                         ha be di             i ed,       i
     ei a d ih                      ej dice, i h e ec                     a P ai iff a d a C a                       e be             h ha e
        e           e c ded he                e e f                he C a , a d i h                  ej dice a             a          e e e,       bjec
  he c          i        i g j i dic i                f he C           , i c di g b             i i ed              he c ai           f he a ed
     ai iff a d                    ai eca                  e be i F ahe                ha a e         e       e           a ed, ide ified,
 e c            a ed i             hi Se e e                Ag ee e .

 VIII. REQUESTS FOR EXCLUSION
                1.            The             ii            f hi       ec i      ha a            a        e e b aCa                           e be f
 e c        i        f         he C a .
                2.            A      Ca               e be         a      ake a e e f           e c           i     b       b i i g            ch e       e
 i       ii ga               e f     hi           he C a           ice.
                3.            A       e e f                e c     i              be    b i ed                a e ha        he da e           ecified i
  he C                       ei i a           a            a     de .
                4.            A       e e f                e c     i          ha (i) a e he C a                   e be          f      a ea dc             e
 add e , (ii)                      ide he             de       ea a d Vehic e Ide ifica i                 N        be ( VIN ) f hi /he /i
 Ca         Vehic e( ) a d he a                             i a e da e( ) f             cha e        ea e, a d (iii)                ecifica      a d
 c ea               a e hi /he /i de i e                       be e c ded f            he Se e e              a df              he C a .
                5.            Fai     e           c              i h he e e i e e               a d           i e          b i he e e f
 e c        i            i    e       i       he C a             e be bei g b            db     he e                f he Se e e                Ag ee e .
                6.            A      Ca               e be         h      b i a i e             e e f              e c      i          a         fi e a
     bjec i                  he Se e e                a d ha be dee ed                 ha e ai ed a                 igh             be efi        de hi
 Se e e                  Ag ee e .



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              7.         HMA a d KMA ha                        e          he a e             fa Ca                    e be            h ha e        b i ed
 a e e f             e c       i         Ca           C        e        a eek              ba i , begi i g 30 da                        af e he N ice
 Da e.
              8.         Ca        C        e e ee                 a d a a                ha he ha e                          he ag ee e            ih
     he c           e e ec i g C a                    e be , i c di g a                      ag ee e                      i h e ec            efe i g,
      ici i g,        e c       agi g a           Ca           e be                   e e           be e c ded (                              )f            hi
 ag ee e .
              9.         U         ce ifica i             f he C a           i c           ec i            i h he P e i i a               A         a       f
  hi ag ee e , C a                  C        e ag ee               eek i         he P e i i a               A                 a O de f           he C               a
         ii        e c       agi g a         i e c                   ica i                        i eCa                       e be       i h e ec                hi
 Ag ee e                 be e ie ed a d a                      ed b C a               C       e a d he C                       ,a dCa         C         e
 ag ee         abide b        ha            ii        a     a be e i ed b                    he C               .

 IX.          OBJECTIONS
              1.         The Pa ie           i        e e          ha he C                 e e a                de e i i g a              Ca         e be
     h     i he          e e a          bjec i             be c         ide ed,              b i a                  i e         ice f bjec i
 HMA a d KMA b                     he dead i e e i                 he C                   ei i a            a             a      de .
              2.         T      a e a a id bjec i                        he Se e e , a                       bjec i g C a                e be
         ide he f             i gi f             ai       i hi , he ,             i         i e           bjec i      : (i) he ca e a e a d
         be , I      e: H          dai a d Kia E gi e Li iga i                        , N . 8:17-c -00838 (C.D. Ca .); (ii)
 hi /he /i f              a e, c        e    add e , a d c                   e        ee h        e             be ; (iii) he            de      ea a d VIN
  f hi /he /i C a              Vehic e( ); (i ) a a e e                          f he bjec i ( ), i c di g a fac a a d ega
 g         d f       he        i i ; ( ) c ie               fa       d c              e     he bjec                   i he              b i i                   ;
 ( i) he a e a d add e                      f he a          e ( ), if a , h i e e e i g he bjec i g C a
     e be i           aki g he bjec i                        h       a be e i ed                      c             e ai        i c       ec i       i h he
  bjec i       ; ( ii) a a e e               f he he he C a                           e be        bjec i g i e d                      a ea a he Fi a
 A            a Hea i g, ei he              ih            ih        c            e ; ( iii) he ide i                      fa c           e (if a ) h
     i a      ea         beha f f he C a                   e be          bjec i g a he Fi a A                                  a Hea i g a d a
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 Ca           e be        bjec i g           he Se e e                  ha                ide a i           fa            he     bjec i            b i ed

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 b       he bjec             ,        he bjec               c              e,            a     ca           ac i           e e e                   b i ed i a              c
 i       he U i ed S a e i                 he       e i              fi e ea . If he C a                                   e be             hi         he c           e ha
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              3.             If he bjec i g C a                            e be i e d                         a ea , i              e                  b c          e , a he
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     e be          h d e                     a e hi             he i e i                           a ea i acc da ce i h he a                                        icab e
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 a            a hea i g.
              4.             The Pa ie              i       e e                ha he C                      e e a              de             idi g ha he fi i g f
 a       bjec i      a                Ca        C           e          c                e f     HMA a d KMA                                  ice        ch bjec i g
     e        f    a d ake hi , he ,                     i de                  ii         c        i e         i h he Fede a R e                             f Ci i P ced e
 a a ag eed-                          ca i      ,a d                 eek a              d c         e a        e ide ce                      he a gib e hi g ha
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     bjec i        a d           he    i e de i g ha                       e              he                   i               be hea d. The C                       a     a        he
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  ha he bjec i                    i fi                              ade f           i           e                  e.
              5.             A         bjec             h           eek a fee f                 hei          bjec i             ha d               a         e c ibed          de
 Fede a R e f Ci i P ced e 23(e)(5)(B).
              6.             The e           ced e a d e                        ie e                f        bjec i g a e i e ded                            e      e he
 efficie          ad i i a i                 fj         ice a d he                      de          e e ai                     fa       Ca             e be           bjec i
         he Se e e , i acc da ce i h he d e                                                    ce           igh            fa Ca                 e be .
              7.             A        Ca            e be              h fai                   fi e a d e e i e                          a     i e        bjec i
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 i e              a ea a he Fi a A                                   a Hea i g, ha                            be e              i ed             bjec            he Se e e
 a d ha be f ec                       ed f              eeki g a                    e ie           f he Se e e                              he e             f he Se e e
 Ag ee e            b a                ea , i c di g b                                    i i ed            a a ea .



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                8.         The Pa ie            ha                   i f       he C                 fa        c     ide a i              gh b a
     bjec        a d he ci c                a ce       f     ch a e e .

 X.             MISCELLANEOUS
                A.         C                L
                Thi Se e e                 Ag ee e           ha be g e ed b a d c                                 ed i acc da ce i h he
      b a i e a                  f he S a e f Ca if                ia i h         gi i g effec                a     ch ice         c f ic        f a
        ii ,                e ha                d ca e he a           ica i        f he a                fa         he j i dic i           .
                B.         N      E
                1.         The Pa ie              de a d a d ack                  edge ha hi Se e e                          Ag ee e
 c         i     e ac                  i ea d e e e                  f di      ed c ai          . N ac i                ake b       he Pa ie ,
 ei he          e i                  i c        ec i        i h he eg ia i                           ceedi g c               ec ed i h hi
 Se e e               Ag ee e , ha be dee ed                          c           ed       be a ad i i                   f he       h          fa i        f
 a     c ai                defe e he e f e                  ade      a ack             edg e                  ad i i          b a         a           fa
 fa     , iabi i                      gd i g f a             ki d ha          e e          a         he       a     .
                2.         Nei he hi Se e e                    Ag ee e                 a       ac        ef        ed        d c     e     e ec ed
            a              i f       he a ce f i : (a) i ,                 a be dee ed               be,           a be         ed a , a
 ad i i               f,       e ide ce f, he a idi                  fa       ega c ai               ade b P ai iff                 Ca
      e be ,               fa               gd i g          iabi i         f HMA a d/           KMA,               (b) i ,         a be dee ed
 be,            a be        ed a , a ad i i                   f,     e ide ce f, a              fa                  i i        f Re ea ee i a
       ceedi g i a               c      , ad i i           a i e age c ,            he         ib    a.
                3.         Thi             ii        ha            i e he e       iai                idi g f he Se e e
 Ag ee e .
                C.         H
                The headi g            f he ec i             a d a ag a h              f hi Se e e                  Ag ee e         a e i c ded
 f     c        e ie ce               a d ha               be dee ed          c        i       e a        f hi Ag ee e                         affec i
 c              ci     .
                D.         E               E
                The e hibi              hi Se e e              Ag ee e            a e a i eg a                a     f he Se e e                a da e
 e      e            i c         a ed a d         ade a a           f hi Se e e                Ag ee e .




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            E.          E            A
            Thi Se e e                Ag ee e                   e ee               he e i e ag ee e            a d        de a di g a                g he
 Pa ie a d              e ede a                i                 a , eg ia i                    , ag ee e      ,a d         de a di g e a i g
      he       bjec       a e        f hi ag ee e . The Pa ie ack                                        edge, i         a e, a d ag ee ha
 c e a , b iga i , c                      di i       , e e e ai , a a                            , i d ce e , eg ia i              ,
      de a di g c ce i g a                            a         a         f he          bjec      a e       f hi ag ee e          ha bee             ade
       e ied        e ce       a e         e              e f    hi           hi Se e e              Ag ee e . N                difica i
     ai e      fa              ii          f hi Se e e                       Ag ee e             ha i a        e e        be effec i e          e        he
     a e ha be i               i i g a d ig ed b                     he e                  Pa        agai       h         e f ce e             f he
 Ag ee e            i         gh .
            F.          C
            Thi Se e e                Ag ee e                   a be e ec ed i                       e         ec         e a     , each f hich
     ha be dee ed a                  igi a a agai                a           Pa           h ha       ig ed i , a d a        f hich ha be
 dee ed a i g e ag ee e .
            G.          A            -L             N
            1.          The Pa ie ha e eg ia ed a                                   f he e           a dc      di i         f hi Se e e
 Ag ee e            a a             e g h. The                  ii            f     a       e        fee a d c           a d e ice a a d                 e
 f     h he ei          e e eg ia ed e a a e                         f            a d af e ag ee e                  he       ii        f       e ief
 P ai iff a d he C a .
            2.          A       e         ,c       di i        , a d e hibi i               hei e ac f             ae      a e ia a d ece a
      hi Se e e               Ag ee e              a d ha e bee                   e ied          b       he Pa ie i e e i g i                  hi
 Se e e             Ag ee e .
            3.          The de e           i ai             f he e                  f, a d he d af i g f, hi Se e e                        Ag ee e
 ha bee b                     a ag ee e              af e       eg ia i , i h c                      ide a i    b a d a ici a i                     fa
 Pa ie a d hei c                     e . Si ce hi Se e e                            Ag ee e               a d af ed i h he a ici a i                          f
 a Pa ie a d hei c                         e , he          e             i         ha a big i ie            ha be c           ed agai           he
 d af e d e               a          . The Pa ie                e e e e e ed b c                         ee    a d effec i e c             e
  h     gh          he c            e f e e e                   eg ia i                 a di     he d af i g a d e ec i                f hi
 Se e e             Ag ee e , a d he e a                                 di a i           i ba gai i g           e a         g he Pa ie                  hi
 Ag ee e .



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              H.              P      S                   .
              1.              The Pa ie a d hei C                         e ag ee                kee        he     b a ce f hi ag ee e
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     hich he ag ee e                i fi ed,             a e a d fede a age cie , i de e de                                     acc          a     , ac a ie ,
 ad i          , fi a cia a a                 ,i        e ,          a            e ,             ha i            e e       he Pa ie a d hei
 C        e f             di c      i g       ch i f           ai                  e               e i ie ( ch a e                      e ,c             ,c -
 c        e , a d/            ad i i      a        )         h           he Pa ie ag ee di c                          e             be       ade i       de
 effec a e he e                    a dc        di i            f he ag ee e ;                          ided f         he ha HMA a d KMA                             a
 di c      e           b ic       he e         f he ag ee e                       ha i dee              ece a                    ee i            eg a
     b iga i              fid cia        d ie ; a d                  ided f               he ha P ai iff                  a di c             e he e                hei
 e     e ( ). Nei he he Pa ie                             hei C                   e ha i               e(        ca e a             he Pe                 i     e)
 a        e        e ea e c ce i g he e i e ce                                         b a ce f hi ag ee e , e ce i g he j i                                         -
 c ea ed           e      e ea e de c ibed               e i              i Sec i              IV.C.7.
              I.              G     F
              The Pa ie ack                   edge ha                             a            a,c                 ai      ,a di                 e e ai         f
  hi Se e e                   i e e ia . The Pa ie                       ha c              e a e i h each               he i g d fai h                   ca
  he               e      f a d effec a e hi Se e e , ha                                                         ef         hei e ec i e
     b iga i           he e de , a d ha a e                                   e           ea      di         e ha         a ai e                 de hi
 Se e e                i a g d fai h a d e edi i                              a e.
              J.              C               J
              The Pa ie ag ee he C                               a       e ai c            i i ga de c                    i e j i dic i                  e he ,
 a da Ca                      e be , f         he                e f he ad i i                    ai         a d e f ce e                    f hi Se e e .
              K.              E                    T
              The Pa ie             a ag ee                  a ea             ab e e e i                    f i ef          dead i e a d da e
  ef ec ed i            hi Se e e             Ag ee e                    ih           f     he         ice ( bjec               C            a          a a
 c       da e ).
              L.              S           N
              Whe e e ,             de he e                  f hi Se e e                         Ag ee e ,                i e           ice i e i ed
 HMA, HMC, KMC,                          KMA            Ca           C            e,       ch e ice                   ice ha be di ec ed                      he




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                                       Sa de Sche k f
                                       555 La ca e A e.
                                       Be     , PA 19312
                                       Te e h e: (610) 200-0581
                                       E ai : d @ ia a e .c

                                       Ada G       e i, E . (  hac ice)
                                       THE SULTZER LAW GROUP
                                       85 Ci ic Ce e P a a, S i e 104
                                       P ghkee ie, NY 12601
                                       Te : (845) 483-7100
                                       Fa : (888) 749-7747
                                       E ai : g    e ia@ he    e a g    .c

                                       B e Wa h (         hac ice)
                                       WALSH PLLC
                                       1561 L g Ha R ad
                                       G a ge i e, ID 83530
                                       Te e h e: (541) 359-2827
                                       Fac i i e: (866) 503-8206
                                       E ai : b    e @ a h c.c

                                       S e e W. Be a
                                       HAGENS BERMAN SOBOL SHAPIRO LLP
                                       1301 Sec d A e e, S i e 2000
                                       Sea e, WA 98101
                                       Te e h e: (206) 623-7292
                                       Fa : (206) 623-0594
                                       E ai : e e@hb a .c


          A  HMA, HMC,
          KMC a d KMA:                 Sh M ga
                                       QUINN EMANUEL URQUHART
                                       & SULLIVAN, LLP
                                       865 S. Fig e a S . 10 h F
                                       L A ge e , Ca if ia 90017


       IN WITNESS HEREOF, each f he Pa ie he e                    ha ca ed hi ag ee e    be
 e ec ed, a f he da ( ) e f h be .



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                                  Fa : (213) 330-7152
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                                  HILLIARD MUNOZ GONZALES L.L.P.
                                  719 S Sh e i e B d, S i e #500
                                  C       Ch i i, TX 78401
                                  Te : (361) 882-1612
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                                  QUINN EMANUEL URQUHART
                                  & SULLIVAN, LLP
                                  865 S. Fig e a S . 10 h F
                                  L A ge e , Ca if ia 90017

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                         EXHIBIT A
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                   UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA


                 NOTICE OF PROPOSED CLASS SETTLEMENT
 If you bought or leased a 2011-2019 model year Hyundai Sonata,
   2013-2019 Hyundai Santa Fe Sport, a 2014-2015 or 2018-2019
    Hyundai Tucson, a 2011-2019 Kia Optima, a 2011-2019 Kia
   Sorento or a 2011-2019 Kia Sportage equipped with a 2.0L or
   2.4L Gasoline Direct Injection engine you may benefit from a
                      class action settlement.
                  A federal court authorized this notice. This is not a solicitation from a lawyer.

       Your rights are affected whether you act or don’t act. Read this notice carefully.
          The purpose of this Notice is to inform you of a proposed settlement of a class action lawsuit
          known as In re: Hyundai and Kia Engine Litigation, No. 8:17-cv-00838-JLS-JDE and Flaherty v.
          Hyundai Motor Company, et al., No. 18-cv-02223 (C.D. Cal.). You are receiving this Notice
          because Hyundai Motor America, Inc.’s (“HMA”), Hyundai Motor Company (“HMC”), Kia
          Motors Corporation (“KMC”) and Kia Motors America, Inc.’s (“KMA”) records indicate that
          you may be entitled to claim certain financial benefits offered by this Settlement.

          These lawsuits allege that the Class Vehicles suffer from a defect that can cause engine seizure,
          stalling, engine failure, and engine fire, that engine seizure or stalling can be dangerous if
          experienced and that some owners and lessees have been improperly denied repairs under the
          vehicle’s warranty. Neither HMA, HMC, KMC, or KMA have been found liable for any of the
          claims alleged in these lawsuits. The parties have instead reached a voluntary settlement in order
          to avoid a lengthy litigation. The individuals who owned or leased Class Vehicles are known as
          “Class Members.” Settlement Class Members may be entitled to compensation if they submit
          valid and timely claims that are approved pursuant to the review process described in this Notice
          and approved by the Court.

          Under the proposed settlement, and subject to proof, HMA, HMC, KMC, and KMA will provide
          financial and other benefits for certain engine related repairs.

          The settlement extends the Powertrain Warranty to a Lifetime Warranty for the engine short
          block assembly, upon completion of the Knock Sensor Detection System Update. It also
          provides a free recall inspection for any recalled vehicles not yet inspected, regardless of current
          mileage or prior repairs, and rental car reimbursement or loaner vehicles for any vehicles that
          undergo engine replacement.

          The settlement provides cash reimbursements for qualifying past out-of-pocket repairs and
          repair-related expenses, such as rental cars and towing, and cash reimbursements for certain
          trade-ins and sales of unrepaired vehicles.

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          The settlement provides compensation for inconvenience due to repair delays while the vehicle
          was serviced by Hyundai or Kia dealers.

          The settlement provides compensation for vehicles lost due to certain engine fires. In some
          instances, the settlement also provides a cash rebate if you lost faith in the vehicle after
          experiencing engine troubles related to the defect and you purchased another Hyundai or Kia
          vehicle within a specified timeframe.

          To qualify you must have bought or leased a “Class Vehicle,” which are 2011-2019 Hyundai
          Sonata, 2013-2019 Hyundai Santa Fe Sport, 2014-2015 and 2018-2019 Hyundai Tucson, 2011-
          2019 Kia Optima, 2011-2019 Kia Sorento, and 2011-2019 Kia Sportage vehicles equipped with
          or replaced with a genuine Theta II 2.0 liter or 2.4 liter gasoline direct injection engine within
          OEM specifications.

                    YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT:
                          The only way to get a reimbursement. It is not necessary to submit a
                          claim form to benefit from the Lifetime Warranty, as long as you
     SUBMIT A CLAIM FORM
                          have installed the Knock Sensor Detection System Update. The
                          deadline to submit a claim is XXXX.
                          Get no payment and for Hyundai vehicles, no Lifetime Warranty,
                          (any lifetime warranty offered under a previous service campaign will
                          remain in effect). This is the only option that allows you to ever file
      EXCLUDE YOURSELF
                          or be part of any other lawsuit against Hyundai or Kia about the legal
                          claims in this case. The deadline to submit a request for exclusion is
                          XXXX.
                          In order to object to the Settlement, you must remain a member of the
                          lawsuit—you cannot ask to be excluded. You may object to the
           OBJECT
                          Settlement by writing to the Court and indicating why you do not like
                          the Settlement. The deadline to object is XXXX.
         GO TO A HEARING          Ask to speak in Court about the fairness of the Settlement.
                                  Get no reimbursement. Receive only the Lifetime Warranty upon
             DO NOTHING
                                  installation of the Knock Sensor Detection System software.

          These rights and options—and the deadlines to exercise them—are explained in this notice.

          The Court in charge of this case still must decide whether to approve the Settlement. Payments
          will be made if the Court approves the Settlement and after appeals are resolved. The Court
          approval process may take some time, so please be patient.

          Please visit [website] for a copy of this notice in Spanish.Visite [sitio web] para obtener una
          copia de este aviso en español.




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                                       BASIC INFORMATION


     1.        Why did I get this notice package?

According to the records of HMA, HMC, KMC, or KMA, you bought or leased a Class Vehicle in the
United States. This may also include a Class Vehicle you purchased while abroad on active U.S. military
duty.

The Court has ordered this notice be sent to you because you have a right to know about a proposed
settlement of a class action lawsuit and about your options in that lawsuit before the Court decides
whether to approve the Settlement. If the Court approves the Settlement and after objections and
appeals are resolved, HMA, HMC, KMC, or KMA will provide payments and other benefits agreed to in
the Settlement. This notice explains the lawsuit, the Settlement, your legal rights, what benefits are
available, who is eligible for them, and how to get them.

You should read this entire notice.

     2.        What are these lawsuits about?

The people who filed these lawsuits are called Plaintiffs, and the companies they sued, HMA, HMC,
KMC, and KMA, are called Defendants. The Plaintiffs allege that the Class Vehicles suffer from a
defect that can cause engine seizure, stalling, engine failure, and engine fire. The Plaintiffs also allege
that engine seizure or stalling can be dangerous if experienced. The Plaintiffs also allege that some
owners and lessees have been improperly denied repairs under the vehicle’s warranty. HMA, HMC,
KMC, and KMA all deny Plaintiffs’ allegations.

     3.        Why is this a class action?

In a class action lawsuit, one or more persons, called “Class Representatives” (in this case Cara Centko,
Jenn Lazar, Christopher Stanczak, Rose Creps, James Kinnick, Wallace Coats, Maryanne Brogan,
Andrea Smolek, Danny Dickerson, Robert Fockler, Amy Franklin, Donald House, Dave Loomis, Joseph
McCallister, Arron Miller, Ricky Montoya, Lynn North, Mark Rice, Reid Schmitt, James Smith, and
Chris Stackhouse), sue on behalf of people who have similar claims. All of these people and those
similarly situated are a “Settlement Class” or “Settlement Class Members.” One court resolves the
issues for all Class Members, except those who exclude themselves from the Settlement Class. The
court in charge of the cases is the United States District Court for the Central District of California, and
the cases are known as In re: Hyundai and Kia Engine Litigation, No. 8:17-cv-00838-JLS-JDE and
Flaherty v. Hyundai Motor Company, et al., No. 18-cv-02223 (C.D. Cal.). District Judge Josephine
Staton is presiding over this class action.

     4.        Why is there a settlement?

The Class Representatives and Defendants agreed to a Settlement to avoid the cost and risk of further
litigation, including a potential trial, and so that the Class Members can get payments and other benefits,
in exchange for releasing Defendants from liability. The Settlement does not mean that Defendants
broke any laws and/or did anything wrong, and the Court did not decide which side was right.

The Class Representatives and Defendants entered into a Settlement Agreement that was preliminarily
approved by the Court, which authorized the issuance of this notice. The Class Representatives and the

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lawyers representing them (called “Class Counsel”) believe that the Settlement is in the best interest of
the Settlement Class Members.

This notice summarizes the essential terms of the Settlement. The Settlement Agreement along with all
exhibits and addenda sets forth in greater detail the rights and obligations of all the parties and are
available at [settlement website]. If there is any conflict between this notice and the Settlement
Agreement, the Settlement Agreement governs.



                                  WHO IS IN THE SETTLEMENT?


     5.        How do I know if I am part of the Settlement?

Judge Staton decided that, for the purposes of this proposed settlement, everyone who fits this
description is covered by the Settlement: All owners and lessees of a Class Vehicle who purchased or
leased the Class Vehicle in the United States including those that were purchased while the owner was
abroad on active U.S. military duty, but excluding those purchased in the U.S. territories and/or abroad.

However, the Class excludes all claims for death, personal injury, property damage, and subrogation.
The Class also excludes HMA, HMC, KMC, and KMA; any affiliate, parent, or subsidiary of Hyundai
Motor America or Kia Motors America; any entity in which HMA, HMC, KMC, or KMA has a
controlling interest; any officer, director, or employee of HMA, HMC, KMC, or KMA; any successor or
assign of HMA, HMC, KMC, or KMA; any judge to whom this Action is assigned, his or her spouse,
and all persons within the third degree of relationship to either of them, as well as the spouses of such
persons; individuals and/or entities who validly and timely opt-out of the settlement; consumers or
businesses that have purchased Class Vehicles previously deemed a total loss (i.e., salvage) (subject to
verification through Carfax or other means); and current or former owners of a Class Vehicle that
previously released their claims against HMA, HMC, KMC, or KMA with respect to the same issues
raised in this class action.

     6.        Which vehicles are included?

The “Class Vehicles,” for the purposes of the description in section 5 above, are 2011-2019 model year
Hyundai Sonata, 2013-2019 model year Hyundai Santa Fe Sport, 2014-2015 and 2018-2019 model year
Hyundai Tucson, 2011-2019 model year Kia Optima, 2011-2019 model year Kia Sorento, and 2011-
2019 model year Kia Sportage vehicles equipped with 2.0 liter and 2.4 liter genuine Theta II gasoline
direct injection engines within OEM specifications.

     7.        If I bought or leased a Class Vehicle that has not had problems, am I included?

Yes. You did NOT have to experience stalling, engine seizure, engine failure, or a vehicle fire to be
included in this Settlement. If you still own or lease a Class Vehicle you will be eligible to take
advantage of the Settlement’s extension of the Powertrain Warranty to a Lifetime Warranty, as well as
certain other benefits of the Settlement.

     8.        I am still not sure if I’m included.

If you are still not sure whether you are included, you can ask for free help. You can visit the website at
[settlement website]. You can also call [Hyundai phone number; or Kia phone number] and ask whether

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your vehicle is included in the Settlement. Whether you visit the website or call the toll-free number,
you will need to have your Vehicle Identification Number (“VIN”) ready. The VIN is located on a
small placard on the top of the dashboard and is visible through the driver’s side corner of the
windshield. It also appears on your vehicle registration card and probably appears on your vehicle
insurance card. Your VIN should have 17 characters, a combination of both letters and numbers.



                           SETTLEMENT BENEFITS – WHAT YOU GET


     9.        What does the Settlement provide?

The Settlement provides the following benefits:

          1.        Warranty Extension

HMA is extending the Powertrain Warranty to a Lifetime Warranty for Hyundai Class Vehicles. The
extension of the warranty will cover the short block assembly, consisting of the engine block, crankshaft
and bearings, connecting rods and bearings, and pistons, in those Class Vehicles owned by individual
consumers that have completed the knock sensor program software update. With the exception of cases
of exceptional neglect (defined below) and subject to the existing terms, limitations, and condition of the
Class Vehicles’ original Powertrain Warranty, the Limited Warranty shall otherwise endure irrespective
of the Class Vehicle’s mileage, duration of ownership, or prior warranty engine repairs and/or warranty
replacements.

The extension of the warranty covers all costs of inspections and repairs including, parts, labor, and
diagnosis, for the engine short block assembly. Class members are suggested to retain all vehicle
maintenance records after the Notice Date, and may be required to provide records for vehicle
maintenance performed after the Notice Date to receive Lifetime Warranty repairs.

The warranty extension may be denied for “Exceptional Neglect” of the vehicle, which means (a) when
the vehicle clearly evidences a lack of maintenance or care for a significant period of time of not less
than one (1) year, such that the vehicle appears dilapidated, abandoned, and/or beyond repair unless such
lack of maintenance was due to a Loss Event, as defined in the settlement agreement; or (b) where a
class member has failed to have the KSDS (“Knock Sensor Detection Software”) installed in the vehicle
pursuant to the KSDS Product Improvement Campaign by a Hyundai or Kia dealer within 60 days from
Notice Date, or within 60 days of mailing of KSDS campaign notice, whichever is later.

Hyundai and Kia will provide a free recall inspection for up to 90 days after the Notice Date for any
vehicle where recall inspections were not completed, regardless of current mileage or prior repairs.

Hyundai and Kia dealerships will provide a free loaner vehicle of comparable value if requested, until
repairs are completed. If no loaner vehicle is available, Hyundai and Kia will provide full
reimbursement of reasonable rental car expenses up to $40 per day. (See below for how to make a claim
for rental car reimbursements.)

Any repairs to Hyundai Class Vehicles performed pursuant to the Lifetime Warranty will preclude class
members from opting out of the class.



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You do NOT need to submit a Claim Form to receive this extension of the Powertrain Warranty for the
engine short block assembly under this Settlement.

          2.        Reimbursement for Past Repairs

Money you spent on certain Class Vehicle repairs will be reimbursed in full, and in certain instances,
you may receive an additional $140 goodwill payment and/or inconvenience payment based on the
following requirements:

          (a) DATE OF REPAIRS

          Any Qualifying Repairs completed prior to the date that the Settlement was signed or within 90
          days of the Notice Date.

          (b) TYPES OF “QUALIFYING REPAIRS”

          Any repair to the engine short block assembly, which includes the engine block, crankshaft and
          bearings, connecting rods and bearings, and pistons.

          Repairs to any other components (such as the long block assembly, battery, or starter) if
          paperwork shows the work was an attempt to address (i) engine seizure, (ii) engine stalling,
          (iii) engine noise, or (iv) illumination of the oil lamp. (Repair costs will not be reimbursed if the
          paperwork reflects that the repairs were plainly unrelated to the short block assembly).

          Any replacement of an oil filter based on Hyundai TSB No. 12-EM-006 necessitated by an
          engine short block assembly issue.

          It does not include repairs caused by a collision involving a Class Vehicle, unless the collision
          was directly caused by a Class Vehicle failure otherwise subject to a Qualifying Repair, such as
          an engine fire

          (c) GOODWILL PAYMENT FOR PREVIOUSLY DENIED WARRANTY REPAIRS

          If before receiving notice of this Settlement you presented a Qualifying Repair to a Hyundai or
          Kia dealership and were denied an in-warranty repair and subsequently obtained the Repair
          elsewhere, you are eligible to receive an additional $140 goodwill payment.

          (d) COMPENSATION FOR INCONVENIENCE DUE TO REPAIR DELAYS

          If you experienced prolonged delays (exceeding 60) days obtaining any Qualifying Repair from
          an authorized Hyundai or Kia dealership you are eligible to receive a goodwill payment based on
          the length of the delay.

          This compensation is also available to Settlement Class Members who were also members of the
          prior settlement class of 2011-2014 Hyundai Sonatas (i.e. Mendoza v. Hyundai Motor Co., No.
          15-cv-01685-BLF (C.D. Cal.) class population) for the inconvenience of delayed repairs under
          the terms of this section in connection with Qualifying Repairs that arose after the claims period
          expired under the terms of that settlement.




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          If you had delays between 61 and 90 days you will be entitled to $50, and an additional $25 for
          each additional 30-day period of delay. (E.g., a Class Member may receive $50 for delays
          lasting 61-90 days, $75 for delays lasting 91-120 days, etc.).

          A class member may elect to receive this compensation in the form of a dealer service card
          valued at 150% of the amount that would otherwise be paid.

          (e) MAKE A TIMELY CLAIM

          See section 10 for how to make your claim using the Claim Form.

                                                    ***
Class members are eligible for a reimbursement even if warranty coverage was denied on grounds of
improper service or maintenance (excepting limited Exceptional Neglect circumstances), and even if the
repairs were performed at an independent mechanic. Exceptional Neglect means (a) when the vehicle
clearly evidences a lack of maintenance or care for a significant period of time of not less than one (1)
year, such that the vehicle appears dilapidated, abandoned, and/or beyond repair unless such lack of
maintenance was due to a Loss Event, as defined in the settlement agreement; or (b) where a class
member has failed to have the KSDS (“Knock Sensor Detection Software”) installed in the vehicle
pursuant to the KSDS Product Improvement Campaign by a Hyundai or Kia dealer within 60 days from
Notice Date, or within 60 days of mailing of KSDS campaign notice, whichever is later.

          3.        Reimbursement for Rental Cars, Towing, Etc.

Money you spent on rental cars, towing services, and similar services will also be reimbursed in full,
based on the following requirements:

          The expense was reasonably related to obtaining one of the Qualifying Repairs listed above, and

          You make a timely claim using the Claim Form. (See section 10 for how to do so.)

          4.        Compensation If You Sold or Traded-In a Class Vehicle

If your Class Vehicle (i) experienced an engine seizure, engine stall, engine noise, engine compartment
fire, or illumination of the oil lamp diagnosed as requiring repair of the engine block, AND (ii) you sold
or traded-in the Class Vehicle without first procuring the recommended repair, you may receive
compensation for any effect on fair market value of the Class Vehicle that resulted. You may also
receive an additional goodwill payment of $140.00.

The amount of compensation will be based on the sale or trade-in transaction as a whole (among other
considerations). The vehicle’s maintenance history or lack thereof before the repair diagnosis will not
be a basis for denying or limiting compensation under this section (excepting limited Exceptional
Neglect circumstances). Exceptional Neglect means (a) when the vehicle clearly evidences a lack of
maintenance or care for a significant period of time of not less than one (1) year, such that the vehicle
appears dilapidated, abandoned, and/or beyond repair unless such lack of maintenance was due to a Loss
Event, as defined in the settlement agreement; or (b) where a class member has failed to have the KSDS
(“Knock Sensor Detection Software”) installed in the vehicle pursuant to the KSDS Product
Improvement Campaign by a Hyundai or Kia dealer within 60 days from Notice Date, or within 60 days
of mailing of KSDS campaign notice, whichever is later.


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To be considered for compensation, submit a claim using the Claim Form. Instructions are provided in
section 10 below. After you submit your claim, you will be contacted by HMA or KMA and advised of
the process for evaluation of your transaction and proposed compensation. If you are unhappy with the
proposal, you can elect telephone arbitration through the Better Business Bureau (“BBB”).

          5.        Compensation for Vehicle involved in Engine Fire

If your Class Vehicle suffered an engine fire that would have otherwise been addressed by a Qualifying
Repair that caused you to lose the vehicle because either the cost of the repair was too great or you had
to dispose your vehicle at a loss, you may receive compensation for the value of the vehicle, and an
additional $140 goodwill payment.

The amount of compensation will be based on the maximum Black Book value of the vehicle, provided
that you submit a claim demonstrating the fire originated from the engine compartment and was
unrelated to any sort of collision.

The vehicle’s maintenance history or lack thereof before the repair diagnosis will not be a basis for
denying or limiting compensation under this section (excepting limited Exceptional Neglect
circumstances). Exceptional Neglect means (a) when the vehicle clearly evidences a lack of maintenance
or care for a significant period of time of not less than one (1) year, such that the vehicle appears
dilapidated, abandoned, and/or beyond repair unless such lack of maintenance was due to a Loss Event,
as defined in the settlement agreement; or (b) where a class member has failed to have the KSDS
(“Knock Sensor Detection Software”) installed in the vehicle pursuant to the KSDS Product
Improvement Campaign by a Hyundai or Kia dealer within 60 days from Notice Date, or within 60 days
of mailing of KSDS campaign notice, whichever is later.

To be considered for compensation, submit a claim using the Claim Form. Instructions are provided in
section 10 below. After you submit your claim, you will be contacted by HMA or KMA or Kia Motors
America and advised of the process for evaluation of your transaction and proposed compensation. If
you are unhappy with the proposal, you can elect telephone arbitration through the Better Business
Bureau (“BBB”).

          6.        Rebate Program

If you have lost faith in your Class Vehicle as a result of an engine failure or engine compartment fire
and you purchase a replacement Hyundai vehicle (for Hyundai Class members) or Kia vehicle (for Kia
Class members) you may be entitled to a rebate. You must complete the claim form to be entitled to any
rebate, but may qualify for the following amounts: for model year 2011-2012 Class Vehicles $2,000; for
model year 2013 and 2014 Class Vehicles $1,500; for model year 2015 and 2016 Class Vehicles:
$1,000; and for model year 2017 and 2018 Class Vehicles $500.

          7.        Informational Pamphlet

The Settlement provides that HMA and KMA will distribute an informational pamphlet to Class
Members that provides further recommended guidance on the maintenance of the engines in the Class
Vehicles and that reminds Class Members of the available inspections and repairs.




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            HOW YOU GET A REIMBURSEMENT – SUBMITTING A CLAIM FORM


     10.       How do I make a claim?

           Fill out the Claim Form (paper or online), and

           Include the documentation specified on the Claim Form, and

           Submit online, by mail, or email the Claim Form to the address listed on the Claim Form, and

           Do so by [DATE] unless your claim is for rental car or towing costs incurred in the future, in
           which case you have 90 days from the date those costs were incurred.

Please keep a copy of your completed Claim Form and all documentation you submit for your own
records.

If you fail to submit a Claim Form and supporting documents by the required deadline, you will not get
paid. Sending in a Claim Form late will be the same as doing nothing.

     11.       When would I get my reimbursement?

In general, valid claims will be paid as they are approved after the Effective Date. The Effective Date
for the Settlement will be the date of the Court’s Order giving final approval to the Settlement if there
are no objections or appeals. If there are objections or appeals, the date will be later. When the date
becomes known it will be posted at www.________________________.com

The Hon. Josephine Staton, U.S. District Court Judge, will hold a Fairness Hearing on [DATE] at the
U.S. District Court for the Central District of California, Los Angeles Courthouse, 411 W. Fourth St.,
Santa Ana, CA 92701, to decide whether to approve the Settlement. (The hearing may be rescheduled
without further notice. To obtain updated scheduling information, see the [settlement website].) If the
Court approves the Settlement, there may be appeals afterwards. It is always uncertain whether these
appeals can be resolved, and resolving them can take time, perhaps more than a year. Please be patient.

You may continue to check on the progress of the Settlement by visiting the website [settlement
website] or calling [Hyundai phone number or Kia phone number]. Payments under the Settlement
will begin once the Settlement has been finally approved by the Court and any appeals from that
decision are completed.

     12.       What if my claim is found to be deficient?

If a claim is found to be deficient and is rejected during the review process by the Settlement
Administrator, the Settlement Class Member will be notified of the deficiency. The Settlement Class
Member will then have an opportunity to remedy the deficiency within (60) days of the notice.

     13.       What am I giving up to stay in the Settlement Class?

Unless you exclude yourself in writing as described in the answer to Question 13, you will be treated as
part of the Settlement Class, and that means that you can’t sue, continue to sue, or be part of any other
lawsuit against HMA, HMC, KMC, KMA or other related entities or individuals (listed in the Settlement

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Agreement, which you can view at [settlement website]) about the legal issues in this case if the
Settlement is approved. It also means that all of the Court’s orders will apply to you and legally bind
you.

However, nothing in this Settlement will prohibit you from pursuing claims for: (i) personal injury;
(ii) damage to property other than to a Class Vehicle; or (iii) any and all claims that relate to something
other than a Class Vehicle and the alleged defect here.

If you have any questions about the scope of the legal claims you give up by staying the Settlement
Class, you may view Section VI of the Settlement Agreement (available at [settlement website]) or you
can contact the lawyers representing the Settlement Class for free or speak with your own lawyer at your
own expense:

                            Matthew D. Schelkopf                 Steve Berman
                              Sauder Schelkopf            Hagens Berman Sobol Shapiro
                            555 Lancaster Avenue                       LLP
                         Berwyn, Pennsylvania 19312           1301 Second Avenue
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                               Bonner Walsh
                               WALSH PLLC
                            1561 Long Haul Road
                           Grangeville, ID 83530
                           bonner@walshpllc.com




                         EXCLUDING YOURSELF FROM THE SETTLEMENT

If you do not want the benefits or reimbursements provided in this settlement, and you want to keep the
right to sue or continue to sue HMA, HMC, KMC, KMA, or other related entities or individuals, on your
own, about the legal issues in this case, then you must take steps to get out of the Settlement Class. This
is called excluding yourself—or is sometimes referred to as opting out of the Settlement Class.

     14.       How do I get out of the Settlement?

To exclude yourself from the Settlement, you must send a letter by U.S. mail (or an express mail carrier)
saying that you want to “opt-out of” or “be excluded from” the Class Settlement in In re: Hyundai and
Kia Engine Litigation, No. 8:17-cv-00838-JLS-JDE and Flaherty v. Hyundai Motor Company, et al.,
No. 18-cv-02223 (C.D. Cal.). Be sure to include (i) your full name and current address, (ii) the model
year, approximate date(s) of purchase or lease, and Vehicle Identification Number (“VIN”) of your
vehicle (which is located on a placard on the top of the dashboard visible through the driver’s side
corner of the windshield), and (iii) clearly state your desire to be excluded from the settlement and from
the Class. You must mail your exclusion request postmarked no later than [DATE] to:




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                                            Defense Counsel &
                                    KMA’s Settlement Administrator
                                               Shon Morgan
                                QUINN EMANUEL URQUHART & SULLIVAN, LLP
                                       865 S. Figueroa St., 10th Floor
                                       Los Angeles, California 90017


                                  Epiq Class Action & Claims Solutions, Inc.
                                            10300 SW Allen Blvd.
                                            Beaverton, OR 97005

You can’t exclude yourself on the phone, on any website, or by e-mail. Please keep a copy of any
exclusion (or opting out) letter for your records.

If you ask to be excluded, you cannot receive any benefits under this Settlement, and you cannot object
to the Settlement. If you choose to be excluded or opt out, you will be excluded for all claims you have
that are included in the Settlement. You will not be legally bound by anything that happens in this
lawsuit. Depending on the laws in your state, you may be able to sue (or continue to sue) HMA, HMC,
KMC, KMA, or other related entities or individuals in the future about the legal issues in this case.

With respect to Hyundai Class Vehicles only, any repairs performed pursuant to the Settlement’s
extension of the Powertrain Warranty on your Hyundai Class Vehicle shall preclude you from excluding
yourself from the Class or opting out.

     15.       If I don’t exclude myself, can I sue for the same thing later?

No. Unless you exclude yourself (opting out), you give up the right to sue HMA, HMC, KMC, KMA,
and other related entities or individuals for the claims that this Settlement resolves.

If you have a pending lawsuit against HMA, HMC, KMC, KMA, or the related entities listed in the prior
paragraph, speak to your lawyer in that lawsuit immediately. You must exclude yourself from this
Settlement Class to continue your own lawsuit if it concerns the same legal issues in this case.
Remember, the exclusion deadline is [DATE].

If you are a Settlement Class Member and you do nothing, you will remain a Settlement Class Member
and all of the Court’s orders will apply to you, you will be eligible for the Settlement benefits described
above as long as you satisfy the conditions for receiving each benefit, and you will not be able to sue
Defendants over the issues in this lawsuit.

     16.       If I exclude myself, can I get the benefits of this Settlement?

No. If you exclude yourself, do not send in a Claim Form to ask for any reimbursement and, with
respect to Hyundai vehicles only, do not seek repairs under the Settlement’s extension of the Powertrain
Warranty. But, you may sue, continue to sue, or be part of a different lawsuit against HMA, HMC,
KMC, KMA, and other related entities or individuals for the claims that this Settlement resolves.




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                               THE LAWYERS REPRESENTING YOU


     17.       Do I have a lawyer in this case?

The Court has appointed Matthew D. Schelkopf of Sauder Schelkopf, Adam Gonnelli of The Sultzer
Law Group, Steve Berman of Hagens Berman Sobol Shapiro LLP, and Bonner Walsh of Walsh PLLC to
represent you and other Settlement Class Members. Together these lawyers are called Class Counsel.
You will not be charged for these lawyers. If you want to be represented by your own lawyer, you may
hire one at your own cost.

     18.       How will the lawyers be paid and will the Settlement Class representatives receive
               service payments?

At a later date, Class Counsel will ask the Court for attorneys’ fees, expenses, and service payments to
each of the named Settlement Class representatives, Cara Centko, Jenn Lazar, Christopher Stanczak,
Rose Creps, James Kinnick, Wallace Coats, Maryanne Brogan, Andrea Smolek, Danny Dickerson,
Robert Fockler, Amy Franklin, Donald House, Dave Loomis, Joseph McCallister, Arron Miller, Ricky
Montoya, Lynn North, Mark Rice, Reid Schmitt, James Smith, and Chris Stackhouse. It will be up to
the Court to decide whether Defendants will be ordered to pay any of those fees, expenses, and service
payments. The Court may award less than the amounts requested by Class Counsel. Defendants will
separately pay the fees and expenses and service payments that the Court awards. These amounts will
not come out of the funds for payments to Settlement Class Members. You may continue to check on the
progress of Class Counsel’s request for attorneys’ fees, expense and service awards by visiting the
website [settlement website]

Defendants will also separately pay the costs to administer the settlement. The payment of settlement
administration costs will not come out of the funds for payments to Settlement Class Members.

                                OBJECTING TO THE SETTLEMENT

You can tell the Court that you don’t agree with the Settlement or some part of it.

     19.        How do I tell the Court if I do not like the Settlement?

If you are a member of the Settlement Class, you can object to the Settlement if you don’t like any part
of it. You can give reasons why you think the Court should not approve it. The Court will consider
your views.

To object, you must mail a letter saying that you object to the addresses below:




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 Defense Counsel & KMA’s                       Class Counsel                             Court
 Settlement Administrator
        Shon Morgan                       Matthew D. Schelkopf                   Clerk of the Court
QUINN EMANUEL URQUHART &                    Sauder Schelkopf               Ronald Reagan Federal Building
       SULLIVAN, LLP                      555 Lancaster Avenue                  and U.S. Courthouse
865 S. Figueroa St., 10th Floor        Berwyn, Pennsylvania 19312          411 West 4th Street, Room 1053
Los Angeles, California 90017                                                Santa Ana, CA 92701-4516

  Epiq Class Action & Claims
        Solutions, Inc.
    10300 SW Allen Blvd.
     Beaverton, OR 97005

Your objection letter must include:
     1) The name and title of the lawsuit, In re: Hyundai and Kia Engine Litigation, No. 8:17-cv-00838-
         JLS-JDE and Flaherty v. Hyundai Motor Company, et al., No. 18-cv-02223 (C.D. Cal.);
     2) A detailed written statement of each objection being made, including the specific reasons for each
         objection, and any evidence or legal authority to support each objection;
     3) Your full name, address, and telephone number;
     4) The model year and VIN of your Class Vehicle;
     5) A statement whether you or your lawyer will ask to appear at the Fairness Hearing to talk about
         your objections, and if so, how long you will need to present your objections;
     6) Any supporting papers, materials, exhibits, or briefs that you want the Court to consider when
         reviewing the objection;
     7) The identity of all counsel who represent you, including any former or current counsel who may
         be entitled to compensation for any reason related to your objection;
     8) The number of times in which you, your counsel (if any), or your counsel’s law firm (if any) have
         objected to a class action settlement within the five years preceding the date that the objector files
         the objection and the caption of each case in which such objection was made;
     9) A statement disclosing any consideration that you, your counsel (if any), or your counsel’s law
         firm (if any) has received in connection with the resolution or dismissal of an objection to a class
         action settlement within the five years preceding the date that the objector files the objection; and
     10) Your signature and that of your attorney, if you have one.

Submitting an objection allows Class Counsel or counsel for Defendants to notice your deposition and to
seek any documentary evidence or other tangible things that are relevant to your objection. Failure to
make yourself available for such a deposition or comply with expedited discovery requests may result in
the Court striking your objection or denying you the opportunity to be heard. The Court may require
you or your counsel to pay the costs of any such discovery should the Court determine the objection is
frivolous or made for improper purpose.

Objections must be sent by first class mail to each of the above addresses and postmarked no later than
[DATE]. Objections submitted after this date will not be considered.

If you do not state your intention to appear in accordance with the applicable deadlines and
specifications, or you do not submit an objection in accordance with the applicable deadlines and
specifications, you will waive all objections and can be barred from speaking at the final approval
hearing.

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     20.       What is the difference between objecting and excluding?

Objecting is simply telling the Court that you don’t like something about the Settlement. You can object
only if you stay in the Settlement Class. Excluding yourself is telling the Court that you do not want to
be part of the Settlement Class and the Settlement. If you exclude yourself, you have no basis to object
because the case no longer affects you.

                              THE COURT’S FAIRNESS HEARING

The Court will hold a hearing to decide whether to approve the settlement. You may attend and you
may ask to speak, subject to the requirements above, but you don’t have to.

     21.       When and where will the Court decide whether to approve the Settlement?

The Court will hold a Fairness Hearing at [Time] in [DATE] at the U.S. District Court for the Central
District of California, Los Angeles Courthouse, 411 W. Fourth St., Santa Ana, CA 92701. At this
hearing the Court will consider whether the Settlement is fair, reasonable, and adequate. If there are
objections, the Court will consider them. The Court will listen to people who have asked to speak at the
hearing. The Court may also decide how much to pay Class Counsel and whether to approve the class
representatives’ service awards. After the hearing, the Court will decide whether to finally approve the
Settlement. We do not know how long these decisions will take.

The hearing may be rescheduled without further notice to you, so it is recommended you periodically
check [settlement website] for updated information.

     22.       Do I have to come to the Fairness Hearing?

No. Class Counsel will answer any questions Judge Staton may have. But, you are welcome to come at
your own expense. If you send an objection, you do not have to come to Court to talk about it. As long
as you mailed your written objection on time, the Court will consider it. You may also attend or pay
your own lawyer to attend, but it’s not necessary. Settlement Class Members do not need to appear at
the hearing or take any other action to indicate their approval.

     23.       May I speak at the Fairness Hearing?

You may ask the Court’s permission to speak at the Fairness Hearing. To do so, you must send a letter
saying that it is your “Notice of Intention to Appear in In re: Hyundai and Kia Engine Litigation, No.
8:17-cv-00838-JLS-JDE and Flaherty v. Hyundai Motor Company, et al., No. 18-cv-02223 (C.D. Cal.)”
or state in your objections that you intend to appear at the hearing. Be sure to include your name,
address, telephone number, the model year and VIN for your Class Vehicle(s), and signature, as well as
the identities of any attorneys who will represent you. Your Notice of Intention to Appear must be
postmarked no later than [DATE], and be sent to Class Counsel and Defense Counsel, at the following
addresses:




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                               Defense Counsel                    Class Counsel
                                 Shon Morgan                   Matthew D. Schelkopf
                          QUINN EMANUEL URQUHART                 Sauder Schelkopf
                               & SULLIVAN, LLP                 555 Lancaster Avenue
                         865 S. Figueroa St., 10th Floor    Berwyn, Pennsylvania 19312
                         Los Angeles, California 90017



                                         IF YOU DO NOTHING


     24.       What happens if I do nothing at all?

If you do nothing, you’ll get no reimbursements from this Settlement, though you will be entitled to the
benefits of the Lifetime Warranty (if you continue to own or lease your Class Vehicle). But, unless you
exclude yourself, you won’t be able to start a lawsuit, continue a lawsuit, or be part of any other lawsuit
against HMA, HMC, KMC, KMA, or other related entities or individuals about the legal issues in this
case, ever again.

However, even if you take no action, you will keep your right to sue Defendant for any other claims not
resolved by the Settlement.

                                  GETTING MORE INFORMATION


     25.       Are there more details about the Settlement?

This notice summarizes the proposed Settlement. More details are in a Settlement Agreement, which
you can view at [settlement website].

Neither Defendants nor the Class Representatives make any representation regarding the tax effects, if
any, of receiving any benefits under this Settlement. Consult your tax adviser for any tax questions you
may have.

     26.       How do I get more information?

You can call [Hyundai’s phone number or Kia’s phone number] toll free or visit [settlement website],
where you will find information and documents about the settlement, a Claim Form, plus other
information. You may also contact Class Counsel listed in response to Question 12.



Other than a request to review the Court’s files at the Clerk of the Court’s Office, please do not
contact the Clerk of the Court or the Judge with questions.




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                              CLAIM FORM – Six Steps to Make a Claim
                    In re: Hyundai and Kia Engine Litigation, No. 8:17-cv-00838 (C.D. Cal.)
                    Flaherty v. Hyundai Motor Company, et al., No. 18-cv-02223 (C.D. Cal.)


[1] Verify the below information is correct. If it is incorrect or missing, please provide the
information in the spaces below:

                                  [Auto Fill Name]
                                  [Auto Fill Address 1]
                                  [Auto Fill Address 2]
                                  [Auto Fill City], [Auto Fill State] [Auto Fill Zip Code]

 First Name:
 Last Name:
 Address 1:
 Address 2:
 City:                                                                                                      State:
 Zip Code:                              —



[2] (Optional) - Please provide your email address:

 Email:

If you choose to provide your email address, Hyundai or Kia will contact you about the settlement by email. If
not, Hyundai or Kia will contact you about the settlement at the postal address above.



[3] Please provide your Vehicle Identification Number (“VIN”). The VIN is located on a small placard on
the top of the dashboard and is visible through the driver’s side corner of the windshield. It also appears on your vehicle
registration card and probably appears on your vehicle insurance card. Your VIN should have 17 characters, a
combination of both letters and numbers.

 VIN:



[4] Indicate the Reimbursement(s) You Are Claiming, The Amount of the Reimbursement You
are Requesting, and Enclose The Required Documents. NOTE: More Than One Type of
Reimbursement May Apply to You.

            I AM REQUESTING REIMBURSEMENT FOR REPAIRS PERFORMED AT A HYUNDAI OR
         KIA DEALERSHIP FOR ENGINE STALLING, KNOCKING, ENGINE FAILURE, ENGINE FIRE,
         ILLUMINATION OF THE OIL LAMP OR OTHER ENGINE SHORT BLOCK ASSEMBLY REPAIR

                Please provide the amount of the repairs for which you
                                                                             $
                are requesting reimbursement:
                                                                                                   .


                   For more information please view the Class Notice, call [Hyundai toll free no. & Kia toll free
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no.] or visit www.[website]com
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             Documentation: Enclose a credit card receipt, receipt from the dealership, credit card statement, OR other
             document showing the amount that you (or a friend or family member) paid for the repair(s). (If you paid in
             cash and have no receipt, your signature on the reverse side of this claim form will constitute your attestation,
             under penalty of perjury, that you (or a friend or family member) paid for the repair in cash and do not have a
             receipt or documentation for the payment.)

          I AM REQUESTING REIMBURSEMENT FOR REPAIRS PERFORMED AT A THIRD-
       PARTY REPAIR FACILITY (UNRELATED TO HYUNDAI OR KIA) FOR ENGINE STALLING,
       KNOCKING, ENGINE FAILURE, ENGINE FIRE, ILLUMINATION OF THE OIL LAMP OR
       OTHER ENGINE SHORT BLOCK ASSEMBLY REPAIR



                Please provide the amount of the repairs for which you
                                                                            $
                are requesting reimbursement:
                                                                                                     .

             Documentation: Enclose a repair invoice or document that shows: (i) the repair type, (ii) the repair date, and
             (iii) the amount paid (e.g., credit card receipt, credit card statement, or bank statement). (If you paid in cash
             and have no receipt, your signature on the reverse side of this claim form will constitute your attestation, under
             penalty of perjury, that you (or a friend or family member) paid for the repair in cash and do not have a receipt
             or documentation for the payment.)

                            I AM REQUESTING THE $140 GOODWILL PAYMENT FOR PREVIOUSLY
                          DENIED WARRANTY REPAIRS [If before receiving notice of this Settlement you
                          presented a Qualifying Repair to a Hyundai or Kia dealership and were denied an in-
                          warranty repair and subsequently obtained the Repair elsewhere, you may be eligible to
                          receive an additional $140 goodwill payment.]


          I AM REQUESTING REIMBURSEMENT FOR RENTAL CAR / TOWING / OTHER COSTS
       INCURRED FOR ENGINE STALLING, KNOCKING, ENGINE FAILURE, ENGINE FIRE,
       ILLUMINATION OF THE OIL LAMP OR OTHER ENGINE SHORT BLOCK ASSEMBLY REPAIR


                Please provide the total amount of rental car, towing,
                and/or other costs for which you are requesting             $
                reimbursement:                                                                       .

             Documentation: Enclose a receipt or document showing all of the below:
                             What was purchased (e.g., a rental car or towing service)
                             Date of purchase
                             Amount paid (e.g., credit card receipt, credit card statement, or bank statement). (If you
                             paid in cash and have no receipt, your signature on the reverse side of this claim form will
                             constitute your attestation, under penalty of perjury, that you (or a friend or family member)
                             paid for the repair in cash and do not have a receipt or documentation for the payment.)
                             The date and nature of the corresponding repair (not needed if the repair was performed at
                             a Hyundai or Kia dealership)
           I AM REQUESTING COMPENSATION FOR INCONVENIENCE DUE TO REPAIR DELAYS
            EXCEEDING 60 DAYS


                   For more information please view the Class Notice, call [Hyundai toll free no. & Kia toll free
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no.] or visit www.[website]com
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                Please provide the total number of days obtaining any
                repairs done at an authorized Hyundai or Kia dealership.

                                I AM REQUESTING A CASH PAYMENT [If you had delays between 61 and 90 days
                                  you will be entitled to $50, and an additional $25 for each additional 30 day period (or
                                  fraction thereof) of delay.]

                                I AM REQUESTING A DEALER SERVICE CARD FOR 150% OF THE CASH
                                  PAYMENT I WOULD OTHERWISE BE ENTITLED TO FOR THIS BENEFIT.

                             Documentation: Documents supporting the number of delayed days (e.g. repair order
                                identifying open and close date).


           I AM REQUESTING REIMBURSEMENT FOR A CLASS VEHICLE I SOLD OR TRADED-IN
           AFTER THE VEHICLE WAS DIAGNOSED AS REQUIRING A QUALIFYING REPAIR, BUT
           BEFORE THE REPAIR WAS PERFORMED
                         If you check this box Hyundai or Kia will contact you about your request for compensation.
                         To potentially qualify for compensation your vehicle must have experienced an engine seizure,
                         engine stall, engine noise, or illumination of the oil lamp that was diagnosed as requiring repair of the
                         engine, but you sold or traded-in your vehicle before the repair was performed.
                         The sale or trade-in must have occurred before [insert 90 days after notice date].
                         You are eligible for reimbursement by HMA (for Hyundai Class Vehicles) or KMA (for Kia Class
                         Vehicles) of the baseline Black Book value (i.e., wholesale used vehicle value) of the sold or traded-in
                         Class Vehicle plus $140.00 at the time of loss minus actual amount received from the sale or trade-in.
                         If you have documents that you believe support your request for compensation, such as the repair
                         facility diagnosis and paperwork showing what you received for your vehicle as a sale or trade-in,
                         providing those documents with this claim form may assist in the processing of your claim.



           I AM REQUESTING REIMBURSEMENT FOR A CLASS VEHICLE THAT EXPERIENCED AN
           ENGINE FIRE
                         If you check this box Hyundai or Kia will contact you about your request for compensation.
                         To potentially qualify for compensation your vehicle must have experienced an engine fire as a result
                         of an engine seizure, engine stall, engine noise, or illumination of the oil lamp due to a connecting rod
                         bearing failure or symptoms associated with connecting rod bearing failure, that resulted in your loss
                         of the vehicle.
                         You must submit this claim no later than 90 days after the Notice Date or, for losses incurred after the
                         Notice Date, no later than 90 days after the engine compartment fire occurred.
                         You are eligible for payment by HMA (for Hyundai Class Vehicles) or KMA (for Kia Class Vehicles) of
                         the maximum Black Book value (i.e., private party/very good) of the Class Vehicle at the time of loss
                         minus actual value received (if any).
                         In addition to reimbursement for the vehicle, you are eligible to receive an additional $140 goodwill
                         payment.If you have documents that you believe support your request for compensation, such as the
                         repair facility diagnosis and paperwork showing what you received for your vehicle (if anything),
                         providing those documents with this claim form may assist in the processing of your claim.

           I LOST FAITH IN MY VEHICLE UPON RECEIPT OF THE SETTLEMENT NOTICE, SOLD
           MY VEHICLE, AND PURCHASED A REPLACEMENT KIA (for KIA class members) OR
           HYUNDAI (for Hyundai class members) VEHICLE WITHIN 90 DAYS AFTER RECEIPT OF
           THE SETTLEMENT NOTICE
                         If you check this box Hyundai or Kia will contact you about your request for compensation.
                   For more information please view the Class Notice, call [Hyundai toll free no. & Kia toll free
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no.] or visit www.[website]com
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                         To potentially qualify for this compensation, you must sell your vehicle in an arm’s length transaction
                         and purchase another vehicle from Kia (for Kia class members) or from Hyundai (for Hyundai class
                         members).
                         To potentially qualify for compensation your vehicle must have experienced an engine failure or an
                         engine fire due to a connecting rod bearing failure or symptoms associated with connecting rod
                         bearing failure.
                         You must submit this claim within 90 days of the Notice Date, or for engine failure or fire occurring
                         after the Notice Date, you must submit this claim within 90 days of the event.
                         If you choose this option you are eligible for a rebate which shall be calculated as the actual loss by
                         comparing sales documentation to the maximum Black Book value of the vehicle at the time the
                         Knock Sensor Detection System campaign launch. You may be entitled to payment up to the
                         following amounts:
                              a. For model year 2011-2012 Class Vehicles: $2,000
                              b. For model year 2013 and 2014 Class Vehicles: $1,500
                              c. For model year 2015 and 2016 Class Vehicles: $1,000
                              d. For model year 2017 and 2018 Class Vehicles: $500
                         If you have documents that you believe support your request for compensation, such as the repair
                         facility diagnosis, paperwork showing what you received for your vehicle’s sale or trade-in, and
                         paperwork showing proof of purchase of another Hyundai or Kia vehicle, providing those documents
                         with this claim form may assist in the processing of your claim.



[5] Sign & Date
The information on this form is true and correct to the best of my knowledge. I agree to participate in the settlement. I
authorize any dealership that serviced my vehicle to release records to Hyundai or Kia to help pay my claim. To the
extent I am seeking reimbursement for a dealership repair and do not have a receipt or other documentation for the
corresponding cash payment, I attest under penalty of perjury that I (or a friend or family member) paid for the repair in
cash and I do not have a receipt or documentation for the payment. If I am seeking to participate in the rebate program, I
attest under penalty of perjury that I have lost faith in my vehicle.


Signature:__________________________________________ Date:___________________


[6] Submit: Email the completed form and the documentation to [Hyundai email address or Kia Settlement
Administrator email address] or mail it to [Hyundai postal mail address or Kia Settlement Administrator postal mail
address]




                   For more information please view the Class Notice, call [Hyundai toll free no. & Kia toll free
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no.] or visit www.[website]com
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                                                  Pamphlet
                           [Text only; to be accompanied by color vehicle photography]

  Cover Page

  INFORMATION ABOUT THE ENGINE IN YOUR [HYUNDAI/KIA] VEHICLE

  Please keep this brochure in your [Hyundai/Kia] ehicle s glo e bo     ith o r O ner s Man al

  Page 1

  Software Upgrade: Knock Sensor Detection System

  A ne engine moni o ing echnolog called a knock en o de ec ion             em has been developed. The
  technology enables the detection of potential early engine issues caused by excessive bearing wear, and
  ha been e al a ed b one of he o ld leading enginee ing and cien ific con l ing fi m The
  technology has recently been made available for your vehicle.

  If you have not already done so, please take your vehicle to a [Hyundai/Kia] dealership to receive the
  knock sensor detection software update. This will be provided to you at no cost.

  The software is designed to detect early signs of excessive connecting rod bearing wear that are
  ordinarily associated with an engine knocking noise. Once detected, the system alerts the driver,
  through dashboard warnings and by placing the vehicle in a reduced, engine protection mode, that the
  vehicle needs to be serviced immediately at a [Hyundai/Kia] dealer. In that case, please proceed directly
  to a [Hyundai/Kia] dealer.

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  Lifetime Warranty

  Hyundai is also providing lifetime warranty coverage for certain engine repairs for original and
  subsequent owners of model year 2011-2019 Sonatas, 2013-2018 Santa Fe Sports, 2019 Santa Fes, and
  2014, 2015, 2018 and 2019 Tucsons who obtain the software updated described above. The lifetime
  warranty will cover the short block assembly, consisting of the engine block, crankshaft and main
  bearings, connecting rods and connecting rod bearings, and pistons. The lifetime warranty will also
  apply to any damage caused to the long block assembly due to connecting rod bearing failure.

  Back Cover

  Should you have any questions regarding the information contained in this pamphlet, please contact the
  [Hyundai Customer Connect Center at _________] Kia Customer Assistance Center at _______].

  Thank you for choosing [Hyundai/Kia].




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 1                           UNITED STATES DISTRICT COURT
 2                          CENTRAL DISTRICT OF CALIFORNIA
 3     In re: Hyundai and Kia Engine              8:17-cv-00838-JLS-JDE
       Litigation
 4
                                                  Related Cases:
 5                                                8:17-cv-01365-JLS-JDE
                                                  8:17-cv-02208-JLS-JDE
 6
                                                  2:18-cv-05255-JLS-JDE
 7                                                8:18-cv-00622-JLS-JDE
                                                  8:18-cv-02223-JLS-JDE
 8
 9                                                [PROPOSED] ORDER GRANTING
                                                   LAIN IFF MO ION FO
10
                                                  PRELIMINARY APPROVAL OF
11                                                CLASS ACTION SETTLEMENT
12
13
14          WHEREAS, Plaintiffs Cara Centko, Jenn Lazar, Christopher Stanczak, Rose
15    Creps, James Kinnick, Wallace Coats, Maryanne Brogan, Andrea Smolek, Danny
16    Dickerson, Robert Fockler, Amy Franklin, Donald House, Dave Loomis, Joseph
17    McCallister, Arron Miller, Ricky Montoya, Lynn North, Mark Rice, Reid Schmitt,
18    J      S     ,    C     S           ( N         P               C     R                 ),
19    individually and as representatives of a Class defined below, and Defendants Hyundai
20    M      A         ( HMA ), H         M       C           ( HMC ), K M
21    C            ( KMC )        K M         A           ( KMA ) (             y the P        )
22    have entered into a Settlement Agreement dated October 10, 2019, which, if approved,
23    would resolve this class action;
24          WHEREAS, the Named Plaintiffs have filed a motion for preliminary approval
25    of the proposed settlement, and the Court has reviewed and considered the motion, the
26    supporting brief, the Settlement Agreement, and all exhibits thereto, including the
27    proposed class notice (the Long Form N          ),              ( C       F    ), and
28
      [PROPOSED] ORDER GRANTING PLTFS. MOTION FOR
      PRELIM. APPROVAL OF CLASS ACTION SETTLEMENT - 1
Case
 Case8:17-cv-00838-JLS-JDE
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 1               ( P         ), and finds there is sufficient basis for granting preliminary
 2    approval of the settlement, directing that notice be disseminated to the class, and
 3    setting a hearing at which the Court will consider whether to grant final approval of
 4    the settlement;
 5          IT IS HEREBY ORDERED that:
 6          1.     Capitalized terms not otherwise defined herein shall have the same
 7    meaning as set forth in the Settlement Agreement.
 8          2.     Under the Settlement Agreement, the Class has been defined as: All
 9    owners and lessees of a Class Vehicle who purchased or leased a Class Vehicle in the
10    United States, including those that were purchased while the owner was abroad on
11    active U.S. military duty, but excluding those purchased in U.S. territories and/or
12    abroad. Excluded from the claims of the Class (and not released by this Settlement)
13    are all claims for death, personal injury, property damage (other than damage to a
14    Class Vehicle that is the subject of a Qualifying Repair), and subrogation. Also
15    excluded from the Class are HMA, HMC, KMC and KMA; any affiliate, parent, or
16    subsidiary of HMA, HMC, KMC or KMA; any entity in which HMA, HMC, KMC or
17    KMA has a controlling interest; any officer, director, or employee of HMA, HMC,
18    KMC or KMA; any successor or assign of HMA, HMC, KMC or KMA; any judge to
19    whom this Action is assigned, his or her spouse, and all persons within the third
20    degree of relationship to either of them, as well as the spouses of such persons;
21    (c) individuals and/or entities who validly and timely opt-out of the settlement;
22    (d) consumers or businesses that have purchased Class Vehicles previously deemed a
23    total loss (i.e., salvage or junkyard vehicles) (subject to verification through Carfax or
24    other means); and (e) current or former owners of a Class Vehicles that previously
25    released their claims in an individual settlement with HMA, HMC, KMC and KMA
26    with respect to the issues raised the Action (for the purpose of clarity, individual
27    owners of 2011-2014 Hyundai Sonatas who released claims against HMA and HMC
28
      [PROPOSED] ORDER GRANTING PLTFS. MOTION FOR
      PRELIM. APPROVAL OF CLASS ACTION SETTLEMENT - 2
Case
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 1    in the settlement reached in Mendoza v. Hyundai Motor Company Ltd., et. al., Case
 2    No. 15-cv-01685-BLF (C.D. Cal.) are not excluded from the claims of the Class).
 3          3.     The Court preliminarily approves the proposed settlement, finding that
 4    the terms of the Settlement Agreement appear sufficiently fair, reasonable, and
 5    adequate to warrant dissemination of the Long Form Notice of the proposed settlement
 6    to the Class. The Court finds that the Settlement Agreement contains no obvious
 7    deficiencies and that the parties entered into the Settlement Agreement in good faith,
 8                    -length negotiation between their respective counsel.
 9          4.     The Court appoints Matthew D. Schelkopf of Sauder Schelkopf, Adam
10    Gonnelli of The Sultzer Law Group, Bonner Walsh of Walsh PLLC, and Steve W.
11    Berman of Hagens Berman Sobol Shapiro LLP as Class Counsel and Cara Centko,
12    Jenn Lazar, Christopher Stanczak, Rose Creps, James Kinnick, Wallace Coats,
13    Maryanne Brogan, Andrea Smolek, Danny Dickerson, Robert Fockler, Amy Franklin,
14    Donald House, Dave Loomis, Joseph McCallister, Arron Miller, Ricky Montoya,
15    Lynn North, Mark Rice, Reid Schmitt, James Smith, and Chris Stackhouse as Class
16    Representatives.
17          5.     The Court hereby approves the form and procedures for disseminating
18    notice of the proposed settlement to the Class as set forth in the Settlement Agreement.
19    The Court finds that the notice to be given constitutes the best notice practicable under
20    the circumstances, and constitutes valid and sufficient notice to the Class in full
21    compliance with the requirements of due process and applicable law.
22          6.     For purposes of identifying current and former owners and lessees of
23    Class Vehicles, R.L. Polk & Company, or a similar third-party entity, is hereby
24    authorized to provide the names and most current addresses of such owners and
25    lessees to HMA and/or KMA or their designee(s). Any governmental agency in
26    possession of names or addresses of current and former Class Vehicle owners or
27
28
      [PROPOSED] ORDER GRANTING PLTFS. MOTION FOR
      PRELIM. APPROVAL OF CLASS ACTION SETTLEMENT - 3
Case
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 1    lessees is hereby authorized and directed to release that information to R.L. Polk &
 2    Company, or a similar third-party entity, upon request.
 3          7.      As set forth in the Settlement Agreement, HMA, HMC, KMC and KMA
 4    shall bear all costs and expenses in connection with providing notice to the Class and
 5    administering the proposed settlement.
 6          8.      Any Class Member shall have the right to opt out of the Class and the
 7    settlement by sending a written request for exclusion from the Class to the address
 8    listed in the Long Form Notice postmarked no later than the deadline provided for
 9    such exclusion as set forth in the Long Form Notice. To be effective, the request for
10    exclusion must include:
11          (i)            C      M         full name and current address;
12          (ii)                           V       I             N           ( VIN )       the Class
13                  M              Class Vehicle(s) and the approximate date(s) of purchase or
14                  lease;
15          (iii)   a clear and specific state              C     M               desire to be
16                  excluded from the Settlement and from the Class.
17    Any Class Member who does not submit a timely and valid request for exclusion shall
18    be subject to and bound by the Settlement Agreement and every order or judgment
19    entered concerning the Settlement Agreement.
20          9.      Any Class Member who intends to object to final approval of the
21    settlement      /                                                       ,
22    than the deadline provided for such objection to the Court, Class Counsel, and Defense
23    Counsel, as set forth in the Long Form Notice. Each objection must include:
24                  (i)        the case name and number, In re: Hyundai and Kia Engine Litig.,
25                             No. 8:17-cv-00838 (C.D. Cal.);
26                  (ii)                    C    M          full name, current address, and
27                             current telephone number;
28
      [PROPOSED] ORDER GRANTING PLTFS. MOTION FOR
      PRELIM. APPROVAL OF CLASS ACTION SETTLEMENT - 4
Case
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 1                 (iii)   the model year and VIN of                 C      M          Class
 2                         Vehicle(s);
 3                 (iv)    a statement of the objection(s), including all factual and legal
 4                         grounds for the position;
 5                 (v)     copies of any documents the objecting Class Member wishes to
 6                         submit in support;
 7                 (vi)    the name and address of the lawyer(s), if any, who is representing
 8                         the objecting Class member in making the objection or who may be
 9                         entitled to compensation in connection with the objection;
10                 (vii) a statement of whether the Class member objecting intends to
11                         appear at the Final Approval Hearing, either with or without
12                         counsel;
13                 (viii) the identity of all counsel (if any) who will appear on behalf of the
14                         Class member objecting at the Final Approval Hearing and all
15                         persons (if any) who will be called to testify in support of the
16                         objection;
17                 (ix)    the signature of the Class member objecting, in addition to the
18                         signature of any attorney representing the Class member objecting
19                         in connection with the objection, and date the objection; and
20                 (x)     a list of any other objections submitted by the objector, or the
21                                              ,
22                         court in the United States in the previous five years (or Class
23                         member shall affirmatively state in writing that the Class member
24                         or his or her counsel has not made any such prior objection); and
25                 (xi)    a statement disclosing any consideration that the objector, or the
26                                               (     ),                                      (
27                         any) has received in connection with the resolution or dismissal of
28
      [PROPOSED] ORDER GRANTING PLTFS. MOTION FOR
      PRELIM. APPROVAL OF CLASS ACTION SETTLEMENT - 5
Case
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 1                          an objection to a class action settlement within the five years
 2                          preceding the date that the objector files the objection.
 3          10.      If the objecting Class member intends to appear, in person or by counsel,
 4    at the final approval hearing, the objecting Class member must so state in the
 5    objection.
 6          11.      The Court will hold a Fairness Hearing addressing the final approval of
 7    the Settlement Agreement, an award of fees and expenses to Class Counsel, and
 8    incentive payments to the Class Representatives, before the undersigned judge at the
 9    U.S. District Court for the Central District of California, Los Angeles Courthouse, 411
10    W. Fourth St., Santa Ana, CA 92701. At the Fairness Hearing, the Court will consider:
11    (i) whether the settlement should be approved as fair, reasonable, and adequate for the
12    class; (ii) whether a judgment granting approval of the settlement and dismissing the
13    lawsuit with prejudice should be entered; and (iii) whether Class C
14    for                                                   .
15          12.      The following schedule shall govern the class action settlement
16    proceedings:
17                   (i)    HMA, HMC, KMC and KMA must cause individual notice,
18                          substantially in the form attached to the Settlement Agreement as
19                          Exhibit A (proposed Class Notice) and Exhibit B (the Claim
20                          Form), to be mailed via first-class mail to all reasonably
21                          identifiable Class Members by __________________ (within 90
22                          days after entry of this Preliminary Approval Order).
23                   (ii)   Class Members must mail any letter objecting to the proposed
24                          settlement on or before _________________ (within 60 days after
25                          the Notice Date).
26
27
28
      [PROPOSED] ORDER GRANTING PLTFS. MOTION FOR
      PRELIM. APPROVAL OF CLASS ACTION SETTLEMENT - 6
Case
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 1                 (iii)   Class Members must mail any letter electing to exclude themselves
 2                         from the Class on or before ________________ (within 60 days
 3                         after the Notice Date).
 4                 (iv)    The Parties shall submit motions for final approval of the proposed
 5                         settlement, including any exhibits or attachments thereto, on or
 6                         before _______________ (14 days prior to the Fairness Hearing).
 7                 (v)     The Fairness Hearing shall be held on ______________ (165 days
 8                         after entry of this Preliminary Approval Order).
 9    The dates established for items (ii), (iii), and (v) shall be included in the Long Form
10    Notice mailed to Class Members.
11          13.    Plaintiffs shall file, on or before _______________ (30 days after the
12    Notice Date),                                  and expenses. HMA, HMC, KMC and
13    KMA shall file any responses to the motion on or before _______________, and, if
14    necessary, Plaintiffs shall file a reply brief in support of its motion on or before
15    __________________.
16          14.    The Court has the authority and duty under Rule 23 of the Federal Rules
17    of Civil Procedure to manage this class action litigation, ensure that clear and accurate
18    notices are provided to the class, and protect the class members from information and
19    communications about the proposed settlement or litigation that are coercive,
20    deceptive, false, misleading, confusing, omit material information, or otherwise
21    undermine the class action process. The Court has approved certain forms of notice
22    that provide class members with clear, accurate, and objective information about the
23    proposed settlement. The Court intends to carefully scrutinize any additional
24    communications with, or information directed to, class members that are brought to its
25    attention by a moving party, including communications or information provided by or
26    on behalf of persons or entities who are not named parties in this litigation. See
27    Manual for Complex L              (4 ) 21.33 ( O
28
      [PROPOSED] ORDER GRANTING PLTFS. MOTION FOR
      PRELIM. APPROVAL OF CLASS ACTION SETTLEMENT - 7
Case
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 1    attorneys may not communicate misleading or inaccurate statements to class members
 2    about the terms of a                                                          . ); In re
 3    Gen. Motors Corp.Engine Interchange Litig., 594 F.2d 1106, 1140 n.60 (7th Cir.
 4    1979) ( S               opt-out tend to reduce the effectiveness of (b)(3) class actions
 5    for no legitimate       . ).
 6          15.    With respect to any such communications or information, the Court
 7    intends to make specific findings based on the particular circumstances, and will take
 8    appropriate action in accordance with the standards set forth in Gulf Oil Co. v.
 9    Bernard, 452 U.S. 89 (1981). In order to reduce the risk of class members receiving
10    misleading or confusing information outside the context of the forms of notice
11    approved by the Court and to reduce the need for costly curative notice, the Court
12    encourages any person who wishes to send or provide a written communication to
13    multiple class members about the proposed settlement or this litigation to submit the
14    proposed communication to the Court for review and approval prior to issuing it.
15          16.    Since the Court has appointed Class Counsel and preliminarily certified
16    the class, the Court also finds that the class members are represented by Class
17    Counsel, and the ethical rule relating to communications with represented persons
18    applies to attorney communications with the class members. See, e.g., ABA Model
19    Rule of Professional Conduct 4.2 (and the relevant counterparts in each state or
20    jurisdiction); see also Jacobs v. CSAA Inter-Ins., No. C07-00362MHP, 2009 WL
21    1201996, at *3 (N.D. Cal. May 1, 2009). Therefore, the Court reminds any lawyer
22    wishing to communicate with class members to comply with applicable ethical rules.
23    See, e.g., ABA Model Rule of P              C        4.2 ( [ ]                            ,
24    lawyer shall not communicate about the subject of the representation with a person the
25    lawyer knows to be represented by another lawyer in the matter, unless the lawyer has
26    the consent of the other lawyer or                                                 . ).
27
28
      [PROPOSED] ORDER GRANTING PLTFS. MOTION FOR
      PRELIM. APPROVAL OF CLASS ACTION SETTLEMENT - 8
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 1          17.    In most circumstances, communications by lawyers with class members
 2    about this class action litigation or the proposed settlement must go through Class
 3    Counsel, and direct contact is prohibited. However, this Order is not intended to
 4    prevent an individual class member from proactively seeking the advice of a third-
 5    party attorney regarding his or her rights in the context of this class action during the
 6    opt-out period.
 7
 8
      DATED: ___________________
 9
10
11                                            Hon. Josephine L. Staton
12                                            U.S. District Court Judge
13
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28
      [PROPOSED] ORDER GRANTING PLTFS. MOTION FOR
      PRELIM. APPROVAL OF CLASS ACTION SETTLEMENT - 9
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                        EXHIBIT D
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 1
                          UNITED STATES DISTRICT COURT
 2                       CENTRAL DISTRICT OF CALIFORNIA
 3                                             8:17-cv-00838-JLS-JDE
 4
                                               Related Cases:
 5                                             8:17-cv-01365-JLS-JDE
 6                                             8:17-cv-02208-JLS-JDE
       In re: Hyundai and Kia Engine           2:18-cv-05255-JLS-JDE
 7
       Litigation                              8:18-cv-00622-JLS-JDE
 8                                             8:18-cv-02223-JLS-JDE
 9
                                               DECLARATION OF ADAM
10                                             GONNELLI IN SUPPORT OF
11                                             FINAL APPROVAL OF CLASS
                                               SETTLEMENT
12
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 1          1.       My name is Adam Gonnelli, one of the Class Counsel in this case.
 2          2.       At the request of Hemming Morse, the valuation expert Class Counsel
 3    retained to opine on the value of the proposed settlement, I obtained certain
 4    information that Hemming Morse wished to use in their analysis.
 5          3.       In addition to the Defendants’ Interrogatory responses of January 27,
 6    2020, from August through October 2020, I requested and received the following
 7    information from the defendants and their counsel and from Epiq, the settlement
 8    claims administrator for Kia Motors America.
 9          4.       The information included updated Interrogatory responses, information
10    about warranty pricing, further detail on Class vehicles sales by year and model, and
11    claims data.
12          5.       In an updated response to Interrogatories propounded by plaintiffs, Kia
13    stated that as of September 14, 2020, the total population of Kia Class Vehicles was
14    1,868,031. Of those, 138,177 had a branded title and 1,371 were not sold mainly due
15    to fire damage in transport. This leaves the number of Kia Class Vehicles at
16    1,728,483.
17          6.       In an updated response to Interrogatories propounded by plaintiffs,
18    Hyundai stated that as of September 16, 2020, the total number of Hyundai Class
19    Vehicles sold was 2,402,230, of which 174,145 were scrapped, salvaged, crushed or
20    whose registration had lapsed for three years or more. The number of Hyundai Class
21    Vehicles included in the settlement is thus 2,228,805.
22          7.       According to Hyundai, the average MSRP in 2020 for the 10-
23    year/100,000 mile Powertrain warranty is $2,431 for a vehicle with 60,000 miles.
24          8.       Kia provided the MSRP for the following warranties:
25     Model          Protection Plan        MSRP Cost (New/Used)
26     Sorento        Gold Coverage          New Vehicle: $1,329-$2,127
27                                           Used Vehicle: $1,440-$5,833
28                    Platinum Coverage      New: $1,556-$2,833


                                                   1
      DECLARATION OF ADAM GONNELLI IN SUPPORT OF FINAL APPROVAL OF CLASS SETTLEMENT
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 1     Model         Protection Plan        MSRP Cost (New/Used)
 2                                          Used: $1,633-$9,409
 3                   Powertrain Coverage    Used: $1,333-$3,309
 4
 5     Sportage      Gold Coverage          New Vehicle: $1,329-$2,127
 6                                          Used Vehicle: $1,424-$4,271
 7                   Platinum Coverage      New: $1,556-$2,833
 8                                          Used: $1,609-$6,416
 9                   Powertrain Coverage    Used: $1,320-$2,758
10
11     Optima        Gold Coverage          New: $1,258-$1,936
12                                          Used: $1,440-$5,833
13
                     Platinum Coverage      New: $1,453-$2,320
14
                                            Used: $1,633-$9,409
15
                     Powertrain Coverage    Used: $1,333-$3,309
16
17            9.    Hyundai and Kia stated that the value of the short engine block does not
18    constitute less than 10% of the value of the powertrain.
19            10.   In its Interrogatory responses of January 27, 2020, Kia stated that labor
20    rates at dealerships in the United States ranged from $83 to $173 per hour and that the
21    average labor rate in the United States at a Kia dealership is $115 per hour.
22            11.   In its Interrogatory responses of January 27, 2020 Hyundai stated that
23    labor rates at dealerships in the United States ranged from $75 to $202 per hour and
24    that the average labor rate in the United States at a Hyundai dealership is $120 per
25    hour.
26            12.   Defendants clarified to me that the average labor rates were calculated on
27    a dealer-by-dealer basis, by adding the labor rates at all dealers and dividing by
28    number of dealers.

                                                  2
      DECLARATION OF ADAM GONNELLI IN SUPPORT OF FINAL APPROVAL OF CLASS SETTLEMENT
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 1           13.    In its Interrogatory responses of January 27, 2020, Kia stated that it
 2    reimburses dealers for 0.3 hours of labor to install the KSDS update in in Class
 3    Vehicles.
 4           14.    In its Interrogatory responses of January 27, 2020, Hyundai stated that it
 5    reimburses dealers for 0.3 hours of labor to install the KSDS update in in Class
 6    Vehicles other than the 2015 model year Sonata and Sante Fe Sport vehicles, for
 7    which it reimburses dealers for 0.5 hours of labor.
 8           15.    Hyundai stated that it will reimburse dealers for 0.5 hours for a diagnostic
 9    inspection for all Hyundai Class Vehicles except for the 2019 Hyundai Santa Fe
10    model, for which Hyundai reimburses 0.6 hours.
11           16.    Kia stated that it will reimburse dealers for 0.7 hours of labor for a
12    diagnostic inspection.
13           17.    Kia stated that the range of participation in a typical recall is
14    approximately 25-35%. I asked Hemmings Morse to use the bottom of the range,
15    25%, to estimate how many Class vehicles would be inspected under the free
16    inspection component of the settlement.
17           18.    In an updated response to Interrogatories propounded by plaintiffs, Kia
18    stated that the KSDS had been installed on 1,264,871 Kia Class Vehicles as of
19    September 21, 2020.
20           19.    In an updated response to Interrogatories propounded by plaintiffs,
21    Hyundai stated that the KSDS had been installed on 1,659,338 Hyundai Class
22    Vehicles as of September 16, 2020.
23           20.    Kia provided the following updated information on sales:
24                         # of Class     # of Retailed
25     Model       Year    Vehicles       thru            Remarks
26                         Produced       9/14/2020
27     Sportage    2011    3,273          3,273
       (Theta II
28                 2012    2,284          2,284
       2.4 GDI

                                                      3
      DECLARATION OF ADAM GONNELLI IN SUPPORT OF FINAL APPROVAL OF CLASS SETTLEMENT
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 1     &           2013    2,690       2,690
       2.0
 2     TGDI)                                           Some (703) of production were fire-
                   2014    34,006      33,303          damaged while on vessel ('Asian
 3                                                     Empire') & scrapped
 4                 2015    43,177      43,177

 5                 2016    46,147      46,146

 6                 2017    107,488     107,483

 7                 2018    73,088      72,776
 8                 2019    67,613      67,571
 9                 Total   379,766     378,703
10
11                 2011    61,459      61,459
12                 2012    95,995      95,995
13                 2013    193,336     193,336
14                                                     Some (42) of production were fire-
       Optima      2014    99,955      99,913          damaged while on vessel ('Asian
15
       (Theta II                                       Empire') & scrapped
16     2.4 GDI     2015    214,799     214,797
17     &
       2.0         2016    122,478     122,409
18     TGDI)
                   2017    55,881      55,881
19                 2018    94,284      94,143
20
                   2019    69,538      69,506
21
                   Total   1,007,725   1,007,439
22
23
                   2011    0           0
24     Sorento
                   2012    47,262      47,262
25     (Theta II
       2.4 GDI     2013    43,935      43,935
26     &
       2.0         2014    72,887      72,887
27     TGDI)
                   2015    62,254      62,254
28

                                                   4
      DECLARATION OF ADAM GONNELLI IN SUPPORT OF FINAL APPROVAL OF CLASS SETTLEMENT
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 1                 2016       91,971         91,968

 2                 2017       68,158         68,158
 3                 2018       37,361         37,351
 4                 2019       56,712         56,703
 5                 Total      480,540        480,518
 6
 7                                                           1,371 not sold (745 of 1,371 were
                   Overall    1,868,031      1,866,660
 8                                                           scrapped due to fire damage.)

 9
10          21.     Hyundai provided the following information on sales of Class Vehicles
11    by year:
12         Vehicle Model                  Model Year             Class Vehicles

13                                                    2011                    289,061

14                                                    2012                    178,285

15                                                    2013                    286,407
16                                                    2014                    132,077
17               Sonata                               2015                    233,719
18                                                    2016                    162,824
19                                                    2017                    149,303
20                                                    2018                    122,151
21                                                    2019                      88,166
22                         Sonata Total                                     1,641,993
23
                                                      2013                      91,194
24
                                                      2014                      80,151
25
                                                      2015                      53,969
26    Santa Fe
                                                      2016                      56,414
27
                                                      2017                    141,422
28
                                                      2018                    104,759

                                                         5
      DECLARATION OF ADAM GONNELLI IN SUPPORT OF FINAL APPROVAL OF CLASS SETTLEMENT
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 1                                                2019                   115,852

 2                        Santa Fe Total                                 643,761
 3                                                2014                    30,506
 4                                                2015                    29,999
 5               Tucson                           2018                     7,388
 6                                                2019                    48,583
 7                                                                       116,476
 8                         Grand Total                                 2,402,230
 9
10
11                   22.      Epiq projects that they will receive 86,400 Kia claims by the end
12    of the claim period, April 12, 2020.
13                   23.      Hyundai reported as of September 16, 2020 receiving the
14    following claims:
15     Settlement Claims in          No. Claims           Face Value
16     process                       Received             (Received)
17     Reimbursement for past 5,503                       $9,930,952
18     repairs
19     Inconvenience:                2,602                $364,280
20     repaired elsewhere
21     Inconvenience: repair         1,147                $319,000
22     delay
23     Vehicle fire incidents        589                  $34,626
24     Prior disadvantaged           1,544                $7,640
25     trade/sales
26     Lost faith rebates            1,188                $5,545
27
       Out of Pocket                 3,108                $2,205,775
28
       expenses/towing/rentals

                                                     6
      DECLARATION OF ADAM GONNELLI IN SUPPORT OF FINAL APPROVAL OF CLASS SETTLEMENT
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 1
 2    Hyundai states that the average number of days of delay stated in claims for
 3    inconvenience/delay is 114.
 4                 24.      Kia and Epiq reported receiving the following claims as of
 5    September 18, 2020:
 6   Claim Type                          Total          Amount          Average
 7                                       Claims         Claimed         Per Claim
 8   Kia Repair                          2,439          $5,560,936.56   $2,280.01
 9   Third Party Repair                  2,461          $5,319,279.00   $2,161.43
10   Rental/Towing Costs                 2,964          $2,566,661.03   $865.95
11   Sold Before Repair                  1,670
12   Engine Fire                         734
13   Lost Faith                          1,811
14
15    Kia further states that as of September 18, 2020 there were 1,490 claims for repair
16    delays; 788 of those claims are for over 60 days; and that the average claim is for 159
17    days. The average claim is for $125, and most claimants are choosing the cash option,
18    with only 72 claimants having elected the dealer service card.
19                       I state under penalty of perjury that the above statements are true.
20
21    Dated this day of October 16, 2020.
22
23
                                                 Adam Gonnelli
24
25
26
27
28

                                                    7
      DECLARATION OF ADAM GONNELLI IN SUPPORT OF FINAL APPROVAL OF CLASS SETTLEMENT
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     [LIST OF ADDITIONAL COUNSEL ON SIGNATURE PAGE]
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                                UNITED STATES DISTRICT COURT
13
                              CENTRAL DISTRICT OF CALIFORNIA
14
      In re: Hyundai and Kia Engine                          8:17-cv-00838-JLS-JDE
15
      Litigation
16                                                           Related Cases:
17                                                           8:17-cv-01365-JLS-JDE
                                                             8:17-cv-02208-JLS-JDE
18                                                           2:18-cv-05255-JLS-JDE
19                                                           8:18-cv-00622-JLS-JDE
                                                             8:18-cv-02223-JLS-JDE
20
21                                                           PLAINTIFFS NOTICE OF
22                                                           MOTION AND UNOPPOSED
                                                             MOTION FOR PRELIMINARY
23                                                           APPROVAL OF CLASS ACTION
24                                                           SETTLEMENT
25                                                           Date: December 13, 2019
26                                                           Time: 10:30 a.m.
                                                             Hon. Josephine L. Staton
27
                                                             Courtroom: 10A
28

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 1                                            NOTICE OF MOTION
 2           PLEASE TAKE NOTICE that on December 13, 2019, at 10:30 a.m. before
 3   Honorable Josephine L. Staton in Court 10A, 10th Floor, of the United States District
 4   Court for the Central District of California, located at Ronald Reagan Federal Building
 5   and United States Courthouse, 411 W. Fourth St., Santa Ana, CA, 92701, Plaintiffs
 6   Cara Centko, Jenn Lazar, Christopher Stanczak, Rose Creps, James Kinnick, Wallace
 7   Coats, Maryanne Brogan, Andrea Smolek, Danny Dickerson, Robert Fockler, Amy
 8   Franklin, Donald House, Dave Loomis, Joseph McCallister, Arron Miller, Ricky
 9   Montoya, Lynn North, Mark Rice, Reid Schmitt, James Smith, and Chris Stackhouse
10   will and hereby do move for an order of the Court to preliminarily approve the
11   settlement; certify the proposed settlement class under Rule 23(b)(3); appoint Plaintiffs
12   as class representatives; appoint the undersigned attorneys as Class Counsel; order
13   dissemination of the class notice pursuant to the notice plan set forth in the Settlement
14   Agreement; and set a schedule for final settlement approval.
15           Plaintiffs unopposed motion is based on this notice; the accompanying
16   Memorandum of Law; the Declarations of Matthew D. Schelkopf and Steve W. Berman
17   and all attachments thereto (including the Settlement Agreement); the Proposed Order
18   Granting Preliminary Approval of the Class Action Settlement; and all other papers
19   filed and proceedings had in this Action.
20           This motion is made following the conference of counsel pursuant to L.R. 7-3
21   which took place on October 10, 2019.
22
23   Dated: October 10, 2019                            Respectfully submitted,
24                                                 By:/s/ Matthew D. Schelkopf
25                                                    Joseph G. Sauder
                                                      Matthew D. Schelkopf
26
                                                      Joseph B. Kenney
27                                                    SAUDER SCHELKOPF
28                                                    555 Lancaster Avenue
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     Plaintiffs Notice of Motion and Motion for Preliminar Appro al of Class Action Settlement
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 1     I.      INTRODUCTION
 2             After more than a year of settlement negotiations and discovery, the Parties have
 3     resolved this consumer class action in which Plaintiffs allege the Class Vehicles 1 suffer
 4     from premature engine failure. Plaintiffs allege Defendants knew of a material defect in
 5     the Settlement Class Vehicles, but failed to disclose the defect at the point of sale. Under
 6     the proposed settlement, Settlement Class Members may receive a range of benefits,
 7     including reimbursement for certain out-of-pocket repairs and costs, a Lifetime Warranty
 8     extension, goodwill payments, a rebate, and reimbursement for sold or traded-in
 9     Settlement Class Vehicles with a failed engine.
10             Because the proposed settlement provides substantial benefits to Settlement Class
11     Members while avoiding the risks and costs of protracted litigation, Plaintiffs respectfully
12     request this Court grant their unopposed Motion for Preliminary Approval of the Class
13     Action Settlement.
14     II.     FACTUAL BACKGROUND
15             A.       Pa       ff A e a              a d P e-Litigation Investigation
16             This class action lawsuit was first commenced on May 10, 2017. It was filed after
17     an extensive pre-suit in estigation b Plaintiffs counsel that began on or about
18     February 2, 2017. This investigation included speaking with members of the potential
19     class, reviewing documents provided by class members, reviewing Hyundai and Kia
20     engine designs with automotive experts, and investigating potential legal claims
21     applicable to the class.
22             B.       History of the Litigation
23             On May 10, 2017, Plaintiffs Cara Centko and Jenn Lazar filed the proposed
24     nationwide class action lawsuit Centko and Lazar v. Kia Motors America, Inc., No. 8:17-
25     cv-00838 (C.D. Cal.). On August 8, 2017, Plaintiffs Christopher Stanczak and Rose
26
       1
        The capitalized terms used in this Memorandum are defined in Section I of the Settlement Agreement.
27     The Settlement Agreement and its exhibits are attached as Exhibit 1 to the Declaration of Matthew D.
28     Schelkopf ( Schelkopf Decl. ). The list of Settlement Class Vehicles in this case are also listed in
       Section II(D), infra.
                                                          1
       Plaintiffs Notice of Motion and Motion for Preliminar Appro al of Class Action Settlement
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 1     Creps filed the proposed nationwide class action lawsuit Stanczak and Creps v. Kia
 2     Motors America, Inc. et al., No. 8:17-cv-1365 (C.D. Cal.). On December 19, 2017,
 3     Plaintiffs James Kinnick and Wallace Coats filed the proposed nationwide class action
 4     lawsuit Kinnick and Coats v. Hyundai Motor Co., et al., No. 8:17-cv-02208 (C.D. Cal.).
 5     On January 23, 2018, Plaintiff Maryanne Brogan filed the proposed nationwide class
 6     action lawsuit Brogan v. Hyundai Motor America, et al., No. 8:17-cv-00622 (C.D. Cal).
 7     On April 16, 2018, Plaintiff Andrea Smolek filed the proposed nationwide class action
 8     lawsuit Smolek v. Hyundai Motor America, et al., No. 2:18-cv-05255 (C.D. Cal.). On
 9     August 7, 2018, the Court ordered these cases consolidated as In re: Hyundai and Kia
10     Engine Litigation, No. 8:17-cv-00838 (C.D. Cal.) (ECF No. 85.).
11             On September 4, 2018, Kia Motors America, Inc. and Hyundai Motor America,
12     Inc. and H undai Motor Compan , Ltd. filed separate motions to dismiss Plaintiffs
13     claims. (ECF Nos. 86-89.) On October 9, 2018, Plaintiffs filed oppositions to
14     Defendants motions to dismiss. (ECF Nos. 93-94.) Shortly thereafter, the Court entered
15     the parties request to continue the hearing date on Defendants motions to dismiss to
16     allow the parties to explore the opportunity for settlement. (ECF Nos. 97, 98.)
17             On December 14, 2018, Plaintiffs Fockler, House, Loomis, Miller, Moore, Rice,
18     and Smith, along with other plaintiffs not subject to this proposed settlement, filed the
19     proposed nationwide class action lawsuit Flaherty v. Hyundai Motor Co., et al., No. 18-
20     cv-02223 (C.D. Cal.), alleging similar claims to those in In re: Hyundai and Kia Engine
21     Litigation. Flaherty was amended twice, on January 10, 2019, and May 1, 2019, to add
22     Plaintiffs Dickerson, McCallister, Montoya, Franklin, North, Schmitt, and Stackhouse,
23     along with other plaintiffs not subject to this proposed settlement.
24             On April 22, 2019, plaintiffs in a separate lawsuit pending in the Northern District
25     of California moved to transfer and coordinate or consolidate this Action with Musgrave
26     v. Hyundai Motor America, Inc., No. 4:18-cv-07313-YGR (N.D. Cal.) as well as others in
27     the Central District of California. The Judicial Panel on Multidistrict Litigation denied
28     that motion on August 1, 2019.
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 1             C.       Settlement
 2             After this Court entered the consolidation order on August 7, 2018, counsel in the
 3     consolidated cases met and conferred with counsel for Defendants on multiple occasions,
 4     including with an engineering representative from HMA and KMA present, regarding the
 5     allegations in the consolidated action, the potential defenses of HMA and KMA, and
 6     potential resolution. These meetings between counsel culminated in a mediation session
 7     before Honorable Ronald M. Sabraw (Ret.) of JAMS on December 21, 2018, where the
 8     parties settled in principle. Counsel, including counsel in Flaherty, continued settlement
 9     discussions over the next several months, which resulted in additional modifications and
10     enhancements to the proposed settlement.
11             In order to confirm that the proposed Settlement Agreement is fair, reasonable, and
12     adequate, Plaintiffs counsel deposed two Hyundai Motor Co., Ltd. employees, both of
13     whom traveled from South Korea for their deposition. With the aid of an experienced
14     translator, the depositions spanned two days and covered hundreds of pages of documents
15     produced by Defendants during confirmatory discovery.
16             D.       Terms of the Settlement Agreement
17             If approved, the settlement will provide substantial benefits to the following Class:
18     All owners and lessees of a Class Vehicle who purchased or leased the Class Vehicle in
19     the United States, including those that were purchased while the owner was abroad on
20     active U.S. military duty, but excluding those purchased in the U.S. territories and/or
21     abroad. The Class Vehicles include: all 2011-2018 and certain 2019 model year Hyundai
22     Sonata vehicles, all 2013-2018 and certain 2019 Hyundai Santa Fe Sport vehicles, all
23     2014-2015, 2018, and certain 2019 Hyundai Tucson vehicles, all 2011-2018 and certain
24     2019 Kia Optima vehicles, all 2011-2018 and certain 2019 Kia Sorento vehicles, and all
25     2011-2018 and certain 2019 Kia Sportage vehicles originally equipped with or replaced
26
27
28
                                                                  3
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 1     with a genuine Theta II 2.0 liter or 2.4 liter gasoline direct injection engine within OEM
 2     specifications.2
 3                      1.      Lifetime Warranty Coverage for Engine Short Block
 4              First, effective on the notice date, the Class Vehicles will receive a Lifetime
 5     Warranty, which covers all costs associated with inspections and repairs, including the
 6     costs associated with replacement parts, labor, diagnoses, and mechanical or cosmetic
 7     damage to the Class Vehicles caused by the engine malfunction upon completion of the
 8     Knock Sensor Detection System ( KSDS ) software update. For 90 days immediately
 9     following the notice date, all Class Vehicles that have not received a recall inspection3
10     will be eligible for free inspections and, if necessitated by the free inspections, short
11     block assembly repairs, irrespective of the Class Vehicles mileage, duration of
12     ownership, or any prior repairs.
13              Defendants will also provide a comparable class of loaner vehicle to Class
14     members during any repairs under the Lifetime Warranty. If no loaner vehicle is
15     reasonabl a ailable through Defendants authori ed dealerships, reimbursement of up to
16     $40 per day for reasonable rental car expenses will be provided until the repairs are
17     completed.
18
19
       2
         Excluded from the Class (and not released by this settlement) are all claims for death, personal injury,
20     property damage (other than damage to a Class Vehicle that is the subject of a Qualifying Repair), and
21     subrogation. Also excluded from the Class are (a) HMA and KMA; any affiliate, parent, or subsidiary of
       HMA or KMA; any entity in which HMA or KMA has a controlling interest; any officer, director, or
22     employee of HMA or KMA;(b) any successor or assign of HMA or KMA; any judge to whom this
       Action is assigned, his or her spouse, and all persons within the third degree of relationship to either of
23     them, as well as the spouses of such persons; (c) individuals and/or entities who validly and timely opt-
24     out of the settlement; (d) consumers or business that have purchased Class Vehicles previously deemed
       a total loss (i.e., salvage) (subject to verification through Carfax or other means); and (e) current or
25     former owners of a Class Vehicles that previously released their claims against HMA, HMC, KMC, and
       KMA in an individual settlement with respect to the issues raised in the Action (for the purpose of
26     clarity, individual owners of 2011-2014 Hyundai Sonatas who released claims against HMA and HMC
27     in the settlement reached in Mendoza v. Hyundai Motor Company Ltd., et. al., Case No. 15-cv-01685-
       BLF (C.D. Cal.) are not excluded from the claims of the Class).
28     3
           Previous recall campaigns are discussed infra.
                                                                  4
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 1             Should any disputes about coverage under the Lifetime Warranty occur, they will
 2     be resol ed through the Better Business Bureau s ( BBB ) alternati e dispute resolution
 3     process. Class Counsel shall have the right to participate in the BBB proceedings. All
 4     costs and fees associated with the BBB alternative dispute resolution process will be
 5     borne b Defendants, e cluding an attorne s fees, unless the mediator or arbitration
 6     finds that the Claimant s claims ere brought in bad faith.
 7                      2.      Recall and Product Improvements
 8             In prior litigation, Hyundai recalled certain model year 2011-2012 Hyundai Sonata
 9     vehicles in September 2015 through the National Highway Transportation Safety
10     Administration (NHTSA) Campaign Number 15V-568 and recalled certain model year
11     2013-2014 Hyundai Sonata and Santa Fe Sport vehicles in March 2017 through NHTSA
12     Campaign 17V-226. In December 2018 and January 2019, Defendants issued a
13     subsequent recall of those same vehicles to inspect and confirm proper reinstallation of
14     the fuel tube to address car engines at risk of fire, through NHTSA Campaign numbers
15     18V93400 (as to HMA) and 18V907000 (as to KMA). Also, as of January 2019,
16     Defendants represent that they had each initiated product improvement campaigns in
17     which knock sensor technology could be added through a free software update to the
18     Class Vehicles.
19             As part of the settlement, Defendants represent that these recalls and product
20     improvements represent part of the consideration to the Class.
21                      3.      Repair Reimbursements
22             For any Class member that obtained a Qualifying Repair for a Class Vehicle before
23     receiving notice of the settlement, the Class member will be eligible for full
24     reimbursement by Defendants, regardless of whether the Class member was an original
25     owner, lessee, or subsequent purchaser, or whether the repair was completed before or
26     after the recall campaigns identified in the preceding section. To receive reimbursement,
27     the Class member must submit a completed Claim Form within 90 days after the notice
28
                                                                  5
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 1     date with proof of the repair expense that reflects that the work was conducted to address
 2     the repair.4
 3             For reimbursement claims from repairs performed at authorized Hyundai or Kia
 4     dealerships, Defendants shall take all reasonably available steps to acquire from the
 5     dealerships the information reasonably necessary to approve the claim (i.e. the date,
 6     nature, and cost charged for the repair). Defendants represent that they should be able to
 7     acquire that information in many instances, except for proof that cost for the repair was
 8     paid by the Class member. Thus, Class members will likely only need to substantiate the
 9     cost for the repair through a repair receipt, credit card receipt, credit card statement, or
10     any other receipt or statement showing a payment to the authorized dealership. If the
11     Class member does not have a repair receipt, the Class member may attest under the
12     penalty of perjury that they do not have a receipt. Repair reimbursements shall be
13     provided regardless of whether the repairs were performed at an authorized Hyundai or
14     Kia dealership, or by a third-party.
15             Reimbursements for repairs shall be provided even if warranty coverage was
16     initially denied for allegedly failing to properly service or maintain the Class Vehicle.
17     Class members who presented their Class Vehicle to an authorized dealership and were
18     denied in-warranty repair prior to receiving notice of this settlement, and then obtained
19     their repair elsewhere are eligible for an additional $140 goodwill payment. Repair
20     reimbursements will be denied if Exceptional Neglect is shown.5
21
22
23     4
         Class members that were members of the prior settlement class of 2011-2014 Hyundai Sonatas in
       Mendoza are also eligible for reimbursements for repairs that arose after the claims period expired in
24     that settlement.
       5
25        E ceptional Neglect means (a) hen the ehicle clearl e idences a lack of maintenance or care for
       a significant period of time of not less than one (1) year, such that the vehicle appears dilapidated,
26     abandoned, and/or beyond repair unless such lack of maintenance was due to a Loss Event; or (b) failure
       of a Class member to have the KSDS installed pursuant to the KSDS Product Improvement Campaign
27     by a Hyundai or Kia dealer within 60 days from notice date, or within 60 days of mailing of KSDS
28     campaign notice, whichever is later. Diagnostic costs associated with establishing Exceptional Neglect
       will be borne by Defendants.
                                                             6
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 1                      4.      Other Repair-Related Reimbursements
 2             In addition to reimbursements for Qualifying Repairs, Class members may submit

 3     claims to receive full reimbursement of any towing expenses or other out-of-pocket

 4     expenses reasonably related to obtaining a repair, and up to $40 per day for rental car

 5     expenses if a loaner vehicle was not originally provided by Defendants. Class members

 6     will not be able to submit claims for any alleged lost wages or other consequential

 7     damages. If a Class member was previously reimbursed in full or in part for rental car or

 8     towing expenses, they are not entitled to reimbursement for any portion of the expense

 9     for which they were already reimbursed.

10                      5.      Inconvenience Due to Repair Delays
               If a Class member is or was inconvenienced by delays of more than 60 days when
11
       obtaining a repair from an authorized Hyundai or Kia dealership, the Class member may
12
       submit a claim for a goodwill payment based on the length of delay. Class members are
13
       eligible for goodwill payments of $50 for delays lasting between 61 and 90 days, and $25
14
       for each additional 30-day period of delay or fraction thereof. If so elected, Class
15
       members can receive their compensation in the form a dealership service card valued at
16
       150% of the amount that would otherwise be paid, which can only be used at authorized
17
       Hyundai dealerships (for Hyundai Class Vehicles) or Kia dealerships (for Kia Class
18
       Vehicles) in payment toward parts, service, or merchandise.
19
20                      6.      Loss of Value for Sold or Traded-In Vehicles
               Class members that experienced a Loss Event before receiving notice of the
21
       settlement may submit a claim to recover for the loss. To submit a claim, the Class
22
       Vehicle must have experienced an engine seizure, stall, engine noise, engine
23
       compartment fire, or illumination of the oil lamp diagnosed as requiring repair of the
24
       engine block, and the Class member must have sold or traded-in the Class Vehicle
25
       without first procuring the recommended repair. The Claim must be submitted within 90
26
       days of the Notice Date and contain a proof of sale or trade-in and value received for sale
27
       or trade-in as well as any additional proof of the Loss Event. After submitting a
28
                                                                  7
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 1     completed and approved Claim Form, the Class member is entitled to reimbursement of
 2     the baseline Black Book value (i.e., wholesale used vehicle value) of the sold or traded-in
 3     Class Vehicle at the time of loss plus an additional $140 goodwill payment, minus the
 4     actual amount received from the sale or trade-in. If a Class member was reimbursed in
 5     full or in part in connection with a sale or trade-in, they are not entitled reimbursement
 6     under the settlement for that portion of the expense for which they were previously
 7     reimbursed.
 8             If a Class member contends that the actual damages incurred exceed the
 9     reimbursement provided, the Class member can provide written notice to Hyundai or Kia
10     requesting alternative dispute resolution through the BBB. The costs of the BBB
11     administered alternative dispute resolution will be borne by Hyundai or Kia, excluding
12     attorne s fees, unless the mediator or arbitrator determines the Class member s claims
13     were brought in bad faith.
14                      7.      Loss of Vehicle by Engine Fire
15             Class members that suffered a Loss Event due to an engine fire directly caused by
16     a Class Vehicle s failure arising from a ehicle condition that ould ha e other ise been
17     addressed by a Qualifying Repair is eligible to receive payment by HMA (for Hyundai
18     Class Vehicles) or KMA (for Kia Class Vehicles) of the maximum Black Book value
19     (i.e., private party/very good) of the Class Vehicle at the time of loss plus an additional
20     $140 goodwill payment, minus actual value received (if any). A claim for such an event
21     must be submitted within 90 days of the Notice Date or within 90 days of the engine fire
22     occurrence. In addition, the completed Claim Form must contain proof of the Loss Event
23     and documentation establishing that the fire originated from the engine compartment and
24     was unrelated to any sort of collision.
25             If a Class member contends the actual damages incurred exceed the reimbursement
26     provided, the Class member can provide written notice to Hyundai or Kia requesting
27     alternative dispute resolution through the BBB. The costs of the BBB administered
28     alternati e dispute resolution ill be borne b H undai or Kia, e cluding attorne s fees,
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 1     unless the mediator or arbitrator determines the Class member s claims ere brought in
 2     bad faith.
 3                      8.      Rebate Program
 4             If a Class member loses faith in their Class Vehicle as a result of this settlement,
 5     the Class member may present a claim for a rebate after selling the Class Vehicle in an
 6     arm s length transaction if (a) the Class member e perienced an engine failure or engine
 7     component fire and (b) purchased a replacement Hyundai vehicle (for Hyundai Class
 8     members) or Kia vehicle (for Kia Class members).
 9     A rebate is also available to any Class member who, after the notice date, experiences an
10     engine failure or fire in a Class Vehicle, loses faith in their Class Vehicle, and completes
11     all other steps to qualify for the rebate, including the purchase of a replacement Hyundai
12     or Kia vehicle and submission of a claim within 90 days of the engine failure or fire.
13             The amount of the rebate shall be calculated as actual loss by comparing sales
14     documentation to the maximum Black Book value (i.e., private party/very good) of the
15     Class Vehicle at the time of the KSDS campaign launch up to the following amounts: (a)
16     for model year 2011-2012 Class Vehicles: $2,000; (b) for model year 2013-2014 Class
17     Vehicles: $1,500; (c) for model year 2015-2016 Class Vehicles: $1,000; (d) for model
18     year 2017-2019 Class Vehicles: $500.
19     III.    ARGUMENT
20             A.       The Settlement Merits Preliminary Approval.
21             The Court must determine                 hether a proposed settlement is fundamentall fair,
22     adequate, and reasonable, recogni ing that [i]t is the settlement taken as a hole, rather
23     than the indi idual component parts, that must be e amined for o erall fairness.             Staton
24     v. Boeing Co., 327 F.3d 938, 952 (9th Cir. 2003) (quoting Hanlon v. Chrysler Corp., 150
25     F.3d 1011, 1026 (9th Cir. 1998)). Preliminary approval of a settlement and notice to the
26     proposed class is appropriate here the proposed settlement appears to be the product of
27     serious, informed, non-collusive negotiations, has no obvious deficiencies, does not
28     improperly grant preferential treatment to class representatives or segments of the class,
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 1     and falls ith the range of possible appro al                    Collins v. Cargill Meat Sols. Corp., 274
 2     F.R.D. 294, 301-02 (E.D. Cal. 2011) (quoting In re Tableware Antitrust Litig., 484 F.
 3     Supp. 2d 1078, 1079 (N.D. Cal. 2007)).
 4                      1.      The Se e e i he P d c f Se i , I f                                 ed, A   -Length
 5                              Negotiations by Experienced Counsel.
               First, the settlement was not the result of collusion among the negotiating parties.
 6
       See In re Bluetooth Headset Products Liab. Litig., 654 F.3d 935, 947 (9th Cir. 2011)
 7
       (vacating and remanding a settlement approval order because the district court had not
 8
       considered possible collusion); Churchill Vill., L.L.C. v. Gen. Elec., 361 F.3d 566, 575
 9
       (9th Cir. 2004) (considering and rejecting objectors argument that settlement as
10
       product of collusion where allegations in the complaint preceded settlement by one year
11
       and there was no other evidence of collusion). Courts look to whether the proposed
12
       settlement is a product of arm s length negotiations, performed b counsel ell ersed in
13
       the type of litigation at issue. See A. CONTE & H.B. NEWBERG, NEWBERG ON CLASS
14
       ACTIONS § 11:41 ( NEWBERG ) (a proposed settlement is entitled to an initial
15
       presumption of fairness             hen the settlement has been negotiated at arm s length b
16
       counsel for the class ); See Hughes v. Microsoft Corp., Nos. C98 1646C, 2001 WL
17
       34089697, at *7 (W.D. Wash. Mar. 26, 2001) ( A presumption of correctness is said to
18
       attach to a class settlement reached in arms-length negotiations between experienced
19
       capable counsel after meaningful disco er . (quoting MANUAL FOR COMPLEX
20
       LITIGATION (THIRD)           30.42 ( MANUAL (THIRD) )).
21
               Here, neither the litigation and settlement process nor the substance of the
22
       settlement indicate any collusion. The settlement was only achieved after months of
23
       arm s-length negotiations among the parties, including in-person meetings between
24
       Plaintiffs counsel and H undai representati es to discuss claims and settlement
25
       possibilities, confirmatory discovery, and mediation before Hon. Ronald M. Sabraw
26
       (Ret.) of JAMS. (Schelkopf Dec. ¶ 14; Berman Decl. ¶¶ 7, 10.) See, e.g., G. F. v. Contra
27
       Costa Cty., No. 13-CV-03667-MEJ, 2015 WL 4606078, at *13 (N.D. Cal. July 30, 2015)
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 1     ( [T]he assistance of an e perienced mediator in the settlement process confirms that the
 2     settlement is non-collusi e. ) (internal quotations omitted). In the consolidated action, the
 3     Parties briefed two motions to dismiss before the settlement negotiations began. In
 4     confirmator disco er , Defendants produced and Plaintiffs counsel re ie ed thousands
 5     of pages of internal documents relating to the Class Vehicles engine design, engineering,
 6     manufacturing, and pre- and post-production testing. (Schelkopf Decl. ¶ 15; Berman
 7     Decl. ¶ 6.) Plaintiffs counsel then took the depositions of t o H undai e ecuti es that
 8     traveled from Korea to testify over the course of two days. (Schelkopf Decl. ¶ 15;
 9     Berman Decl. ¶ 6.) Plaintiffs counsel for the consolidated action and for Flaherty were
10     in frequent, separate contact b phone and email ith Defendants counsel during this
11     time to discuss substantive settlement issues and ongoing discovery efforts. (Berman
12     Decl. ¶ 6.) Plaintiffs counsel ha e represented consumers in a number of significant
13     class actions against Hyundai and Kia, several of which resulted in successful, court-
14     approved settlements. (Schelkopf Decl. ¶¶ 3, 11; Berman Decl. ¶ 10.) As outlined above,
15     the settlement s terms are fa orable to the settlement class and on par ith the relief
16     Plaintiffs demanded in their respecti e complaints.
17             Finall , although Defendants ha e agreed to separatel pa an a ard of attorne s
18     fees and costs, the Parties have yet to negotiate them in order to avoid any perceived
19     conflict of interest with the Class members and the settlement relief. (Berman Decl. ¶ 11.)
20     Waiting to negotiate fees until confirmatory discovery and settlement negotiations have
21     concluded is generally preferable to avoid risk or appearance of collusion. See MANUAL
22     FOR COMPLEX LITIGATION (FOURTH)                    21.7 ( MANUAL (FOURTH) ) ( Separate
23     negotiation of the class settlement before an agreement on fees is generall preferable. );
24     see also In re Prudential Ins. Co. Am. Sales Practice Litig. Agent Actions, 148 F.3d 283,
25     334-35 (3d Cir. 1998) (affirming final approval of class settlement and fee award where
26      [t]here [ as] no indication the parties began to negotiate attorne s fees until after they
27     had finished negotiating the settlement agreement. ).
28
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 1             The settlement was thoroughly negotiated and results in a fair outcome for Class
 2     members. The Court should preliminarily approve the proposed settlement.
 3                      2.      The Settlement Does Not Improperly Grant Preferential Treatment
 4                              to the Class Representatives or Segments of the Class.
               Whether the settlement agreement provides preferential treatment to any settlement
 5
       class member turns on whether there is any disparity among what class members are
 6
       poised to recei e and, if so, hether the settlement compensates class members in a
 7
       manner generally proportionate to the harm they suffered on account of [the] alleged
 8
       misconduct. Altamirano v. Shaw Indus., Inc., No. 13-CV-00939-HSG, 2015 WL
 9
       4512372, at *8 (N.D. Cal. July 24, 2015) (finding no preferential treatment); accord
10
       Contra Costa Cty., 2015 WL 4606078, at *13-14 (analyzing whether the settlement
11
       singles out particular class members or hether it instead appears uniform ).
12
               Here, Plaintiffs are seeking certification of a single class of vehicle owners and
13
       lessees, and all members of the proposed class may, individual circumstances permitting,
14
       make a claim for the various remedies offered under the settlement. This ensures Class
15
       members are compensated in kind for the harm they suffered. For example, a Class
16
       member with a vehicle engine fire may be eligible for more compensation (e.g.,
17
       reimbursements, goodwill payments, etc.) than a Class member that has not suffered an
18
       engine malfunction (e.g., Lifetime Warranty). This means Class members are
19
       proportionately made whole.
20
               Likewise, the Class representatives will not receive preferential treatment or
21
       compensation disproportionate to their respective harm and contribution to the case under
22
       this proposed settlement. They are permitted to make claims for relief under the
23
       settlement terms like any other Class member, and while the Parties have not yet agreed
24
       on service awards for these Class representatives, Plaintiffs seek less than $5,000 for
25
       each. See Ruch v. AM Retail Grp., Inc., No. 14-CV-05352-MEJ, 2016 WL 1161453, at
26
       *12 (N.D. Cal. Mar. 24, 2016) (internal quotations omitted) (permitting service awards to
27
       class representatives); see also Smith v. Am. Greetings Corp., No. 14-CV-02577-JST,
28
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 1     2016 WL 362395, at *10 (N.D. Cal. Jan. 29, 2016) (finding $5,000 service awards are
 2      presumpti el reasonable ).
 3                      3.      The Settlement Has No Obvious Deficiencies.
 4     Courts emplo a threshold of plausibilit                   standard intended to identify conspicuous
 5     defects. Kakani v. Oracle Corp., No. C 06-06493 WHA, 2007 WL 1793774, at *6 (N.D.
 6     Cal. June 19, 2007). Unless the Court s initial e amination disclose[s] grounds to doubt
 7     its fairness or other ob ious deficiencies, the Court should order that notice of a formal
 8     fairness hearing be given to Class members under Rule 23(e). West v. Circle K Stores,
 9     Inc., No. CIV. S-04-0438 WBS GGH, 2006 WL 1652598, at *11 (E.D. Cal. June 13,
10     2006) (citation omitted); MANUAL (FOURTH) § 21.632, at 321-22. Because the proposed
11     settlement here meets the requirements required for preliminary approval, as detailed
12     herein, it is not obviously defective.
13                      4.      The Settlement Falls Within the Range of Possible Approval.
14             In determining whether to grant preliminary approval, district courts must consider
15     se eral factors, including: the strength of plaintiffs case; the risk, e pense, comple it ,
16     and likely duration of further litigation; the risk of maintaining class action status
17     throughout the trial; the amount offered in settlement; the extent of discovery completed,
18     and the stage of the proceedings; the experience and views of counsel; the presence of a
19     governmental participant; and the reaction of the class members to the proposed
20     settlement. Staton, 327 F.3d at 959 (internal citation and quotation marks omitted). The
21     relative degree of importance to be attached to any particular factor will depend upon and
22     be dictated by the nature of the claim(s) advanced, the type(s) of relief sought, and the
23     unique facts and circumstances presented b each indi idual case. Officers for Justice v.
24     Ci il Se . C mm       f Ci & C . f S.F., 688 F.2d 615, 625 (9th Cir. 1982).
25                       i.       The S e g h f P ai iff Ca e
26             The cru of Plaintiffs claims are that Defendants sold Class Vehicles with Theta II

27     GDI engines that were manufactured under the same negligent processes and oversight,

28     rendering these engines prone to sudden and catastrophic failure. Such engine failure puts

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 1     the vehicle at risk of an engine fire. Engine failures and fires are expensive, destructive,
 2     and dangerous to consumers and other drivers. The engine defect here can manifest in
 3     any of the Class Vehicles, necessitating recalls and implementation of the KSDS for early
 4     engine wear detection. Defendants claim to have improved their design and
 5     manufacturing processes to reduce and potentially eliminate the problem in later model
 6     years. But without the knock sensor technology, it is impossible to identify and repair
 7     those Class Vehicles that will manifest the defect beforehand, even if it is a small
 8     percentage of the Class Vehicle population. Plaintiffs expect to present evidence
 9     suggesting that Defendants each knew about the dangerous safety defect before Class
10     Vehicles were made available for purchase, and that the Class Vehicles engines can and
11     do fail even if they are properly maintained. Plaintiffs are positioned to mount a
12     formidable case that Defendants violated numerous state consumer protection statutes,
13     breached state and federal warranty laws, and engaged in fraud by failing to disclose a
14     known safety defect that put consumers in avoidable danger and caused them to incur
15     expensive and lengthy repairs.
16             Ne ertheless, Plaintiffs counsel are seasoned in automobile defect class litigation,
17     and recognize that even were they able to make such factual showings, their case could
18     fail on liability, or at least be whittled down in terms of overall liability. For example,
19     Defendants may argue they did not conceal material information about the engines
20     because they did not discover the problem until after they had sold many of the Class
21     Vehicles. They may raise the fact that not all Class Vehicles will ever even manifest the
22     engine defect, and that Defendants developed the KSDS to notify Class members before
23     the defect manifests to prevent future engine failure or fire. Defendants might also argue
24     they covered many engine repairs under warranty or through goodwill, and that those
25     repairs not co ered ere fairl denied because the dealership s inspection re ealed the
26     engine oil was exceedingly low. Finally, if the case were to proceed to trial, and if
27     Plaintiffs were to prevail both at trial and on appeal, any such recovery would not be
28     made available for years. And any damage award at that time would need to be
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 1     distributed to Class members based on vehicle ownership records that would then be
 2     several years older. Class members would also likely need to locate receipts for repairs
 3     that would be equally old, significantly reducing the overall recovery. Additionally, many
 4     of the benefits of implementing the Lifetime Warranty for the Class Vehicles would be
 5     diminished, as would the overall value of Class Vehicles that would by that time be years
 6     older and even possibly sold by Class members seeking to mitigate damages before
 7     warranty expiration. In other words, a victory at trial, coming several years from now,
 8     would likely not deliver results superior to the settlement before the Court now.
 9                      ii.      The Risk, Expense, Complexity, and Likely Duration of
                                 Further Litigation
10
            Class actions typically entail a high level of risk, expense, and complexity, which
11
       is one reason that judicial policy so strongly favors resolving class actions through
12
       settlement. Linney v. Cell la Ala ka P hi , 151 F.3d 1234, 1238 (9th Cir. 1998)
13
       (affirming district court s appro al of settlement and certification of class). If the Parties
14
       were unable to resolve this case through settlement, the litigation would likely be
15
       protracted and costl . Plaintiffs counsel frequentl litigate automoti e defect class
16
       actions that take several years to resolve, and some have gone on for over a decade with
17
       appeals. Before ever approaching trial in this case, the Parties likely would finish briefing
18
       the motions to dismiss, conduct discovery on and brief class certification (along with a
19
       potential Rule 23(f) appeal), and brief summary judgment and Daubert motions, in
20
       addition to expending considerable resources on electronic discovery, depositions, and
21
       expert witnesses. It is unlikely the case would reach trial before late 2020, with post-trial
22
       activity to follow. By that time, many more Class members will have sold their vehicles,
23
       losing the very powertrain warranty being extended indefinitely under the settlement for
24
       both original and subsequent owners. The passage of time would also pose a risk to Class
25
       members because of the potential for engine seizure or stalling, which they will now be
26
       notified about and able to address through free inspections and repairs.
27
               The proposed settlement balances these costs, risks, and potential for delay with its
28
       benefits, achieving a settlement that is fair and desirable to the Class. See NEWBERG §
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 1     11:50 ( In most situations, unless the settlement is clearly inadequate, its acceptance and
 2     appro al are preferable to length and e pensi e litigation ith uncertain results. );
 3     acc d Na l R al Telec mm ica i                        C        . . DIRECTV, I c., 221 F.R.D. 523, 526
 4     (C.D. Cal. 2004).
 5                      iii.     The Risk of Maintaining Class Action Status Through Trial
 6           A litigation class has not been certified here, and there are a few other class cases
 7     involving the same defect and vehicles brought by firms that were not included in the
 8     settlement negotiations. If this litigation continued without settlement, Plaintiffs may face
 9     significant risk at the class certification stage. See Acosta v. Trans Union, LLC, 243
10     F.R.D. 377, 392 (C.D. Cal. 2007) ( The alue of a class action depends largel on the
11     certification of the class, and [] class certification undeniably represents a serious risk for
12     plaintiffs in an class action la suit. ) (quoting In re Gen. Motors Corp. Pick-Up Truck
13     Fuel Tank Prod. Liab. Litig., 55 F.3d 768, 817 (3d Cir. 1995). Plaintiffs believe this case
14     is appropriate for class certification and they could marshal evidence in support of such a
15     motion. Class certification proceedings, however, are highly discretionary and require a
16     finding that it is manageable. See, e.g., Ellis v. Costco Wholesale Corp., 657 F.3d 970,
17     987 (9th Cir. 2011).
                        iv.     The Amount or Type of Relief Offered in Settlement
18
             The proposed settlement provides Class members with virtually everything
19
       Plaintiffs sought in their complaints. Defendants are warning affected drivers of the risk
20
       of engine stalling and providing a Lifetime Warranty extension that will allow all Class
21
       Vehicles free inspections and necessary repairs. Defendants are also reimbursing Class
22
       members for past repair expenses in full, including those incurred for rental cars and
23
       towing services in connection with obtaining repairs, with only minimal documentation
24
       requirements and a streamlined claims process. Certain Class members are eligible for
25
       additional goodwill payments for engine failures or fires and/or delays in repairs. And
26
       any Class members who sold or traded-in their vehicles after receiving a sizable engine
27
       repair estimate instead of having the vehicle repaired will be entitled to compensation.
28
                                                                 16
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 1     Class members that experienced the defect, lost faith in their Class Vehicle, and
 2     purchased a replacement Hyundai or Kia can also file a claim for rebate of varying value.
 3     The settlement even provides a mechanism for Class members to seek additional actual
 4     damages or review of warranty denials through BBB administered alternative dispute
 5     resolution, with the costs to be borne by Defendants.
 6             The settlement offers an excellent result for the Class. Even though it is unlikely
 7     that trial would produce a better result than that achieved by the proposed settlement, the
 8     settlement need not be the best possible outcome in order to meet the fair and adequate
 9     standard. See Officers for Justice, 688 F.2d at 628 ( It is ell-settled law that a cash
10     settlement amounting to only a fraction of the potential recovery will not per se render
11     the settlement inadequate or unfair. ) (citing Flinn v. FMC Corp., 528 F.2d 1169, 1173-
12     74 (4th Cir. 1975)).
13                      v.         The Extent of Discovery Completed and the Stage of the
                                   Proceedings
14
               This factor necessitates an e aluation of hether the parties ha e sufficient
15
       information to make an informed decision about settlement. Linney, 151 F.3d at 1239.
16
       Discovery can be both formal and informal. See Clesceri v. Beach City Investigations &
17
       Protective Servs., Inc., No. CV-10-3873-JST (RZx), 2011 WL 320998, at *9 (C.D. Cal.
18
       Jan. 27, 2011).
19
               Before filing the initiating complaint, Class Counsel devoted substantial time and
20
       energy to investigating the underlying facts and developing the factual and legal
21
       allegations. This included a review of several publicly available sources of technical
22
       information, interviews of class members, analyses of the allegedly defective engines,
23
       and consultation with automotive experts. (Schelkopf Decl. ¶ 13; Berman Decl. ¶ 6.) The
24
       Parties then engaged in confirmatory discovery that provided greater insight into the data
25
       and conclusions Defendants provided regarding the Class Vehicles, including a
26
       supervised tear-do n inspection of one named plaintiff s ehicle b Kia representati es
27
       and the deposition of two Korean engineers with knowledge of the design and
28
       manufacture of the Class Vehicle's engines. Separatel , counsel for the Flaherty
                                                                 17
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 1     Plaintiffs inspected Class Vehicle engines, conducted extensive research via publicly
 2     available documents, spoke to hundreds of Class members, and engaged an expert to
 3     investigate the defect and provide guidance before filing suit and throughout the
 4     negotiations. (Berman Decl. ¶ 6.)
 5             Document discovery included data and analysis relating to relevant warranty
 6     claims, customer complaints, goodwill payments, and field service reports. It also
 7     included materials that were prepared by Defendants internally regarding the nature and
 8     scope of the alleged engine defect and root cause anal sis. Based on Class Counsel s
 9     substantial experience litigating automotive defect cases, the information they received
10     was sufficient to evaluate the fairness of the proposed settlement for the class. (Schelkopf
11     Decl. ¶¶ 11, 16; Berman Decl. ¶ 6.) In the course of resolving this litigation, Plaintiffs
12     had a reasonably good sense of the strength and weakness of their case and were well-
13     situated to make an informed decision regarding settlement. (Schelkopf Decl. ¶¶ 12-16;
14     Berman Decl. ¶ 5.)
15                    vi.      The Experience and Views of Counsel
16          Class Counsel believes the Settlement is fair, reasonable, and adequate based on
17     their extensive experience litigating class actions. At the preliminary approval stage,
18      [t]he recommendations of plaintiffs counsel should be gi en a presumption of
19     reasonableness. In re Omnivision Techs., Inc., 559 F. Supp. 2d 1036, 1043 (N.D. Cal.
20     2008). Class Counsel s e perience is discussed in their respecti e declarations. See
21     Schelkopf Decl. ¶¶ 4-11; Berman Decl. ¶¶ 2-3, 9-10.
                      vii.      The Presence of a Governmental Participant
22
             The onl connection ith go ernmental entities in this litigation are Defendants
23
       voluntary recalls of certain Class Vehicles, described in Section II(D)(2), supra, which
24
       was overseen by NHTSA. While NHTSA might have eventually initiated an investigation
25
       into all of the Class Vehicles, a great benefit of the Parties settlement is that it a oids the
26
       protracted process of a multistage NHTSA investigation that can take years to complete.
27
       See generally In re Gen. Motors Corp. Pickup Truck Fuel Tank Products Liab. Litig.,
28
                                                                 18
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 1     MDL 961, 1993 WL 204116, at *3 (E.D. Pa. June 10, 1993) (noting NHTSA proceedings
 2     can take several years to conclude).
 3                     viii.      The Reaction of Class Members
 4           Finally, the Class has yet to be notified of the settlement and given an opportunity
 5     to object, so it is premature to assess this factor. Before the final approval hearing, the
 6     Parties will provide the Court with any objections they receive after notice is
 7     disseminated, and reserve the right to address the substance of any of the objections in
 8     their final approval papers. But granting preliminary approval and directing notice to
 9     Class members where the Class has not been certified before settlement may actually
10     enhance Class members opt-out rights. See I                    e P de ial Sec. I c. L d. P hi   Li ig.,
11     163 F.R.D. 200, 205-06 (S.D.N.Y. 1995) (e plaining that because the right to e clusion
12     [from the class] is provided simultaneously with the opportunity to accept or reject the
13     terms of a proposed settlement, class members ha e a more concrete basis upon hich
14     to decide what they will sacrifice by opting out).
15             B.       The Settlement Class Satisfies Rule 23.
16                      1.      The Settlement Class Meets the Requirements of Rule 23(a).
17             In granting preliminary approval, the Court should also confirm the proposed
18     settlement class meets the requirements of Rule 23. See Amchem Prods. v. Windsor, 521
19     U.S. 591, 620 (1997); MANUAL (FOURTH), § 21.632. The prerequisites for class
20     certification under Rule 23(a) are numerosity, commonality, typicality, and adequacy of
21     representation, each of which is satisfied here. Fed. R. Civ. P. 23(a); Hanlon, 150 F.3d at
22     1019.
23             First, Rule 23(a)(1) requires the class be so numerous that joinder of all members
24     is impracticable.        The Ninth Circuit has required at least fifteen members, to certif a
25     class, and classes of at least forty members are usually found to have satisfied the
26     numerosit requirement. Aikens v. Malcolm Cisneros, No. 5:17-CV-02462-JLS-SP,
27     2019 WL 3491928, at *3 (C.D. Cal. July 31, 2019) (quoting Makaron v. Enagic USA,
28
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 1     Inc., 324 F.R.D. 228, 232 (C.D. Cal. 2018)). Here, the proposed settlement class
 2     encompasses approximately 4.1 million Class Vehicles, satisfying numerosity.
 3             Second, Rule 23(a)(2) requires that there are questions of la or fact common to
 4     the class.     Commonalit requires the plaintiff to demonstrate that the class members
 5     ha e suffered the same injur . Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 349-50
 6     (2011) (citation and internal quotation marks omitted). The Ninth Circuit held that
 7      commonalit onl requires a significant question of la or fact. Sae                          .L   e H me
 8     Centers, LLC, No. 2:17-cv-08758-ODW-PLA, 2019 WL 1382968, at *3 (C.D. Cal. Mar.
 9     27, 2019). What matters to class certification ... is not the raising of common
10     questions even in droves              but, rather the capacity of a classwide proceeding to
11     generate common ans ers apt to dri e the resolution of the litigation. Dukes, 564 U.S. at
12     350 (internal quotation marks and citation omitted). Here, the common issues include: (i)
13     whether the Class Vehicles engines all suffered the same risks arising from Defendants
14     unreasonable acts and omissions in the manufacturing and production of certain Theta II
15     GDI engines and its components (defective engines); (ii) whether the defective engines
16     can cause catastrophic engine failure and potentially result in engine fires; (iii) whether
17     and when Defendants knew of the defective engines; (iv) whether a reasonable consumer
18     would consider the defective engine and its consequences to be material; (v) whether the
19     defective engine implicates safet concerns; and ( i) hether Defendants conduct
20     violates the consumer protection statutes alleged, and the terms of their warranties.
21     Commonality is also satisfied here. See, e.g., Aikens, 2019 WL 3491928, at *4.
22             Third, Rule 23(a)(3) requires the claims or defenses of the representati e parties
23     are t pical of the claims or defenses of the class. T picalit is satisfied here the
24     representati e claims are reasonabl co-extensive with those of absent class members;
25     [but] the need not be substantiall identical. Hanlon, 150 F.3d at 1020. Here, Plaintiffs
26     claims arise out of the same facts and circumstances as those of the Class because they
27     each purchased a Class Vehicle that contains a defective engine and thus suffered the
28     same injury namely, they were sold a defective vehicle that has required or will require
                                                                 20
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 1     a repair to make the vehicle safe. See Wolin v. Jaguar Land Rover N. Am., LLC, 617 F.3d
 2     1168, 1175 (9th Cir. 2010) ( T picalit can be satisfied despite different factual
 3     circumstances surrounding the manifestation of the defect. ). T picalit is satisfied.
 4             Fourth, Rule 23(a)(4) requires the representati e parties [to] fairl and adequatel
 5     protect the interests of the class. There are t o components to adequac . First, the
 6     named plaintiffs and their counsel can have no conflicts of interest with other class
 7     members. Second, the named plaintiffs and their counsel must prosecute the action
 8     vigorously on behalf of the class. See Hanlon, 150 F.3d at 1020. Here, Plaintiffs and
 9     Class Counsel do not have any conflicts of interest with other Class members and they
10     vigorously litigated this action and negotiated the proposed Settlement Agreement over
11     several months, with the assistance of a respected mediator and confirmatory discovery.
12     See Aikens, 2019 WL 3491928, at *4 ( Again, Plaintiff s claims arise out of the same set
13     of facts as the claims for the proposed Class. The Court finds no sign of a potential
14     conflict of interest between Plaintiff and the Class Members she seeks to represent.
15     Accordingl , the Court concludes that Plaintiff is an adequate class representati e. ); In
16     re Hyundai & Kia Fuel Econ. Litig., 926 F.3d at 566 (adequacy satisfied if plaintiffs and
17     their counsel lack conflicts of interest and will prosecute the action vigorously on behalf
18     of the class). Plaintiffs and Class Counsel easily satisfy the adequacy requirement.
19                      2.      The Settlement Class Meets the Requirements of Rule 23(b)(3).
20             Rule 23(b)(3) requires the Court to find the questions of la or fact common to
21     class members predominate over any questions affecting only individual members, and
22     that a class action is superior to other available methods for fairly and efficiently
23     adjudicating the contro ers .
24             First, [t]he Rule 23(b)(3) predominance inquir tests hether proposed classes are
25     sufficiently cohesive to warrant adjudication by representation . . . [and] focuses on the
26     relationship bet een the common and indi idual issues. Hanlon, 150 F.3d at 1022.
27     Where common questions present a significant aspect of the case and the can be
28     resol ed for all members of the class in a single adjudication, predominance is met. Id.
                                                                 21
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 1     (citing Wright, Miller & Kane, Federal Practice and Procedure § 1778 (2d Ed. 1986)).
 2     Here, the o erriding questions at the core of Plaintiffs claims are hether the Class
 3     Vehicles are similarly defective (namely, they were all equipped with Theta II GDI
 4     engines built under and using the common procedures, practices, and
 5     manufacturing/production processes), whether Defendants had a duty to disclose any
 6     resulting manufacturing/production issues, whether Defendants knowingly concealed
 7     manufacturing/production issues, and whether one (or more) of these
 8     manufacturing/production issues is a material fact. Here, confirmatory discovery
 9     indicated the Class Vehicles were outfitted with Theta II GDI engines and these engines
10     were all subject to the same flawed manufacturing and production processes, making
11     them prone to premature and irregular engine wear that, if not caught early, can result in
12     catastrophic engine failure, and in some instances engine fire. Defendants became aware
13     of these problems based on warranty claims and complaints, but failed to disclose the
14     defect to Class members before purchase or lease. Plaintiffs counsel s communications
15     with Class members and named plaintiffs make clear this engine defect and its associated
16     risks were material to Class members. These are precisely the predominately common
17     questions courts have found to justify class treatment. See, e.g., Wolin, 617 F.3d at 1173
18     (allegedly defective alignment geometry); Hanlon, 150 F.3d at 1022-1023 (allegedly
19     defective rear liftgate latches); Chamberlan v. Ford Motor Co., 223 F.R.D. 524, 526
20     (N.D. Cal. 2004) (allegedly defective engine intake manifolds).
21             Similarl , there can be little doubt that resol ing all Class members claims
22     through a single class action is superior to a series of individual lawsuits involving these
23     defective Class Vehicles. From either a judicial or litigant ie point, there is no
24     advantage in individual members controlling the prosecution of separate actions. There
25     would be less litigation or settlement leverage, significantly reduced resources and no
26     greater prospect for reco er . Hanlon, 150 F.3d at 1023. By remedying the defect via
27     internal processes improvements (newer model years), implementing and installing the
28     knock sensor detection system (all Class Vehicles), and providing compensation for
                                                                 22
       Plaintiffs Notice of Motion and Motion for Preliminar Appro al of Class Action Settlement
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 1     actual harm (vehicles suffering engine failure or fire), the settlement resolves the
 2     significant problem of the defect for all Class members.
 3             Finall , in a settlement, the proposal is that there be no trial, and so
 4     manageability considerations do not affect whether the proposed settlement class should
 5     be certified. Amchem, 521 U.S. at 620; see also In re Hyundai & Kia Fuel Econ. Litig.,
 6     926 F.3d at 557 ( manageabilit is not a concern in certif ing a settlement class here,
 7     b definition, there ill be no trial. ).
 8             The Settlement Class meets the predominance and superiority requirements of
 9     Rule 23(b)(3), and therefore should be preliminarily approved by this Court.
10             C.       The Court Should Order Dissemination of the Class Notice.
11             Under the terms of the settlement, Defendants are responsible for all costs of Class
12     notice and settlement administration. The settlement provides HMA and KMA the option
13     of self-administering the settlement or electing to use a third-party administrator to
14     process submitted claims. Claims can be submitted by U.S. mail, email, or through the
15     dedicated settlement websites. Hyperlinks to the settlement websites will be posted on
16     HMA s and KMA s respecti e ebsites.
17                      1.      The Settlement Provides the Best Method of Notice Practicable.
18             Before finall appro ing a class settlement, [t]he court must direct notice in a
19     reasonable manner to all class members ho ould be bound b the proposal. Fed. R.
20     Civ. P. 23(e)(1). Where the settlement class is certified under Rule 23(b)(3), the notice
21     must also be the best notice that is practicable under the circumstances, including
22     indi idual notice to all members ho can be identified through reasonable effort. Fed.
23     R. Civ. P. 23(c)(2)(B).
24             The Settlement Agreement provides that individual notice will be disseminated by
25     U.S. mail to all reasonably identifiable Class members, which satisfies the requirements
26     of due process. See S lli a            . Am. E       e    P bl g C         ., No. SACV 09-142-JST (ANx),
27     2011 WL 2600702, at *8 (C.D. Cal. June 30, 2011) ( Notice b mail has been found by
28     the Supreme Court to be sufficient if the notice is reasonabl calculated . . . to apprise
                                                                 23
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 1     interested parties of the pendency of the action and afford them an opportunity to present
 2     their objections.       (quoting Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S. 306,
 3     314 (1950))). The Long Form Notice and Claim Form will be provided via U.S. mail. To
 4     identify Class members for notice, Defendants will provide all names and addresses of
 5     Class Vehicle owners, along with Class Vehicle VINs, to R.L. Polk & Company, or a
 6     similar third-party entity, who are authorized to use that information to obtain the names
 7     and most current addresses of Class members through state agencies. In addition, an
 8     address search will be conducted through the United States Postal Ser ice s National
 9     Change of Address database to update the address information for Class members. If a
10     notice is returned as undeliverable, best efforts will be used to conduct an advanced
11     address search using Defendants customer database to obtain a deliverable address.
12             Besides notice through U.S. mail, Defendants will also email a hyperlink to the
13     dedicated settlement websites and an electronic version of the Long Form Notice and
14     Claim Form. The dedicated settlement websites will contain: (i) instructions on how to
15     obtain reimbursements; (ii) a mechanism for Class members to submit claims
16     electronically; (iii) instructions on how to contact Defendants or their Settlement
17     Administrators for assistance with claims; (iv) the Long Form Notice; (v) the Pamphlet;
18     (vi) the Claim Form; (vii) the Settlement Agreement; (viii) any orders issued in this
19     litigation approving or disapproving of the proposed settlement; and (ix) any other
20     information the Parties determine is relevant to the settlement. Defendants or their
21     Settlement Administrators will make the same information available to Class members
22     through www.hyundaiusa.com/myhyundai and www.owners.kia.com via links to the
23     dedicated settlement websites (apart from the mechanism for submitting claims).
24             In addition, Defendants customer ser ice departments ill be a ailable to respond
25     to questions regarding the status of submitted claims, how to submit a claim, and other
26     aspects of the settlement via a dedicated, toll-free telephone number. Defendants will also
27     inform their authorized dealerships of the settlement so the dealerships can inform their
28
                                                                 24
       Plaintiffs Notice of Motion and Motion for Preliminar Appro al of Class Action Settlement
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 1     customers of the settlement, and provide Pamphlets to the dealerships for distribution to
 2     their customers.
 3             Plaintiffs request that the Court approve this method of notice as the best
 4     practicable under the circumstances. See, e.g., Rannis v. Recchia, 380 F. App               646, 650
 5     (9th Cir. 2010) (finding mailed notice the best notice practicable where reasonable efforts
 6     were taken to ascertain class members addresses).
 7                      2.      The Proposed Notice Adequately Informs Class Members of their
 8                              Rights.
               The notice pro ided to Class members should clearl and concisel state in plain,
 9
       easil understood language the nature of the action; the class definition; the class claims,
10
       issues, or defenses; that the class member may appear through counsel; that the court will
11
       exclude from the class any member who requests exclusion; the time and manner for
12
       requesting exclusion; and the binding effect of a class judgment on class members. Fed.
13
       R. Civ. P. 23(c)(2)(B). The form of notice proposed by the Parties complies with those
14
       requirements. (Settlement Agreement, Exs. A, C.) The notice sent to all Class members
15
       through U.S. Mail will explain the terms of the settlement, the Class definition, the
16
       underlying litigation, and the fact that Class members may appear through counsel; detail
17
       the process for requesting exclusion from the settlement; and disclose the binding effect
18
       of the settlement on class members if they do not request exclusion from the Court.
19
               Plaintiffs believe this is the most effective way to alert Class members to the
20
       existence of the settlement and convey detailed information about the settlement approval
21
       process, and accordingly ask the Court to approve the proposed forms of notice. See
22
       Schaffer v. Litton Loan Servicing, LP, No. 05-cv-07673-MMM, 2012 WL 10274679, at
23
       *8-9 (C.D. Cal. Nov. 13, 2012) (approving a similar notice plan); see also Churchill, 361
24
       F.3d at 575 ( Notice is satisfactor if it generall describes the terms of the settlement in
25
       sufficient detail to alert those with adverse viewpoints to investigate and to come forward
26
       and be heard.         (quoting Mendoza v. Tucson Sch. Dist. No. 1, 623 F.2d 1338, 1352 (9th
27
       Cir.1980))).
28
                                                                 25
       Plaintiffs Notice of Motion and Motion for Preliminar Appro al of Class Action Settlement
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 1                      3.      Notice to Federal and State Officials
 2         Notice of the proposed settlement will also be provided to the U.S. Attorney General

 3     and appropriate regulatory officials in all fifty states, as required by the Class Action

 4     Fairness Act, 28 U.S.C. § 1715. Defendants will provide these government officials with

 5     copies of all required materials so the states and federal government may make an

 6     independent e aluation of the settlement and bring an concerns to the Court s attention

 7     before final approval.

 8             D.       The Court Should Set a Schedule for Final Approval
 9
        Event                            Date
10
        Notice Date                      90 days after entry of the preliminary approval order
11      Class Counsel Fee and            30 days after the Notice Date
12      Service Award
        Application
13      Opt-Out or Objection             60 days after the Notice Date
14      Deadline
        Claim Forms Due                  90 days after the Notice Date
15
        Final Approval papers            At least 14 days prior to the Final Approval Hearing
16      to be filed
17      Final Approval                   At a date convenient for the Court, not less than 165
        Hearing                          days after entry of the preliminary approval order
18
       IV.     CONCLUSION
19
               For the foregoing reasons, Plaintiffs respectfully request that the Court enter the
20
       accompanying Order preliminarily approving the proposed settlement.
21
22
23
       Dated: October 10, 2019                      Respectfully submitted,
24
25                                                  By:/s/ Matthew D. Schelkopf
26                                                      Joseph G. Sauder
                                                        Matthew D. Schelkopf
27                                                      Joseph B. Kenney
28                                                      SAUDER SCHELKOPF
                                                                 26
       Plaintiffs Notice of Motion and Motion for Preliminar Appro al of Class Action Settlement
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                                           #:2226



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                                                          Berwyn, Pennsylvania 19312
 2                                                        Telephone: (610) 200-0581
 3                                                        jgs@sstriallawyers.com
                                                          mds@sstriallawyers.com
 4
                                                          jbk@sstriallawyers.com
 5
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                                                          THE SULTZER LAW GROUP
 7                                                        85 Civic Center Plaza, Suite 104
 8                                                        Poughkeepsie, NY 12601
                                                          Telephone: (845) 483-7100
 9                                                        Facsimile: (888) 749-7747
10                                                        gonnelia@thesultzerlawgroup.com
11
                                                          Bonner Walsh (pro hac vice)
12                                                        WALSH PLLC
13                                                        1561 Long Haul Road
                                                          Grangeville, ID 83530
14                                                        Telephone: (541) 359-2827
15                                                        Facsimile: (866) 503-8206
                                                          bonner@walshpllc.com
16
17                                                        Steve W. Berman
18                                                        HAGENS BERMAN SOBOL SHAPIRO LLP
                                                          1301 Second Avenue, Suite 2000
19                                                        Seattle, WA 98101
20                                                        Telephone: (206) 623-7292
                                                          Fax: (206) 623-0594
21                                                        steve@hbsslaw.com
22
23
24
25
26
27
28
                                                                 27
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                                           #:2227



 1                                            CERTIFICATE OF SERVICE
 2             I, Matthew D. Schelkopf, hereby certify that on this 10th day of October, 2019, I
 3     caused the foregoing to be filed using the Court s CM/ECF s stem, and thereby
 4     electronically served it upon all registered ECF users in this case.
 5
 6
 7         DATED: October 10, 2019                     Respectfully submitted,
 8
 9                                                 By: /s/ Matthew D. Schelkopf
                                                      Matthew D. Schelkopf
10
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                         EXHIBIT F
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                        EXHIBIT G
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                                                                                                                                  HOME       VISIT HYUNDAIUSA.COM




      Username              Remember me

      Pass ord             L GI

     Forgot Username or Pass ord?
                                                                                                                               VEHICLE

     Create an Acco nt                                MY ACCOUNT          PAYMENTS           LEASE-END         BUY OR LEASE   PROTECTION            OFFERS




VEHICLE PROTECTION
                                                                                                                                    ARE YOU A
   Overview              Mechanical Coverage           Maintenance Plan            Damage Care           Loss & Theft
                                                                                                                                    CURRENT
                                                                                                                                    CUSTOMER?
                                                                                                                                    We are here to s pport o r
                                                                                                                                     ehicle protection needs.
                                                                                                                                    Contact o r dealer for
                                                                                                                                    assistance. For additional
                                                                                                                                    s pport, o can reach the HPP
                                                                                                                                    C stomer Ser ice Team at
                                                                                                                                    800.477.8089 or
                   Vehicle Service              Original             Certified           Term Protection                            info@h    ndaiprotectionplan.com
                   Contract (VSC)            Lessee/Owner           Pre-Owned                 Plus
                                            Vehicle Service        Wrap (CPOW)
                                               Contract




Protect our car from the unexpected with the onl VSC backed b H undai.

When it comes to protecting o r H ndai ehicle, there's onl one option that's backed b the q alit and commitment that
come ith the H ndai name. The H ndai Protection Plan Vehicle Ser ice Contract (VSC) b ilds pon the H ndai ind str -
leading 10- ear po ertrain arrant . In addition to more protection, o 'll enjo peace of mind ith comprehensi e protection
for mechanical repairs, parts, labor and Roadside Assistance for p to 10 ears or 100,000 miles.



More value and convenience

We reali e the less o ha e to think abo t pa ments, the better. With the H ndai Protection Plan VSC, o pa nothing at the
time of repair, other than o r preselected ded ctible. And to make o r p rchase of o r VSC eas to manage, the cost can be
rolled into o r a to-financing plan.



Comprehensive protection

H ndai offers three plans to best fit o r needs: Po ertrain, Gold and Platin m. O r Platin m plan offers o r most
comprehensi e protection, ith co erage for more than 1,500 ehicle parts. B t hiche er plan o choose, e tending the
protection for mechanical repair of major components is one of the best in estments o can make in o r ehicle.



All three plans include:

  Nationwide service a ailable at all participating                Rental car reimbursement p to $35 per da for
  H ndai dealers                                                    p to 10 da s if req ired1

  24/7 Roadside Assistance ith enhanced roadside                   Trip interruption coverage p to $200 per da for
  benefits for the f ll term of o r VSC                             p to fi e da s if req ired1

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  Towing to o  r nearest H ndai Dealership or a thori ed               #:4803
                                                         Transferable coverage ma add to o r ehicle's
  ser ice pro ider                                               resale al e if o decide to sell it to a pri ate part


1D    e to a co ered Mechanical Breakdo n.


Three available plans




Contact our local H undai dealer to request additional information and confirm their participation in the H undai
Protection Plan Program.




   Vie Disclaimer

                                                                                                                BACK TO TOP




A VSC helps make unexpected repairs less expensive.

It s no f n to get blindsided b an ne pected repair. And e en less so hen o ha e to foot the bill. H ndai Protection Plan
Original Lessee/O ner Vehicle Ser ice Contract (VSC) as b ilt for lessees ho are b ing their ehicle as ell as original
H ndai o ners 1 to help protect from nanticipated e penses and the costs that come ith them. Ho ? B deli ering benefits
be ond o r factor arrant , ith co erage for mechanical repairs that incl de parts and labor for 10 ears or 100,000 miles.2
Pa nothing on co ered repairs other than o r ded ctible.




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Service ou can trust, parts ou can count on
  Genuine H undai parts3 and service for o r ehicle              Towing to o r nearest participating dealership or
                                                                 a thori ed ser ice pro ider
  Nationwide service a ailable at all participating H   ndai
  dealers or other a thori ed ser ice pro iders                  Rental car reimbursement p to $35 per da for p to 10
                                                                 da s if req ired4
  24-hour roadside assistance     ith enhanced roadside
  benefits                                                       Trip interruption coverage p to $200 per da for p to 5
                                                                 da s if req ired4



Covered Components

H ndai Protection Plan Original Lessee/O ner VSC Platin m plan incl des e tensi e co erage for the ser ice of major
components, and co ers a ide range of parts:


  Shocks, front and rear suspension                              Climate control
  Incl ding s spension b shings and bearings                     Incl ding air conditioner and heater components

  Fuel s stems, electrical s stems                               Navigation, audio, high-tech
  Incl ding f el injection, sensors, and po er   indo s and      Incl ding na igation displa , HomeLink , Bl e Link ,
  seats                                                          Bl etooth and nearl all factor installed technolog and
                                                                 safet feat res
  Steering, brakes, CV boots
  Incl ding po er steering and anti-lock braking s stem          And Much More
  components



Contact our local H undai dealer to request additional information and confirm their participation in the H undai
Protection Plan Program.




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Enhance the protection on our car with the onl CPO Service Contract backed
b H undai.

When it comes to protecting o r Certified Pre-O ned H ndai ehicle, o r CPO Wrap is the onl CPO Ser ice Contract that's
backed b the q alit and commitment that come ith the H ndai name. The H ndai Protection Plan CPO Wrap takes o r
alread a ard- inning Certified Pre-O ned (CPO) Program and ele ates it to ne le els of protection. Enhance o r H ndai
factor limited arrant and Roadside Assistance ith the added protection of mechanical repairs, parts and labor for the f ll
term of o r H ndai CPO Program co erage.
Bes of all, o pa nothing on co ered repairs other than o r ded ctible. And to make o r p rchase of o r CPO Wrap eas to
manage, the cost can be rolled into o r a to-financing plan.



Comprehensive protection

We offer t o CPO Wrap plans to meet o r indi id al needs. O r Platin m plan offers o r most comprehensi e protection, ith
co erage for more than 1,500 ehicle parts. B t hiche er plan o choose, e tending the protection for mechanical repair of
major components is one of the best in estments o can make in o r H ndai CPO ehicle.



Plus, both levels of coverage include:

  Up to 1,500+ covered components                                Towing to o r nearest H    ndai Dealership or a thori ed
                                                                 ser ice pro ider
  Nationwide service a ailable at all participating dealers
                                                                 Rental car reimbursement p to $35 per da for p to
                                                                 10 da s if req ired1

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  Enhanced 24-hour roadside assistance ith roadside               #:4805
                                                    Transferable coverage ma add to o r ehicle's resale
  benefits incl ding to ing, batter ser ice, flat tire change,    al e if o decide to sell it to a pri ate part
  lock-o t ser ice, f el deli er

  Trip interruption coverage p to $200 per da for p to 5
  da s if req ired1




Two available plans




Contact our local H undai dealer to request additional information and confirm their participation in the H undai
Protection Plan Program.




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Protect our new vehicle from the wear of ever da driving.

Yo lo e dri ing o r H ndai ehicle, and e ant to make s re it sta s that a b keeping o protected along the a . Term
Protection Pl s b ilds on the H ndai ind str -leading 10- ear po ertrain arrant to gi e o peace of mind far be ond



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mechanical repair. Yo 'll enjo comprehensi e co erage for costs of repairs res lting from e er da ehicle ear, incl ding
  heel alignment and replacement of o r batter , brake pads and man other components.



Covered components

Getting a ne car sho ld be a carefree e perience. With co erage options for p to fo r ears or 60,000 miles, Term Protection
Pl s gi es o comprehensi e protection and complete peace of mind, not to mention nation ide repair ser ice at all
participating H ndai dealers. Ask o r H ndai dealer for plan details.



       Brake pads                                                          Windshield wiper blades
       Incl des one replacement set of front and rear                      Incl des one replacement set of iper blades
       pads/shoes d ring the term of o r contract                          and/or inserts


       Batter                                                              Fuses and bulbs
       Co ers one replacement batter d ring the term                       Co ers nlimited replacement of f ses and light
       of o r contract                                                     b lbs, other than those damaged d e to collison


       Headlamps                                                           Wheel alignment
       Incl des nlimited replacement of headlamps,                         Incl des one    heel alignment d ring the term of
       other than those damaged in an impact                                o r contract


       Belts and hoses                                                     Diagnostics and fluid repairs
       Co ers nlimited replacement of engine belts                         Incl ded in all co ered repairs
       and hoses




Contact our local H undai dealer to request additional information and confirm their participation in the H undai
Protection Plan Program.




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OUR COM PANY        CONTACT US      FAQS     SITE M AP   CAREERS     TERM S & CONDITIONS     FIND A DEALER      PRIVACY POLICY




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Licensed b the Connectic t Department of Banking to do b siness in Connectic t nder License N mbers SFC-1885, SFC-BCH-931398, SFC-BCH-20110 & SFC-BCH-931638. E piration date: December
31, 2020.




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                                                                                                                                                                                                                                                           KIA DISTINCTION
                                                                                                                                                                                                                                                           PROTECTION     PLUS
                                                                                                                                                          TM
                                                                                                                                                                                                                                                           VEHICLE PROTECTION PLAN
                                                                                                                  VEHICLE PROTECTION PLAN
                                                                                   Planning for your future
                                                                                            and the road ahead.
                                                                                                                  TOLL-FREE CLAIMS SERVICE
                                                                                                                  Our representatives will provide you with claims
                                    #:4808




                                                                                                                  service, authorization and access to an authorized
                                                                                                                  repair facility near you. Just call 866-440-1340.
                                                                                                                  NATIONAL COVERAGE
                                                                                                                  Enjoy peace of mind with a Kia Distinction
                                                                                                                  Vehicle Protection Plan, knowing that you are
                                                                                                                  covered anywhere in the U.S., its territories or
                                                                                                                  possessions, or Canada.
                                                                                                                  DIRECT PAYMENT
                                                                                                                  Participating dealers can be paid directly for
                                                                                                                  authorized repairs. You do not have to pay and
                                                                                                                  wait for reimbursement.
                                                                                                                  Ask your salesperson or finance manager about Term Care Select and our other Kia Distinction Plans so you can be
                                                                                                                  on your way to a carefree cruising experience.
                                                                                                                  KIA CARE CHOICE MAINTENANCE                     MAINTENANCE PLAN                  TERM CARE SELECT                ROAD HAZARD
                                                                                                                  “Kia” and the Kia Motors America logo are registered trademarks of Kia. The Kia Distinction Vehicle Protection Contract is
                                                                                                                  administered by Fidelity Warranty Services, Inc., Florida License # 60026. 500 Jim Moran Boulevard, Deerfield Beach, FL. 33442.
                                                                                                                                                                                                                                                                                        The right car choice,
                                                                                                                  CS#   08/16                                                                   © 2017 Jim Moran & Associates, Inc. All rights reserved.                             with the right coverage.
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                                                                                       TM
                                                                                                                         PLAN FEATURES                                                             POWERTRAIN                                                         SILVER                                                          GOLD                                                                       GOLD PLUS                                                                                     PLATINUM
                                                                                                                         The five plans come with the following additional                         Powertrain offers protection against covered                       Silver offers all the same features of Powertrain,              Gold offers all of the same features of Powertrain and                     Gold Plus offers all of the same features of Powertrain, Silver,                              In addition to offering the same
                                                                                                                         benefits to keep you moving:                                              mechanical breakdowns of the engine, transmission,                 with the following additional coverage. Certain                 Silver, plus the following additional coverage. Certain                    and Gold, with the following additional coverage. Certain                                     features of Powertrain, Silver, Gold,
                                                                                                                                                                                                   and drive axle. Certain restrictions, limitations and/or           restrictions, limitations and/ or exclusions may apply.*        restrictions, limitations and/or exclusions may apply.*                    restrictions, limitations and/or exclusions may apply.*                                       and Gold Plus, Platinum expands
                                                                                                                                                                                                   exclusions may apply.*                                                                                                                                                                                                                                                                                      to cover many assemblies of your
                                                                                                                         RENTAL CAR COVERAGE                                                                                                                                                                                                                                                                                                                                                                   vehicle, giving you the “Ultimate
                                                   KIA DISTINCTION VEHICLE                                               Reimbursement up to $35 per day for up to 10 days                         ENGINE
                                                                                                                                                                                                   Engine block and cylinder
                                                                                                                                                                                                                                     transmission/ transaxle
                                                                                                                                                                                                                                     clutch, drums, pistons and
                                                                                                                                                                                                                                                                      STEERING
                                                                                                                                                                                                                                                                      Steering gear housing and
                                                                                                                                                                                                                                                                                                      ELECTRICAL
                                                                                                                                                                                                                                                                                                      Alternator housing and
                                                                                                                                                                                                                                                                                                                                      ENGINE
                                                                                                                                                                                                                                                                                                                                      Oil pan; valve, timing and side
                                                                                                                                                                                                                                                                                                                                                                           STEERING
                                                                                                                                                                                                                                                                                                                                                                           Tie rods, idler and pitman arms,
                                                                                                                                                                                                                                                                                                                                                                                                                 COOLING
                                                                                                                                                                                                                                                                                                                                                                                                                 Radiator, mounting brackets and coolant
                                                                                                                                                                                                                                                                                                                                                                                                                                                               security system or electronic entry
                                                                                                                                                                                                                                                                                                                                                                                                                                                               systems including remote entry receiver,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Peace of Mind” protection. Certain
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               restrictions, limitations and/or
                                                                                                                         per covered mechanical breakdown.
                                                   PROTECTION PLAN                                                       TOWING COVERAGE
                                                                                                                                                                                                   heads and all internally
                                                                                                                                                                                                   lubricated parts including
                                                                                                                                                                                                                                     steel plates; planetary and
                                                                                                                                                                                                                                     sun gears; servos and rings;
                                                                                                                                                                                                                                                                      internal parts including
                                                                                                                                                                                                                                                                      control rings, valves, pinion
                                                                                                                                                                                                                                                                                                      all internal parts including
                                                                                                                                                                                                                                                                                                      bearings, bushings,
                                                                                                                                                                                                                                                                                                                                      covers; thermostat housing;
                                                                                                                                                                                                                                                                                                                                      water pump pulley; engine
                                                                                                                                                                                                                                                                                                                                                                           center/drag link, coupling and
                                                                                                                                                                                                                                                                                                                                                                           shafts; c ooler lines.
                                                                                                                                                                                                                                                                                                                                                                                                                 recovery tank; fan clutch, fan blades
                                                                                                                                                                                                                                                                                                                                                                                                                 and motor; fan shroud; heater core;
                                                                                                                                                                                                                                                                                                                                                                                                                                                               sender and module; door lock actuators;
                                                                                                                                                                                                                                                                                                                                                                                                                                                               windshield washer pump; mirror motor;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               exclusions may apply.*
                                                                                                                                                                                                                                     blockers; synchronizer hubs                                                                                                                                                                                               manual and mechanically operated
                                                   It’s no surprise that most major repairs are needed after             Payment of up to $75 in towing charges per covered                        pistons, piston rings, pins and
                                                                                                                                                                                                                                     and keys; bearings; bushings;
                                                                                                                                                                                                                                                                      shaft, pitman shaft, worm       brushes, rectifier bridge,      mounts; harmonic balancer; flex                                            transmission oil cooler; engine oil cooler.
                                                                                                                                                                                                                                                                                                                                                                                                                                                               switches; rear window defogger; horn
                                                                                                                         mechanical breakdown.                                                     cylinder sleeves; crankshaft,                                      shaft and gear, sector          diodes, field coil and rotor;   plate/ flywheel and ring gear.       FRONT SUSPENSION                                                                                                                    PLATINUM IS EXCLUSIONARY COVERAGE:
                                                   the original factory warranty has expired, which means you                                                                                      pulley, main bearings, caps       supports and shafts; control     shaft, bearings, adjusters;     alternator mounting
                                                                                                                                                                                                                                                                                                                                                                                                                 FUEL                                          and relay; convertible top motor; sunroof
                                                                                                                                                                                                                                     rings; yoke; extension                                                                                                                Wheel bearings/hubs; ball joints      Fuel lines; fuel pressure regulator; level                                                    THIS MEANS IT COVERS YOUR VEHICLE’S
                                                   will have to deal with all the inconvenience, time, energy and        TRAVEL COVERAGE                                                           and bolts; connecting rods,                                        rack and pinion housing         bracket; voltage regulator;     TRANSMISSION                                                                                                             motor; power antenna motor; electrical
                                                                                                                                                                                                                                     housing; speedometer                                                                                                                  and bushings; kingpin and             sending unit; fuel injectors and seals;       headlamp motor; power trunk/hatch               ASSEMBLIES UNLESS LISTED UNDER THE
                                                   expense of those repairs.                                             If you’re more than 100 miles from home when                              rod bearings, caps and bolts;                                      and internal parts including    starter motor housing and       Oil pan; detent cable; kickdown      bushings; stabilizer bar, links and                                                                                                 EXCLUSIONS SECTION OF THE VEHICLE
                                                                                                                                                                                                   camshaft(s), camshaft             drive gears; accumulators        control valve, rack bellows,    all internal parts including                                                                               injection pump; diesel vacuum pump;           release motor and solenoid; power sliding
                                                                                                                         you experience a covered mechanical breakdown,                                                              and rings; adjusters; all                                                                        link; throttle cable; vacuum         bushings; torsion bar, mounts         electronic spark control systems; fuel        door motor; electronic control modules          PROTECTION PLAN.
                                                                                                                                                                                                   bearings, buttons and plugs;                                       mounts, rack shaft and          bushings, brushes, field
                                                                                                                         payment of up to $100 per day, up to $500 per                                                               internal fasteners, nuts                                                                         modulator; transmission              and bushings; track bar, links        injection control components including        including body control module, electronic
                                                                                                                                                                                                   timing gears, chain or belt,                                       yoke, spool valve, bearings;    windings, starter drive and
                                                   Depending on the age and mileage of your vehicle, you                 occurrence, for food and lodging.                                         and tensioner; rocker arms,       and bolts; shift cover and       power steering pump and         solenoid.
                                                                                                                                                                                                                                                                                                                                      mounts.                              and bushings.                         mixture control processor, throttle           control unit, powertrain control module,
                                                                                                                                                                                                                                     forks; separate bell housing;                                                                                                                                               body assembly, cutoff valve, fuel rail,       transmission control module; electronic         PLATINUM EXCLUSIONS:
                                                   can purchase up to 120,000 miles of coverage. The Kia                 FLUIDS COVERAGE                                                           rocker arm pivots, shafts and                                      internal parts including
                                                                                                                                                                                                                                                                                                                                      DRIVE AXLE                           ELECTRICAL
                                                                                                                                                                                                   bushings; intake and exhaust      transfer case and all internal   housing, reservoir, shaft       ADDITIONAL HYBRID/                                                                                         fuel distributor, trigger contacts, cold      throttle control module; airbag module;         Brake linings, brake drums and rotors,
                                                   Distinction Vehicle Protection Plan begins on the purchase            Replacement of necessary fluids, oils, greases,
                                    #:4809




                                                                                                                                                                                                   valves, springs, guides,          parts contained within the       and vanes; electric steering    PLUG-IN ELECTRIC                Constant velocity joints; slip       Front and rear wiper motor,           start valve, fuel injection valve, fuel       crank angle sensor; camshaft position           disc brake pads, standard manual
                                                   date and expires according to the term and mileage                    lubricants, and approved air conditioner gases                            adjusters, retainers and          transfer case; seals and         motor; power steering           COMPRESSED NATURAL              joint; front wheel drive axles/      transmission and linkage;             accumulator; tank; tank door latch; tank      sensor; throttle position motor; fuel pulse     transmission clutch friction disc,
                                                   selected, whichever occurs first, and may include a                   needed in conjunction with a covered repair.                              seats; pushrods and lifters;      gaskets.                         pump or electric steering       GAS COMPONENTS
                                                                                                                                                                                                                                                                                                                                      halfshafts and wheel bearings;       power window motor; window            filler neck and o-ring.                       dampener; wide open throttle switch;            pressure plate, pilot bearings, throw-
                                                                                                                                                                                                   intake manifold; exhaust                                           motor mounting brackets;                                        u-joints; couplings; flex disc;      regulators; power seat motor;         AIR CONDITIONING                              thermo time switch; fuel pump relay;            out bearing and arm, air bags, solar
                                                   deductible depending on the option selected. You can select           IMPROVED RESALE                                                                                             DRIVE AXLE                       seals and gaskets.
                                                                                                                                                                                                                                                                                                      Hybrid/EV/hydrogen              prop shafts; center support          steering column multifunction                                                       automatic temperature control sensor;           powered devices, hinges, glass, lenses,
                                                                                                                                                                                                   manifolds; balance shaft;                                                                                                                                                                                     Compressor mounting brackets; idler
                                                   from any authorized Kia dealership or a national network of           Each plan is fully transferable to a subsequent                                                                                                                              battery (nickel-metal           bearings.                            switch and individual switches                                                      ride height sensor and relay; oxygen            sealed beams, body parts and/or panels,
                                                                                                                                                                                                   water pump; fuel pump;            Differential/axle housing(s)                                                                                                                                                pulley and bearings; air conditioning/
                                                                                                                         owner, making your car more appealing to                                                                                                                                     hydrate or lithiumion                                                for turn signal, headlamp,                                                          sensor; mass air flow sensor; manifold          weather stripping, trim, moldings, door
                                                   over 6,000 authorized service centers, or any licensed repair                                                                                   thermostat; oil pump, cover,      and all internally lubricated    BRAKES
                                                                                                                                                                                                                                                                                                      drive propulsion battery)                                            dimmer, wiper, washer and             heater blower motor; pressure lines and       differential pressure sensor; differential      handles, lock cylinders, tires, wheels, all
                                                                                                                         potential buyers.                                                         gears, pressure relief valve      parts including the axle                                                                         BRAKES
                                                                                                                                                                                                                                                                      Master cylinder; vacuum         including the case and                                                                                     hoses.
                                                   facility in the U.S. or Canada.                                                                                                                 and screen; rotor housing,        flange; ring and pinion gear/                                                                    Compensator/proportioning            cruise control; clock spring/                                                       pressure feedback exhaust sensor;               batteries except Hybrid/EV/Hydrogen
                                                                                                                         FINANCING                                                                                                                                    or hydraulic brake booster      mounting hardware,                                                   spiral cable; mirror motor            STEERING                                      coolant temperature sensor; oil pressure        High Voltage batteries as listed under
                                                                                                                                                                                                   rotors, shims and silent          carrier assembly; spider         assembly; hydraulic                                             valve; metering valve; calipers,
                                                                                                                         The cost of the selected plan can be                                                                                                                                         junction block, main battery                                         switch; brake light switch;                                                         sending unit; temperature sending unit;         Silver Coverage, light bulbs, upholstery,
                                                                                                                                                                                                   shaft; all internal fasteners,    gears and bearings; pins;        lines, hoses and fittings;                                      piston, seal and dust boot; wheel                                          Steering wheel tilt and telescoping
                                                                                                                                                                                                                                                                                                      cable, and frame wire;                                               neutral safety switch; glove                                                        OEM radio/graphic equalizer/cassette tape       paint, bright metal, freeze plugs, filters,
                                                                                                                         included in the financing of your vehicle.                                nuts and bolts; turbocharger/     retainers; positraction                                                                          cylinders, cups, seals, spring and                                         mechanism; lines and hoses.
                                                   FIVE COVERAGE LEVELS*                                                                                                                           supercharger assembly             clutches, plates and springs;
                                                                                                                                                                                                                                                                      brake pedal apply pin;
                                                                                                                                                                                                                                                                      seals and gaskets. (ANTI-
                                                                                                                                                                                                                                                                                                      onboard battery charging
                                                                                                                                                                                                                                                                                                                                      dust boots; backing plate; brake     box light switch; courtesy light
                                                                                                                                                                                                                                                                                                                                                                                                                 FRONT SUSPENSION
                                                                                                                                                                                                                                                                                                                                                                                                                                                               player/ compact disc player.                    heater and radiator hoses, exhaust
                                                                                                                         NATIONWIDE SERVICE CENTERS                                                including boost valve, boost      cover; 4x4 locking hubs and
                                                                                                                                                                                                                                                                                                      system including charge
                                                                                                                                                                                                                                                                                                                                      adjusters and brake hardware;        switch; cooling fan relay; air                                                                                                      system, catalytic converter, shock
                                                   + POWERTRAIN COVERAGE                                                 Receive service at any authorized Kia                                     pressure control, wastegate,      electric or vacuum actuator;
                                                                                                                                                                                                                                                                      LOCK BRAKING SYSTEM
                                                                                                                                                                                                                                                                      COMPONENTS NOT
                                                                                                                                                                                                                                                                                                      controller, plug in outlets,
                                                                                                                                                                                                                                                                                                      plug in cable, and trickle      brake pedal, pedal lever and         control solenoid; air regulator       Coil and leaf springs, seats and bushings,    ADDITIONAL HYBRID/PLUG-IN                       absorbers, constant velocity joint boots,
                                                                                                                         dealership or a national network of over                                  recirculation and blow off        seals and gaskets.                                                                               pedal pivot; parking brake           valve; idle air control motor;        leaf spring shackles; electronic level        ELECTRIC COMPRESSED NATURAL GAS                 steering and suspension joint boots,
                                                                                                                                                                                                                                                                      COVERED.)
                                                   + SILVER COVERAGE                                                     6,000 authorized service centers, or                                      valve; seals and gaskets.
                                                                                                                                                                                                                                                                                                      charger cable; electric AC
                                                                                                                                                                                                                                                                                                      compressor and motor;           linkage/ratchet assembly and         electronic ignition module;           control components including pump,
                                                                                                                                                                                                                                                                                                                                                                                                                 accumulator, lines and bags.
                                                                                                                                                                                                                                                                                                                                                                                                                                                               COMPONENTS                                      work such as front-end alignment or
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               wheel balancing (except when required
                                                                                                                                                                                                                                                                                                                                      cable; anti-lock braking system      ignition coil; engine distributor
                                                                                                                         any licensed repair facility in the U.S. or                                                                                                  AIR CONDITIONING                                                                                                                                                                         Onboard computer system including
                                                   + GOLD COVERAGE                                                       Canada.                                                                   TRANSMISSION/TRANSAXLE/
                                                                                                                                                                                                                                     ADDITIONAL HYBRID/PLUG-
                                                                                                                                                                                                                                     IN ELECTRIC COMPRESSED           Condenser; compressor;
                                                                                                                                                                                                                                                                                                      electric steering rack,
                                                                                                                                                                                                                                                                                                      gear, and motor; electro/       component parts including            including shaft, gear, bushings
                                                                                                                                                                                                                                                                                                                                                                           and modules; electronic throttle
                                                                                                                                                                                                                                                                                                                                                                                                                 REAR SUSPENSION                               all relays, sensors, electronic control
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               in conjunction with a mechanical
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               breakdown), safety restraint systems,
                                                                                                                                                                                                   TRANSFER CASE                                                                                      hydraulic power steering        control processor/module,                                                  Upper and lower control arms, shafts          units and electronic control modules;
                                                   + GOLD PLUS COVERAGE                                                  ADDITIONAL INFORMATION                                                    Transmission/transaxle case
                                                                                                                                                                                                                                     NATURAL GAS COMPONENTS
                                                                                                                                                                                                                                     Electric motor/generator(s)
                                                                                                                                                                                                                                                                      evaporator; orifice/
                                                                                                                                                                                                                                                                      expansion; seals and            pump and reservoir;             pump, dump valve, wheel speed        control; throttle position sensor;
                                                                                                                                                                                                                                                                                                                                                                           vehicle speed sensor; manifold        and bushings; upper and lower ball joints;    power switch/button; driver information
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               audio/ security or other system not
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               factory installed, cellular phones, radar
                                                                                                                                                                                                                                                                                                      hydrogen fuel cell stack;       sensors, solenoids, accumulator,                                           struts, housing and cartridge; wheel          displays; controller/electronic throttle
                                                                                                                         This optional Kia Distinction Vehicle Protection Plan will not pay
                                                   + PLATINUM COVERAGE                                                   or reimburse for mechanical breakdowns caused by misuse,
                                                                                                                                                                                                   and all internally lubricated
                                                                                                                                                                                                   parts including ring and
                                                                                                                                                                                                                                     all internal components;
                                                                                                                                                                                                                                     inverter/ converter/
                                                                                                                                                                                                                                                                      gaskets.
                                                                                                                                                                                                                                                                                                      seals and gaskets.              yaw rate sensor, and pressure        absolute pressure sensor; knock
                                                                                                                                                                                                                                                                                                                                                                           sensor and barometric pressure        bearings/hubs; spindle/steering knuckle       control system; battery cooling system
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               detectors, appliances, or vinyl and
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               convertible tops.
                                                                                                                                                                                                                                                                                                                                      differential switch.                                                       and spindle support; coil and leaf springs,   including blower motor control, blower
                                                                                                                         abuse, negligence (including the negligence of any repair facility),      pinion gears; oil pump, cover,    transformer units including      FRONT SUSPENSION                                                                                     sensor.
                                                                                                                         improper towing, lack of maintenance of the failed covered part,                                                                                                                                                                                                                        seats and bushings, leaf spring shackles;     assembly and ducts; dedicated cooling
                                                                                                                                                                                                   gears, housing and vanes;         all internal components and      Upper and lower control                                         AIR CONDITIONING                                                                                                         system including pumps and radiators,
                                                                                                                         contamination, overheating, lack of coolant or lubricants, lack of                                                                                                                                                                                                                      track bars, links and bushings; electronic
                                                   Kia Distinction Vehicle Protection Plans are available at                                                                                       torque converter; valve           cover; continuously variable     arms, shafts and bushings;                                                                           ADDITIONAL HYBRID/PLUG-                                                             coolant storage bottle, coolant valve;
                                                                                                                         oil viscosity, sludge, restricted oil flow, salt, rust and rust damage,   body(s); throttle valve; valve                                                                                                     Accumulator; receiver drier;                                               level control components including pump,
                                                   participating Kia dealerships. This information is intended to                                                                                                                    transmission and all internal    tension rods/ radius arm                                                                             IN ELECTRIC COMPRESSED                                                              hybrid condenser; thermistor; high
                                                                                                                         environmental damage, chemicals, or a buildup of carbon.                  pack; governor, gear and                                                                                                           automatic temperature control                                              accumulator, lines, bags; stabilizer bar,
                                                   provide only an outline of the types of coverages, exclusions and                                                                                                                 components; power split          and bushings; struts,                                                                                NATURAL GAS COMPONENTS                                                              pressure fuel storage tanks including
                                                                                                                                                                                                   cover; parking gear and pawl;                                                                                                      programmer; clutch assembly                                                links and bushings.
                                                                                                                                                                                                                                     device and all internal          housing and cartridge;                                                                               Motor/generator belt tensioner;                                                     mounting straps/ hardware, pressure
                                                   limitations of the service contract described in this brochure        No payment or reimbursement for burnt valves, worn or carbon              roll pins; sprags; sprockets;     components; reduction/
                                                                                                                                                                                                                                                                                                                                      including coil, disc and pulley;                                           ELECTRICAL
                                                                                                                                                                                                                                                                      spindle/ steering knuckle                                       control cables; cutoff switch;       drive motor dampener; voltage                                                       regulators, high/low pressure fuel lines,
                                                   and should not be relied upon when purchasing a specific service      fouled piston rings, the correction of oil consumption, or any            chain; springs; stator and        reducer box and all internal     and spindle support.                                            serpentine belt tensioner,           inverter reservoir; three-phase       Cruise control module, servo, and cables;     fuel metering system, gas fill valve, low
                                                   contract. For exact coverages, exclusions and limitations, please     repairs for reduction in engine efficiency that must be performed         shaft; pressure regulator         components; seals and
                                                                                                                                                                                                                                                                                                                                      bearing and pulley.                  high voltage cables; hydraulic        instrument cluster/module including           pressure filter, and finite filter; seals and
                                                                                                                         on your vehicle. See service contract for complete details.               valve; pressure switches;         gaskets.
                                                   review the Kia Distinction Vehicle Protection Plan contract itself.                                                                                                                                                                                                                                                     or electric regenerative braking      speedometer, odometer, tachometer             gaskets.
                                                                                                                                                                                                   solenoids; bands; automatic                                                                                                                                             system; seals and gaskets.            and all gauges, warning indicators;
                                                                                                                         *See service contract for complete details                                                                                                   *See service contract for complete details
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               *See service contract for complete details
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Engine Replacement
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Transmission Replacement
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Drive Axle Replacement
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Short Block Replacement
